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                                                                  5
                                                                    Attorneys for Jadelle Jewelry and Diamonds,
                                                                  6 LLC.

                                                                  7

                                                                  8                         UNITED STATES BANKRUPTCY COURT
                                                                  9                          CENTRAL DISTRICT OF CALIFORNIA
                                                                 10                                  LOS ANGELES DIVISION
                                                                 11 In re                                         Case No. 2:20-bk-13530-BR
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12 JADELLE JEWELRY AND DIAMONDS,                 Chapter 7
                               Costa Mesa, California 92626




                                                                    LLC,
                                                                 13                                               PUTATIVE DEBTOR'S REQUEST FOR
                                                                                    Putative Debtor.              JUDICIAL NOTICE IN SUPPORT OF
                                                                 14                                               MOTION TO DISMISS INVOLUNTARY
                                                                                                                  PETITION AND REQUEST FOR
                                                                 15                                               ATTORNEY'S FEES, COSTS, AND
                                                                                                                  DAMAGES
                                                                 16
                                                                                                                  DATE:       June 9, 2020
                                                                 17                                               TIME:       10:00 a.m.
                                                                                                                  CTRM:       1668
                                                                 18                                                           255 E. Temple Street
                                                                                                                              Los Angeles, CA 90012
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                                                                      2822846.1                                                   REQUEST FOR JUDICIAL NOTICE
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                                                                  1 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                  2               Jadelle Jewelry and Diamonds, LLC, the putative debtor ("Jadelle"), hereby requests that

                                                                  3 the Court take judicial notice of the following pleadings and dockets pursuant to Federal Rule of

                                                                  4 Evidence 201 in support of its Motion to Dismiss Involuntary Petition and Request for Attorney's

                                                                  5 Fees, Costs and Damages [Docket No. 8] (the "Motion"):

                                                                  6               1.     The involuntary petition [Docket No. 1] filed by the petitioning creditors against

                                                                  7 Jadelle, a true and correct copy of which is attached hereto as Exhibit "1";

                                                                  8               2.     The complaint filed on February 10, 2020, in the action entitled Victor Franco

                                                                  9 Noval vs. Jona S. Rechnitz, Rachel Rechnitz, Jadelle Inc., Jadelle Jewelry and Diamonds, LLC,

                                                                 10 Levin Prado and Xiomara Cortez (the "Noval Action"), a true and correct copy of which is

                                                                 11 attached hereto as Exhibit "2";
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12               3.     The docket in the Noval Action as of April 30, 2020, a true and correct copy of
                               Costa Mesa, California 92626




                                                                 13 which is attached hereto as Exhibit "3";

                                                                 14               4.     The court's March 10, 2020 minute order in the Noval Action temporarily staying

                                                                 15 the Noval Action, a true and correct copy of which is attached hereto as Exhibit "4";

                                                                 16               5.     Relevant excerpts of the "Proposed Al-Sabah First Amended Complaint," as that

                                                                 17 term is defined in the Motion, true and correct copies of which are attached hereto as Exhibit "5";

                                                                 18               6.     The docket in the "Al-Sabah Action," as that term is defined in the Motion, as of

                                                                 19 April 30, 2020, a true and correct copy of which is attached hereto as Exhibit "6";

                                                                 20               7.     The amended third party complaint (the "Marco Complaint") filed on April 24,

                                                                 21 2020, in the action entitled David Rovinsky v. Peter Voutsas (the "Marco Action"), a true and

                                                                 22 correct copy of which is attached hereto as Exhibit "7"; and

                                                                 23               8.     The docket in the Marco Action as of April 30, 2020, a true and correct copy of

                                                                 24 which is attached hereto as Exhibit "8."

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                                                                                                         Respectfully submitted,
                                                                  3
                                                                      DATED: May 1, 2020                 SMILEY WANG-EKVALL, LLP
                                                                  4

                                                                  5
                                                                                                         By:          /s/ Robert S. Marticello
                                                                  6                                            ROBERT S. MARTICELLO
                                                                                                               MICHAEL L. SIMON
                                                                  7
                                                                                                               Attorneys for Jadelle Jewelry and Diamonds,
                                                                  8                                            LLC.

                                                                  9

                                                                 10

                                                                 11
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                             3200 Park Center Drive, Suite 250




                                                                 12
                               Costa Mesa, California 92626




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Electronically FILED by Superior Court of California, County of Los Angeles on 02/10/2020 12:00 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariscal,Deputy Clerk
                                                                                       20SMCV00216
                                        Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer: Marc Gross




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                        11
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                        12
                        13
                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                        14
                                                       FOR THE COUNTY OF LOS ANGELES – WEST DISTRICT
                        15
                        16
                        17 VICTOR FRANCO NOVAL, an individual,                                               Case No.
                        18                            Plaintiff,
                                                                                                             VERIFIED COMPLAINT FOR:
                        19                 vs.
                                                                                                                 (1) Fraud
                        20 JONA S. RECHNITZ, an individual;                                                     (2) Civil Theft (Penal Code, § 496)
                        21 RACHEL   RECHNITZ, an individual;
                           JADELLE INC., a California corporation;                                              (3) Breach of Contract
                        22 JADELLE     JEWELRY AND DIAMONDS,
                           LLC, a Delaware limited liability company;
                                                                                                                (4) Conspiracy to Commit Theft, Fraud,
                                                                                                                    and Fraud by Concealment
                        23 LEVIN   PRADO aka LEVON PRADO, an
                           individual; XIOMARA CORTEZ, an                                                       (5) Appointment of Receiver
                        24 individual and DOES 1-20.
                        25                            Defendants.

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                                                                                                  COMPLAINT

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 1          Plaintiff Victor Franco Noval (“Plaintiff” or “Franco”) hereby alleges as follows:

 2                                               PARTIES

 3          1.      Plaintiff Victor Franco Noval (“Franco”) is an individual residing in Beverly Hills,

 4 California in the County of Los Angeles.
 5          2.      Defendant Jona S. Rechnitz (“Jona”) is an individual who is residing in the County
 6 of Los Angeles in a rental house located at 9533 Sawyer St., Beverlywood area, City of Los Angeles.
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20          3.      Defendant Rachel Rechnitz (“Rachel”) is an individual who is residing in the County
21 of Los Angeles in a rental house located at 9533 Sawyer St., Beverlywood area, City of Los Angeles.
22 She is formerly known as Rachel Kahn. Both Jona and Rachel advertise political and powerful
23 celebrity connections to create a false sense of credibility about themselves and their business. They
24 post photos on social media of Kylie Jenner and Kim Kardashian, and Jona is seen with the mayor
25 of New York and holding large amounts of United States Currency.
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                                                COMPLAINT

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                                    COMPLAINT

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 1          4.      Defendant Jadelle Inc. (“Jadelle Inc.”) is a California corporation whose principle

 2 office is in Beverly Hills and whose board member and President is Rachel.
 3          5.      Defendant Jadelle Jewelry and Diamonds, LLC (“Jadelle LLC,” collectively with

 4 Jadelle Inc., the “Jadelle Entities”) is a Delaware limited liability company qualified to do business
 5 in California. Rachel is the managing member of Jadelle LLC.
 6          6.      Defendant Levin Prado aka Levon Prado (“Prado”) is the agent for service of process,
 7 controller, and check signer for the Jadelle Entities. It is alleged on information and belief that
 8 Prado has a girlfriend named Xiomara Cortez at the Wells Fargo Bank Beverly Hills branch who
 9 assisted him in furthering Rachel and Jona’s fraud by stopping payment on checks and allowing
10 numerous improper check transactions to occur on both of the Jadelle Entities’ accounts. Prado is
11 displaying the sign he has indicated with his action towards Plaintiff and others as it relates to their
12 goods and collateral.
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                                                 COMPLAINT

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 1          7.     Xiomara Cortez is an individual believed to reside in the County of Los Angeles who

 2 is employed at Wells Fargo Bank. Cortzez was instrumental in allowing Jona and Rachel’s frauds
 3 to continue by keeping the current bank account open and by allowing Prado to continue to open up
 4 accounts and issue worthless instruments.
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19          8.     The true names and capacities of defendants Does 1 through 20, whether individual,
20 corporate, associate or otherwise, are unknown to Plaintiff, who therefore sues these defendants by
21 such fictitious names. Plaintiff will amend this complaint to show the true names and capacities of
22 those defendants after they have been ascertained. Plaintiff is informed and believes, and on that
23 basis alleges, that each of the fictitiously named defendants is responsible in some manner for the
24 occurrences alleged in this complaint and that Plaintiff’s damages as alleged in the Complaint were
25 proximately caused by the acts or omissions of such defendant.
26          9.     Plaintiff is informed that, at all times mentioned in this Complaint, Defendants, and
27 each of them, were the partners, joint venturers, agents, employees, alter egos, and representatives
28 of each other in doing the things herein alleged and, in doing so, were acting within the scope of
                                                     4
                                               COMPLAINT

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 1 their respective authorities as agents, employees and representatives, and are jointly and severally
 2 liable to Plaintiff.
 3          10.     The alleged frauds committed by Jona were committed with Rachel’s knowledge and

 4 direction, along with the assistance of Prado, making them personally liable. Without Rachel setting
 5 upon the entities to commit the frauds, Jona lying to steal the collateral and loan proceeds, and Prado
 6 signing the checks, none of the below referenced offenses could have occurred.
 7                                        JURISDICTION AND VENUE
 8          11.     This Court has jurisdiction over this entire action because it is a civil action wherein
 9 the damages sought are in excess of the jurisdictional limits of this Court, and the Defendants are
10 subject to personal jurisdiction in the State of California
11          12.     Defendants have conducted substantial business in the State of California, are
12 registered and qualified to conduct business in the State of California, are California residents,
13 and/or have purposefully directed tortious activities towards a California resident.
14          13.     Venue in this Court is proper pursuant to California Code of Civil Procedure, §§ 395

15 et seq. Venue of this action is in this Court and County because the obligations, acts and liabilities
16 claimed in this action arose and the torts alleged herein took place in Los Angeles County and the
17 parties reside in this County.
18
19                                  GENERAL FACTUAL ALLEGATIONS

20          14.     On or about January 24, 2019, the Jadelle Entities, which are owned by Jona and

21 Rachel, borrowed money from Plaintiff pursuant to a written agreement. The terms of the written
22 agreement were memorialized in a Debt Acknowledgment, Promissory Note and Security
23 Agreement (“Debt Agreement”) dated March 2019. A true and correct copy of the Debt Agreement
24 is attached hereto and incorporated herein as Exhibit “A”.
25          15.     The original principal amount in the Debt Agreement is $2,850,000 at 9% interest

26 per month, however, the total debt owed by Defendants later increased to $5,800,000. The maturity
27 dates are reflected in the Debt Agreement.
28          16.     Pursuant to the Debt Agreement, the loans were secured by jewelry delivered to
                                                       5
                                                 COMPLAINT

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 1 Franco and a 2012 Bugatti. Jona delivered the Bugati and the jewelry to Franco as security/collateral
 2 for the loan.
 3          17.    After a series of further advance transactions, the debt on the loan grew to

 4 $5,800,000.
 5          18.    The Bugati was liquidated and the funds were credited against principal for a total
 6 credit of $400,000.
 7          19.    As background on Jona Rechnitz, a sealed information was filed against him in the
 8 Southern District of New York on June 6, 2016 for wire fraud. A copy of the information is attached
 9 hereto as Exhibit “B”.
10          20.    Jona entered a guilty plea on June 6, 2016.
11          21.    On March 15, 2017, the information against Jona was unsealed. On March 15, 2017,
12 Jona was released on bond pursuant to release conditions imposed by Judge Alvin K. Hellerstein.
13          22.    On December 6, 2019, Jona was sentenced to 10 months of custody. He was granted
14 release pending appeal.
15          23.    The government in its sentencing memorandum indicated that “Rechnitz was in a
16 position to cooperate regarding a broad range of subject matters in part because, for several years
17 beginning when he was 26 years old in 2008, Rechnitz rode a wave of unbridled ambition and a
18 seemingly limitless sense of entitlement through a series of misdeeds. Rechnitz had been a brazen
19 criminal, and the seriousness of his crimes of conviction cannot, and should not, be minimized.”
20          24.    Yet, apparently misunderstanding his role as a “one of the single most important and

21 prolific white collar cooperating witnesses in the recent history of the Southern District of New
22 York” according to the government, Jona mistakenly believes that this provides him immunity from
23 committing fraud in California.
24          25.    No sooner than within weeks of being sentenced in the Southern District of New

25 York, Jona swindled Franco in a large scale fraud totaling $5,800,000. On information and belief,
26 Jona and Rachel have defrauded other diamond dealers in Southern California and as those victims
27 authorize the release of their names, the complaint will be amended to recover their stolen goods as
28 well.
                                                     6
                                                COMPLAINT

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 1          26.     At the time of the fraud, Jona Rechnitz was and still is a convicted felon from the

 2 Southern District of New York. He is presently out on bond for a wire fraud conviction where he
 3 was granted bail pending appeal. He is married to Rachel Rechnitz and they have six children
 4 together.
 5          27.     They both now reside in a rental home in the Beverlywood area in the City of Los
 6 Angeles.
 7          28.     Jona and Rachel operate a jewelry business through two similarly named entities,

 8 defendants Jadelle Inc. and Jadelle Jewelry and Diamonds, LLC, herein the Jadelle Entities, whose
 9 marque client is the Kardashian family. Each of their clients will be added to this action as the facts
10 unfold showing the stolen collateral was sold to retail customers of Jona and Rachel.
11          29.     The Debt Agreement between the parties was simple. Jona tendered over $7,000,000

12 worth of diamonds to Plaintiff to be held as a collateral against a loan which totaled $5,800,000.
13          30.     In late December of 2019, AFTER, Jona was sentenced, Jona indicated to Franco

14 that he was going to get a credit line and asked for the release of the diamond collateral in exchange
15 for payment in full. This representation by Jona was false when made. Jona knew the representation
16 was false when made. Jona made this representation with the intention of causing Franco to rely on
17 it. Franco relied on this representation to his detriment.
18          31.     Jona persuaded Franco and Franco’s brother to deliver the collateral to Jona and

19 Rachel’s office at 9454 Wilshire Blvd. in Beverly Hills. Jona exchanged two checks payable to
20 Franco in exchange for the diamond collateral dated January 14, 2020 and January 16, 2020 in the
21 amounts of $2,500,000 and $1,300,000, respectively. True and correct copies of said checks are
22 attached hereto as Exhibit “C.” At the time Jona issued the checks to Franco he had no intention of
23 honoring the checks. Franco relied on Jona issuing and intending to honor the checks by releasing
24 the diamond collateral.
25          32.     Plaintiff and Plaintiff’s brother complied by exchanging the diamond collateral and

26 Jona tendered two checks attached hereto as Exhibit “C”. The checks, however, were NSF at the
27 time of tender. Jona has repeatedly lied, lulled, and attempted to fabricate one excuse after another
28 to delay paying Plaintiff.
                                                      7
                                                 COMPLAINT

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 1          33.    Based upon information and belief, Prado, acting in concert with Jona and Rachel,

 2 and to further their scheme, had his girlfriend or another representative at Wells Fargo Bank issue a
 3 stop payment on the checks, attached hereto as Exhibit “C”, that Franco was going to deposit.
 4          34.    Jona falsely enlisted attorneys to pretend payment on the loan was coming from

 5 family members to buy himself more time. A number of these family members had written letters
 6 to the Court for Jona’s sentencing.
 7          35.    In reality, Jona liquidated Plaintiff’s diamond collateral and spent Plaintiff’s money,
 8 but refuses to tell Plaintiff how he liquidated the collateral or how he spent the loan proceeds.
 9          36.    It is apparent that Jona is continuing his criminal conduct in California after being
10 convicted in New York.
11          37.    Upon realizing he had been swindled and defrauded, Franco immediately filed a
12 police report with the Beverly Hills Police.
13          38.    Repeated demands have been made to Jona to return the diamond collateral. Jona,
14 who wants to conceal his criminal conduct from the sentencing judge in New York and the federal
15 prosecutors who vouched for him, as well as U.S. Probation, took numerous steps to lull the victim,
16 Franco, to buy more time.
17          39.    On January 16, 2020, with the assistance of a local Beverly Hills attorney, Jona

18 drafted more documents and an additional check, attached hereto as Exhibit “D” and Exhibit “E”,
19 to further stop Franco from disclosing and revealing that Jona’s fraudulent conduct has only grown
20 in scope and size and that he has learned nothing from his life of crime which spanned from 2011
21 to 2015, which then halted while he was cooperating from 2016 to 2018.
22          40.    The fact that Jona only received 10 months custody time with 5 months house arrest

23 has only emboldened him to commit more fraud, grand theft, and to issue worthless instruments.
24          41.    The January 16, 2020 document requested that Franco keep Jona’s fraud and

25 breaches confidential until January 23, 2020. Jona, however, did not comply with the January 16,
26 2020 agreement and no payments have been received. Jona entered into the January 16, 2020
27 agreement without any intention of performing in order to delay Franco from seeking redress for
28 the fraud and breaches. Franco reasonably and detrimentally relied on the January 16, 2020
                                                      8
                                                  COMPLAINT

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 1 agreement.
 2          42.     Jona then fired the Beverly Hills attorney and retained a new attorney on January 28,

 3 2020, to resolve this matter.
 4          43.     Jona’s modus operandi in this fraud is to have numerous well-respected attorneys

 5 contact Franco’s counsel and advance Jona’s false promises of repayment or outside funding along
 6 with checks that either are NSF or which Jona had no intention of honoring.
 7          44.     Jona directly, and through counsel, has been asked to disclose the location of the
 8 diamond collateral and to provide a tracing and accounting of the loan proceeds. Jona has refused
 9 to do so.
10          45.     On information and belief, Plaintiff alleges that this is because Jona had pledged
11 diamonds to Franco that in fact were loaned to Jona and were not owned by Jona or Rachel. Upon
12 discovering whose diamonds Jona had pledged, this Complaint will be amended to add that party as
13 they have Franco’s collateral and hold it in constructive trust for Plaintiff’s benefit.
14          46.     On information and belief, defendant Xiomara Cortez aided and abetted the

15 defendants in committing these frauds. Defendant Cortez assisted in issuing checks, stopping
16 payment, and verifying funds, knowingly allowing Prado to issue numerous worthless checks and
17 never closed the accounts due to her romantic relationship with Prado.
18          47.     Jona, assisted by Rachel, have only become more emboldened in their frauds. On

19 information and belief, they have taken goods on memo from various Southern California diamond
20 merchants. Namely, Peter Marco, Moti Klein, and Julius Klein. The video Jona showed at his
21 sentencing in federal court to the federal judge on December 19, 2019, with Kim Kardashian, was
22 most likely depicted stolen and fraudulently obtained goods from Plaintiff and various diamond
23 merchants. The amount of losses to these various parties is alleged to be over $15,000,000. They
24 are number other victims as well involved in various scams perpetrated by Jona. On information
25 and belief, they include Sotheby’s, Leon Landver, Sam Gorodistian, Ben Adhoot, and Yehuda
26 Gamzo. All the alleged victims have the same common pattern evidence used by Jona and Rachel
27 which is to have attorneys contact them, telling them they are getting paid according to Jona.
28          48.     On information and belief, Jona made numerous false statements to the federal
                                                       9
                                                 COMPLAINT

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 1 sentencing judge because by December 19 ,2019, Jona’s frauds were well under way. This house
 2 of fraudulent cards needs to be exposed as his growing victim list is becoming a community wide
 3 problem. This lawsuit and other reports that have been filed, will hopefully bring this economic
 4 terrorist to justice and Plaintiff prays that this Court take appropriate access to find him financially
 5 responsible and appoint a receiver to halt what has now turned into outright theft of merchandise in
 6 the tens of millions of dollars afflicting Plaintiff and other victims. As more come forward, Plaintiff
 7 will amend and add them to this complaint to turn this into a class if appropriate to stop this man
 8 and his wife. Presently, Plaintiff is aware of other victims including Peter Marco, Julius Klein, and
 9 Moti Klein as well as multiple other victims including an active insurance investigation.
10          49.     Plaintiff immediately reported this matter to the Beverly Hills Police Department in
11 the hope of stopping Mr. Rechnitz from further victimizing local residents and businesses. The
12 police have notified Plaintiff there are numerous other victims. The filing of this action is intended
13 to bring to light Rechnitz’s frauds and have him exposed so no further innocent people are hurt by
14 this economic terrorist. At this point, Plaintiff has no realistic belief that Rechnitz will ever pay him
15 back as the list of victims keeps growing. At this point, Plaintiff only hopes no further persons are
16 swindled by Jona, Rachel, and their team of thieves.
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28          50.     On February 4, 2020, his newly retained criminal defense attorney in Los Angeles
                                                       10
                                                  COMPLAINT

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 1 sent a carefully scripted mass email to BCC’ing Jona’s purported victims, attached as Exhibit “F”
 2 which reads as follows:
 3          We write with an update on Jona Rechnitz. A family member of Mr. Rechnitz has informed

 4          our law firm that the family member is seeking to refinance certain real property in order to

 5          satisfy Mr. Rechnitz's outstanding liabilities. We currently have no visibility into the family
 6          member's interest in the property, the value of the property, or what, if any equity, the family

 7          member has in it.

 8          If you are represented by counsel, please let us know and provide your counsel's contact
 9          information. Our client's desire is to resolve this matter amicably.
10          This email comes after Jona had three previous reputable attorneys contact Plaintiff all
11 relaying the same bogus and false words of hope. This type of lulling is widely known under federal
12 law.     The email carefully and correctly discloses that the law firm knows nothing of the veracity

13 of the client directed statements and correctly distances the law firm of any endorsement of Jona’s
14 numerous attempts to use reputable attorneys to buy himself time. It should be noted that each and
15 every time the reputable attorneys Jona retained, correctly made it clear they were not endorsing or
16 underwriting Jona’s promises of repayment of the stolen funds or return of the stolen collateral.
17          51.    Jona and Rachel have directed numerous “lulling letters” in furtherance of their

18 scheme to defraud. A lulling letter is “designed to lull the victims into a false sense of security,
19 postpone their ultimate complaint to the authorities, and therefore make apprehension of the
20 defendants less likely.” United States v. Manarite, 44 F.3d 1407, 1412 (9th Cir.1995) (quoting
21 United States v. Maze, 414 U.S. 395, 403 (1974)); United States v. Shaw (9th Cir. 1996) 97 F.3d
22 1463. The numerous exhibits attached to this complaint are all examples of lulling letters. They
23 display consciousness of Jona and Rachel’s intent to defraud.
24          52.    On February 7, 2020, Plaintiff’s counsel was contacted by two partners at Cohen

25 Williams LLP that notwithstanding the February 4, 2020 email, they unfortunately had no further
26 information to report. Plaintiff’s counsel asked them to stop contacting him regarding this matter
27 as his client cannot psychologically handle further false promises, lies, and false rays of hope that
28 Jona directs his attorneys to provide his various victims. Plaintiff’s counsel informed these fine
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                                                 COMPLAINT

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 1 reputable attorneys not to update him further as he has moved on and that his client has zero belief
 2 Jona will ever pay him back.
 3          53.    Plaintiff is hopeful that the publication of this action will cause more victims to not

 4 feel ashamed of being fleeced and to report these matters to the proper authorities. Absent public
 5 awareness of Jona and his conspirator’s frauds, he will keep stealing from people and hurting
 6 residents and businesses of Southern California.
 7          54.    Jona is using his last cooperation in the Southern District of New York as some sort
 8 of ill-conceived immunity as part of the scheme. During the fraud, Jona has indicated that he was
 9 not concerned with any problems or things he has done because the FBI needs him as an informant
10 so bad in the New York case where there are appeals they would never do anything to him no matter
11 what he did. This is of course is completely an ignorant and delusional view. The FBI does not
12 immunize crooks to steal simply because they cooperate in a case. Jona uses this as a tool to further
13 his scheme to defraud.
14          55.    Numerous victims have been interviewed in this matter. On information and belief,

15 as to the Sotheby’s fraud, Jona falsely represented to Sotheby’s he was entitled to diamonds given
16 to Sotheby’s for auction, Jona secretly picked them up and has dissipated the assets. The total loss
17 was $3,000,000.00. Just adding up all the victims the Plaintiff’s law firm has interviewed the losses
18 exceed $15,000,000. The Plaintiff is encouraging all victims of Jona and Rachel to come forward
19 immediately and to stop believing they are going to get paid.
20                                    FIRST CAUSE OF ACTION

21                              FRAUD AGAINST ALL DEFENDANTS

22          56.    Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

23 preceding Paragraphs of this Complaint.
24          57.    The foregoing representations made by Jona, Rachel, and the other Defendants were

25 false when they were made, and Defendants knew the representations to be false. Defendants did
26 not intend to comply with the promises and representations when they were made.
27          58.    The foregoing representations were made by Jona, Rachel, and Defendants with the

28 intent to deceive Plaintiff and with knowledge that Plaintiff would rely on them.
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                                                COMPLAINT

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 1          59.      Plaintiff detrimentally and reasonably relied on the foregoing representations.

 2          60.      Plaintiff has been damaged by Defendants’ false, intentional, and fraudulent

 3 representations and concealing of material information, as alleged above, in an amount to be proven
 4 at trial, but at least $7,000,000, which represents the collateral Jona lied to steal as well as tendered
 5 worthless instruments for.
 6          61.      Plaintiff further requests the imposition of a constructive trust against all Defendants
 7 who are in possession of the diamond collateral set forth in the Debt Agreement and for an order
 8 and judgment that they hold the diamond collateral and/or all proceeds therefrom as constructive
 9 trustees for the benefit of Plaintiff.
10          62.      In doing the things herein alleged, Defendants acted willfully, maliciously, and with
11 the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty of malice and/or
12 fraud in conscious disregard of Plaintiff’s rights, thereby warranting an assessment of punitive and
13 exemplary damages in an amount appropriate to punish Defendants, and each of them, and deter
14 them and others from engaging in similar misconduct
15                                     SECOND CAUSE OF ACTION
16                CIVIL THEFT (Cal. Penal Code, § 496) AGAINST ALL DEFENDANTS
17          63.      Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

18 preceding Paragraphs of this Complaint.
19          64.      As a result of Jona and Defendants’ conduct as alleged herein, they have violated

20 California Penal Code, section 496.
21          65.      California Penal Code, section 496, provides, “[e]very person who buys or receives

22 any property that has been stolen or that has been obtained in any manner constituting theft or
23 extortion, knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or
24 aids in concealing, selling, or withholding any property from the owner, knowing the property to be
25 so stolen or obtained, shall be punished by imprisonment in a county jail for not more than one year,
26 or imprisonment pursuant to subdivision (h) of Section 1170. However, if the value of the property
27 does not exceed nine hundred fifty dollars ($950), the offense shall be a misdemeanor, punishable
28 only by imprisonment in a county jail not exceeding one year, if such person has no prior convictions
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                                                  COMPLAINT

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 1 for an offense specified in clause (iv) of subparagraph (C) of paragraph (2) of subdivision (e) of
 2 Section 667 or for an offense requiring registration pursuant to subdivision (c) of Section 290.
 3          66.     Jona and Defendants have obtained and received property from Plaintiff, the

 4 $5,800,000, in a manner constituting “theft,” as that term is defined in California Penal Code,
 5 section 484(a), “[e]very person who shall feloniously steal, take, carry, lead, or drive away the
 6 personal property of another, or who shall fraudulently appropriate property which has been
 7 entrusted to him or her, or who shall knowingly and designedly, by any false or fraudulent
 8 representation or pretense, defraud any other person of money, labor or real or personal property, or
 9 who causes or procures others to report falsely of his or her wealth or mercantile character and by
10 thus imposing upon any person, obtains credit and thereby fraudulently gets or obtains possession
11 of money, or property or obtains the labor or service of another, is guilty of theft.”
12          67.     As a direct and proximate result of Defendants’ civil theft, Plaintiff has been

13 damaged in an amount to be proven at trial, but at least $7,000,000.
14          68.     Pursuant to California Penal Code, section 496(c), Plaintiff is also entitled to recover

15 treble damages from Defendants.
16          69.     Pursuant to California Penal Code, section 496(c), Plaintiff is also entitled to recover
17 attorneys’ fees from Defendants.
18          70.     Plaintiff further requests the imposition of a constructive trust against all Defendants

19 who are in possession of the diamond collateral set forth in the Debt Agreement and for an order
20 and judgment that they hold the diamond collateral and/or all proceeds therefrom as constructive
21 trustees for the benefit of Plaintiff.
22          71.     In doing the things herein alleged, Defendants acted willfully, maliciously, and with

23 the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty of malice and/or
24 fraud in conscious disregard of Plaintiff’s rights, thereby warranting an assessment of punitive and
25 exemplary damages in an amount appropriate to punish Defendants, and each of them, and deter
26 them and others from engaging in similar misconduct
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                                                 COMPLAINT

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 1                                     THIRD CAUSE OF ACTION

 2                    BREACH OF CONTRACT AGAINST ALL DEFENDANTS

 3          72.     Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

 4 preceding Paragraphs of this Complaint.
 5          73.     Plaintiff has duly performed all of his obligations, terms, and conditions of the Debt
 6 Agreement, except to the extent that his performance has been waived, prevented or excused by the
 7 acts, conduct and/or omissions of Defendants.
 8          74.     All conditions for Defendants’ performance on the Debt Agreement have occurred.
 9          75.     Defendants are in breach of the Debt Agreement by failing and refusing to pay
10 Plaintiff all amounts due thereunder and by failing to provide Plaintiff with the collateral required
11 thereunder.
12          76.     As a direct and proximate result of the acts, omissions, and breaches of the Debt
13 Agreement by Defendants, as alleged herein, Plaintiff has suffered damages in a specific amount to
14 be determined at trial, but in the amount of at least $7,000,000.
15                                    FOURTH CAUSE OF ACTION
16            CIVIL CONSPIRACY TO COMMIT THEFT, FRAUD, AND FRAUD BY
17                         CONCEALMENT AGAINST ALL DEFENDANTS

18          77.     Plaintiff hereby incorporates by reference as though fully set forth in full herein, all

19 preceding Paragraphs of this Complaint.
20          78.     Jona, Rachel, and Prado conspired to make an illegal agreement to defraud Franco

21 of his loan proceed and his collateral and to commit civil theft.
22          79.     Jona, with his wife Rachel, have set up serial bogus companies to solicit loans based

23 upon the false premise they have collateral. Meanwhile the collateral is already pledged to a third
24 party or Jona and Rachel have concocted lies to get it back, using Prado as their patsy to sign checks
25 on their corporate checking accounts.
26          80.     Franco is informed, believes, and thereupon alleges that at all times relevant hereto,

27 Defendants, including but not limited to Jona, Rachel, and Prado, formed a civil conspiracy and
28 engaged in the foregoing acts in operation and furtherance of that conspiracy.
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                                                 COMPLAINT

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 1          81.    Plaintiff is informed, believes, and thereupon alleges that at all times relevant hereto,

 2 Defendants committed the foregoing misrepresentations, wrongs, theft, and fraud for the purpose
 3 and in furtherance of a fraudulent conspiracy and scheme to defraud Plaintiff, as alleged herein.
 4          82.    As a result of the civil conspiracy, each and every Defendant is liable and responsible

 5 for the acts of the other Defendants in furtherance of the conspiracy and all damages resulting
 6 therefrom.
 7          83.    As a result of the civil conspiracy, Defendants are jointly and severally liable for
 8 $7,000,000.
 9          84.    The egregious nature of the Defendants/conspirators’ collective conduct is malicious,
10 wanton, and willful. Plaintiff needs to be awarded punitive damages plus a judgment of joint and
11 several liability.
12                                       PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff Franco seeks a judgment in her favor and an order granting the

14 following relief:
15          1.     That Plaintiff be awarded compensatory damages in the amount of at least

16                 $7,000,000;
17          2.     That Plaintiff be awarded treble damages pursuant to California Penal Code,

18                 section 496(c);

19          3.     That Plaintiff be awarded reasonable attorneys’ fees pursuant to California Penal

20                 Code, section 496(c);

21          4.     For a constructive trust over the diamond collateral and all proceeds therefrom;

22          5.     That Plaintiff be awarded punitive damages in an amount to be proven at trial;

23          6.     For a receiver to be installed into both defendant companies and personal estates to

24                 marshal the remaining assets;

25          7.     That Plaintiff be awarded costs of suit; and

26          8.     That Plaintiff be awarded such further relief as the Court deems just and proper.

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                                                 COMPLAINT

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  1 DATED: February 8, 2020         LAW OFFICES OF RONALD RICHARDS
                                    & ASSOCIATES, A.P.C.
  2
  3                                 By:   /s/ Ronald Richards
                                                 Ronald Richards
  4                                       Attorneys for Plaintiff Victor Franco Noval
  5
                                    LAW OFFICES OF GEOFFREY LONG, A.P.C.
  6
  7
                                    By:    /s/ Geoffrey Long
  8                                              Geoffrey Long
                                          Attorneys for Plaintiff Victor Franco Noval
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                                      COMPLAINT

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 1                                           VERIFICATION

 2 I, Victor Franco Noval, declare:
 3 I have read the foregoing complaint and know the contents thereof.
 4 I am informed and believe based on information provided to me, materials I have reviewed, and
 5 my personal knowledge that the matters stated in are true and accurate to the best of my
 6 knowledge except where I indicated they are based upon information and belief.
 7 I declare under penalty of perjury pursuant to the laws of the State of California that the
 8 foregoing is true and correct, and that this verification to this complaint was executed this th day
 9 of February,
             y, 2020,, in Beverly
                                y Hills, California.

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     ______________________
11 Victor Franco Noval
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                                         EXHIBIT A

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       EXHIBIT B




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                             EXHIBIT C




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                             EXHIBIT D




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                             EXHIBIT E




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                             EXHIBIT F




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Ronald Richards

From:                                Reuven Cohen <rcohen@
Sent:                                Tuesday, February 4, 2020 9:40 PM
To:                                  Reuven Cohen; Marc Williams
Subject:                             Jona Rechnitz


We write with an update on Jona Rechnitz. A family member of Mr. Rechnitz has informed our law firm that the family
member is seeking to refinance certain real property in order to satisfy Mr. Rechnitz's outstanding liabilities. We
currently have no visibility into the family member's interest in the property, the value of the property, or what, if any
equity, the family member has in it.

If you are represented by counsel, please let us know and provide your counsel's contact information.

Our client's desire is to resolve this matter amicably.

Sincerely,

Reuven L. Cohen
Cohen Williams LLP
724 South Spring Street, 9th Floor
Los Angeles, CA 90014
Tel: 213-232-5163
Fax: 213-232-5167
rcohen@
www.cohen-williams.com




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     Case 2:20-bk-13530-BR                   Doc 10 Filed 05/01/20 Entered 05/01/20 19:23:10                                     Desc
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                EXHIBIT "4"
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                     West District, Santa Monica Courthouse, Department R

20SMCV00216                                                                         March 10, 2020
VICTOR FRANCO NOVAL vs JONA S. RECHNITZ, et al.                                          8:30 AM


Judge: Honorable Marc D. Gross                     CSR: None
Judicial Assistant: P. Anyankor                    ERM: None
Courtroom Assistant: A. Wiggins                    Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): Ronald Richards
For Defendant(s): Marc S Williams and Reven L. Cohen




NATURE OF PROCEEDINGS: Hearing on Ex Parte Application Advancing Motion for Stay

The matter is called for hearing.

Ex Parte Application Hearing is held.

The Court now rules as follows:

The Ex Parte Application for Order Shortening Time and Advancing Hearing Date on Defendant
Motion for Stay of Proceedings filed by Jona S. Rechnitz, Rachel Rechnitz, Jadelle Inc., a
California corporation, Jadelle Jewelry and Diamonds, LLC, a Delaware limited liability
company on 03/09/2020 is Granted in Part.

Pursuant to the request of moving party, the Hearing on Motion for Stay of Proceedings
scheduled for 02/25/2021 is advanced to this date and continued to 04/09/2020 at 08:30 AM in
Department R at Santa Monica Courthouse.

Moving Papers are filed.

Opposition and Reply are due per code.

The Court orders the case TEMPORARILY STAYED, pending a decision on the above-
scheduled hearing.

Defendant(s) may submit a supplemental declaration re: update regarding the status of the
criminal investigation with new information that was not available at today's hearing
(03/10/2020). The declaration is to be e-filed sixteen (16) court days, plus time for service, prior
to the hearing.

                                           Minute Order                                  Page 1 of 2
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          Civil Division
                     West District, Santa Monica Courthouse, Department R

20SMCV00216                                                                    March 10, 2020
VICTOR FRANCO NOVAL vs JONA S. RECHNITZ, et al.                                     8:30 AM


Judge: Honorable Marc D. Gross                    CSR: None
Judicial Assistant: P. Anyankor                   ERM: None
Courtroom Assistant: A. Wiggins                   Deputy Sheriff: None

Counsel for the Defendant(s) is to give notice.




                                          Minute Order                              Page 2 of 2
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                EXHIBIT "5"
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Electronically FILED by Superior Court of California, County of Los Angeles on 04/06/2020 05:16 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Soto,Deputy Clerk




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                                 La Habra, CA 90631
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                                 Facsimile: (562) 252-8529
                           4     Email: Michael@TuskenLaw.com
                           5     THE SAMINI FIRM APC
                                 Bobby Samini (SBN 181796)
                           6     2801 West Coast Highway, Suite 200
                                 Newport Beach, CA 92663
                           7     Telephone: (949) 724-0900
                           8     Facsimile: (949) 724-0901
                                 Attorneys for Plaintiffs
                           9
                                                     IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
                         10
                         11                  IN AND FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT

                         12        KHALED J. AL-SABAH, an individual,                                        )   CASE NO. 19STCV42446
                                   individually and as Trustee of The Awal Trust,                            )
                         13        Dated February 23, 2012; and JARRAH                                           [Assigned for all purposes to
                                                                                                             )   The Honorable Maureen Duffy-Lewis
                                   KHALED AL-SABAH, an individual,                                           )
                         14                                                                                      Department No.: 38]
                                                          Plaintiffs,                                        )
                         15                                                                                  )
                                               v.                                                                DECLARATION OF MICHAEL L.
                         16                                                                                  )   TUSKEN IN SUPPORT OF
                                   VICTORINO NOVAL, an individual, also                                      )
                                   known as VICTOR JESUS NOVAL and as                                            PLAINT,FFS’ MOTION FOR
                         17                                                                                  )   LEAVE TO FILE FIRST
                                   VICTOR P. NOVAL and as VICTOR DEAN
                                                                                                             )   AMENDED COMPLAINT
                         18        NOVAL; et al, inclusive,
                                                                                                             )
                                                          Defendants.                                        )
                         19                                                                                      [Filed concurrently with Notice of
                                   SECURED CAPITAL PARTNERS, LLC, a                                          )   Motion and Motion; Memorandum of
                         20        California limited liability company; BEVERLY                             )   Points and Authorities; and [Proposed]
                                   HILLS REAL ESTATE HOLDINGS, LLC, a                                        )   Order]
                         21
                                   California limited liability company; and                                 )
                         22        VICTORINO NOVAL, an individual,                                           )   Date: April 28, 2020
                                                   Cross-Complainants,                                       )   Time: 9:30 a.m.
                         23                                                                                  )
                                           v.                                                                    Dept.: 38
                         24                                                                                  )
                                   KHALED J. AL-SABAH, an individual,
                                   individually and as Trustee of The Awal Trust,                            )   Reservation ID: 405513242514
                         25        Dated February 23, 2012, et al; MICHAEL                                   )
                                   TUSKEN, an individual; DAVID ROSS aka                                     )
                         26                                                                                  )
                                   DAVID LEONARD ROSS, an individual, and                                        Complaint Filed:       November 25, 2019
                         27        ROES 1 through 60, inclusive,                                             )   Cross-Complaint Filed: December 17, 2019
                                                          Cross-Defendants.                                  )   Trial Date:            None
                         28                                                                                  )

                                                                             DECLARATION OF MICHAEL L. TUSKEN

                                                                                                          -1-



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                              DECLARATION OF MICHAEL L. TUSKEN
 1
             I, Michael L. Tusken, declare:
 2
             1.      I am an attorney, duly licensed to practice law in the State of California and
 3
     before this Court. I am the sole proprietor at the Law Offices of Michael L. Tusken, co-counsel
 4
     of record for Plaintiffs Khaled J. Al-Sabah, an individual, individually and as Trustee of The
 5
     Awal Trust, Dated February 23, 2012 (“Mr. Al-Sabah”) and Jarrah Khaled Al-Sabah, an
 6
     individual (collectively, “Plaintiffs”).
 7
             2.      I make this declaration regarding Plaintiffs’ Motion for Leave to File a First
 8
     Amended Complaint filed concurrently herewith.
 9
             3.      I have knowledge of the facts set forth herein from a review of documents and
10
     files, as well as from my own personal knowledge, and if called upon as a witness, I could and
11
     would testify competently thereto.
12
             4.      Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ proposed
13
     First Amended Complaint.
14
             5.      Attached hereto as Exhibit B is a true and correct copy of the redline of
15
     Plaintiffs’ First Amended Complaint reflecting any additions and deletions thereto.
16
             6.      On November 25, 2019, Plaintiffs filed their Complaint for various contractual,
17
     fraud-based, and quiet title claims arising from their investments with defendants.
18
             7.      On or about December 17, 2019, Defendant 8484 Wilshire Blvd, LLC filed its
19
     Answer, and defendants Secured Capital Partners, LLC, Beverly Hills Real Estate Holdings,
20
     LLC, and Victorino Noval filed a cross-complaint.
21
             8.      On or about February 3, 2020, Defendants Beverly Hills Real Estate Holdings
22
     LLC and Secured Capital Partners, LLC filed their respective Demurrers.
23
             9.      Shortly thereafter, in or around mid- to late-February 2020, Defendants Victorino
24
     Noval; Victor Franco Noval, individually and as trustee; Hunter Noval; and 1141 Summit
25
     Drive, LLC filed their respective Answers.
26
             10.     Plaintiffs seek to amend this complaint, the effect of which serves to add new
27
     causes of action based upon additional facts and legal theories, to clarify existing causes of
28
     action and the parties thereto, as well as to address any alleged deficiencies as set forth in
                                   DECLARATION OF MICHAEL L. TUSKEN

                                                      -2-



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 1   Defendants Beverly Hills Real Estate Holding LLC and Secured Capital Partners, LLC’s
 2   respective Demurrers, which would obviate the need to have a hearing on the demurrer.
 3   Plaintiffs seek to amend their Complaint as follows: 1) to remove former causes of action
 4   numbers twenty-two (22) through twenty-four (24) for Imposition of Constructive Trust and
 5   twenty-five (25) Violation of Business and Professions Code Section 17200 et seq.; 2) add facts
 6   in support of Plaintiffs’ cause of action for Civil Theft – Violation of Penal Code Section 496;
 7   3) add causes of action for Breach of Promissory Note; Civil Theft – Violation of Penal Code
 8   Section 496; Involuntary Dissolution of Limited Liablity Company; Appointment of Receiver
 9   and Injunctive Relief; Conversion – Rechnitz Defendants; Declaratory Relief – Rechnitz
10   Defendants; 4) add Marsh Capital Group, Inc. as a named defendant; 5) add Jona S. Rechnitz;
11   Rachel Rechnitz; Jadelle, Inc.; Jadelle Jewelry and Diamonds, LLC; Levin Prado aka Levon
12   Prado; and Xiomara Cortez (collectively, the “Rechnitz Defendants”) as named defendants;
13   6) add additional DOE Defendants from DOES 260-290; 7) add general factual allegations,
14   including, but not limited to, to support new legal theories of liability, e.g., alter-ego liability;
15   8) add the Promissory Note as an exhibit; 9) add additional exhibits that provide further facts,
16   including, but not limited to, to support new theories of liability, e.g., alter-ego liability; and
17   10) generally reorganize the complaint, exhibits, and correct any grammatical errors and/or
18   typos.
19            11.    Moreover, the fraudulent actions of defendants are best within defendants’
20   knowledge and are only now becoming known to Plaintiffs.
21            12.    The amendment is necessary and proper to address recognized additional causes
22   of action and legal theories of liabilities based upon the new facts pled.
23            13.    The new facts were discovered after the Complaint was filed in furtherance of
24   due diligence by the Plaintiffs and Plaintiffs’ counsel.
25            14.    The new legal theories advanced by the Plaintiffs are based upon newly-pled
26   additional facts as well as to address points raised by the pending demurrer.
27            15.    After the complaint was filed, Plaintiffs’ counsel, as part of their due diligence,
28   continued to pursue informational areas, and during the course of December, January and

                                   DECLARATION OF MICHAEL L. TUSKEN

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 1   February, were able to amass newly-acquired information to compile the amended complaint.
 2   This motion would have been filed earlier but for the disruption caused by the national
 3   emergency taking place in the United States.
 4          16.     After the Complaint was filed, Mr. Al-Sabah located additional documentation in
 5   support of his claims, including but not limited to a Promissory Note defendants’ indebtedness,
 6   and therefore seeks to add a cause of action for breach of promissory note based upon the note.
 7   Defense Counsel Geoffrey Long and Ronald Richards previously were apprised of the existence
 8   of this Promissory Note.
 9          17.     Additionally, on or about February 20, 2020, Defendant Victor Franco Noval
10   instituted an action against the Rechnitz Defendants, identified as Los Angeles County Superior
11   Court Case Number 20SMCV00216 (the “Rechnitz Action”), for 1) Fraud; 2) Civil Theft (Penal
12   Code, § 496); 3) Breach of Contract; 4) Conspiracy to Commit Theft, Fraud, and Fraud by
13   Concealment; and 5) Appointment of Receiver. The funds at issue in the Rechnitz Action are
14   believed to be monies Plaintiffs invested with defendants as alleged in the instant action.
15   Plaintiffs could not have known that Defendants used Plaintiffs’ investment to fund a loan to the
16   Rechnitz Defendants prior to the filing of the Rechnitz Action, and Plaintiffs have sought to
17   amend their Complaint as soon as possible after learning this new information.
18          18.     Trial has not yet been scheduled in this matter.
19          19.     Many of the defendants only recently entered their respective appearances in this
20   case, trial has not yet been set, and the case is not yet at issue due to the pending demurrer filed
21   by Beverly Hills Real Estate Holdings LLC and Secured Capital Partners, LLC.
22          20.     The Defendants will not be prejudiced by the proposed amendment in terms of
23   evidence or the ability to defend themselves should they so decide. The matters added in the
24   amended complaint are based upon the interactions between and among the Plaintiffs and the
25   Defendants and documentation in the possession of Defendants.
26   ///
27   ///
28   ///

                                  DECLARATION OF MICHAEL L. TUSKEN

                                                      -4-



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 1          21.    At this time, the parties have only engaged in minimal discovery as discovery is
 2   stayed on Plaintiffs’ Complaint pending the Court’s ruling on Cross-Defendants’ anti-SLAPP
 3   motion scheduled for hearing on August 27, 2020.
 4
 5          Executed this 6th day of April, 2020 at La Habra, California.
 6          I declare under penalty of perjury under the laws of the State of California that the
 7   foregoing is true and correct based upon my own personal knowledge.
 8
 9
10
                                                          Michael L. Tusken
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                                DECLARATION OF MICHAEL L. TUSKEN

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                            EXHIBIT A




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   8   Facsimile: (949) 724-0901
   9
       Attorneys for Plaintiffs
  10
  11                IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
  12
               IN AND FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
  13
         KHALED J. AL-SABAH, an individual,            )    Case No. 19STCV42446
  14     individually and as Trustee of The Awal       )
         Trust, Dated February 23, 2012; and           )    [Assigned for all purposes to
  15
         JARRAH KHALED AL-SABAH, an                    )    The Honorable Maureen Duffy-Lewis
  16     individual                                    )    Department No.: 38]
                                                       )
  17                    Plaintiffs,                    )    [PROPOSED] FIRST AMENDED
                                                       )    COMPLAINT FOR:
  18
                        v.                             )
  19                                                   )    (1) BREACH OF CONTRACT
         VICTORINO NOVAL, an individual, also          )
  20     known as VICTOR JESUS NOVAL and as            )    (2) BREACH OF FIDUCIARY DUTY
         VICTOR P. NOVAL and as VICTOR                 )
  21     DEAN NOVAL; VICTOR FRANCO                     )    (3) PROMISSORY ESTOPPEL
  22     NOVAL, an individual, individually and as     )
         Trustee of the REXFORD TRUST;                 )    (4) PROMISSORY ESTOPPEL
  23     HUNTER NOVAL, an individual;                  )
         SECURED CAPITAL PARTNERS, LLC, a              )    (5) BREACH OF CONTRACT
  24     California limited liability company;         )
  25     SAMIR MAHALLAWY, an individual; LA            )    (6) BREACH OF FIDUCIARY DUTY
         STARS, LLC, a California limited liability    )
  26     company; TOWER FINANCIAL, LLC, a              )    (7) PROMISSORY ESTOPPEL
         Delaware limited liability company;           )
  27     BEVERLY HILLS REAL ESTATE                     )    (8) FRAUD AND DECEIT
  28     HOLDINGS LLC, a California limited            )
                                        FIRST AMENDED COMPLAINT

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       liability company; 8484 WILSHIRE             )    (9) CIVIL THEFT - VIOLATION OF
   1
       BLVD, LLC, a California limited liability    )    PENAL CODE SECTION 496
   2   company; 1141 SUMMIT DRIVE, LLC, a           )
       California limited liability company;        )    (10) NEGLIGENCE
   3   MARSH CAPITAL GROUP, INC., an                )
       entity of unknown origin; JONA S.            )    (11) MONEY HAD AND RECEIVED
   4
       RECHNITZ, an individual; RACHEL              )
   5   RECHNITZ, an individual; JADELLE,            )    (12) FRAUD AND DECEIT
       INC., a California corporation; JADELLE      )
   6   JEWELRY AND DIAMONDS, LLC, a                 )    (13) CONSTRUCTIVE FRAUD
       Delaware limited liability company; LEVIN    )
   7   PRADO aka LEVON PRADO; an                    )    (14) QUIET TITLE
   8   individual; XIOMARA CORTEZ; an               )
       individual; and DOES 1-290, inclusive,       )    (15) QUIET TITLE
   9                                                )
                    Defendants.                     )    (16) QUIET TITLE
  10                                                )
  11                                                )    (17) QUIET TITLE
       SECURED CAPITAL PARTNERS, LLC, a             )
  12   California limited liability company;        )    (18) QUIET TITLE
       BEVERLY HILLS REAL ESTATE                    )
  13   HOLDINGS, LLC, a California limited          )    (19) QUIET TITLE
  14   liability company; and VICTORINO             )
       NOVAL, an individual,                        )    (20) QUIET TITLE
  15                                                )
                           Cross-Complainants,      )    (21) QUIET TITLE
  16                                                )
  17         v.                                     )    (22) CIVIL THEFT - VIOLATION OF
                                                    )    PENAL CODE SECTION 496
  18   KHALED J. AL-SABAH, an individual,           )
       individually and as Trustee of The Awal      )    (23) BREACH OF PROMISSORY
  19   Trust, Dated February 23, 2012, et al.;      )    NOTE
  20   MICHAEL TUSKEN, an individual;               )
       DAVID ROSS aka DAVID LEONARD                 )    (24) CIVIL THEFT - VIOLATION OF
  21   ROSS, an individual, and ROES 1 through      )    PENAL CODE SECTION 496
       60, inclusive;                               )
  22                                                )    (25) CIVIL THEFT - VIOLATION OF
  23                      Cross-Defendants.         )    PENAL CODE SECTION 496
                                                    )
  24                                                )    (26) INVOLUNTARY
                                                    )    DISSOLUTION OF LIMITED
  25                                                )    LIABILITY COMPANY
                                                    )
  26
                                                    )    (27) APPOINTMENT OF
  27                                                )    RECEIVER AND INJUNCTIVE
                                                    )    RELIEF;
  28
                                   FIRST AMENDED COMPLAINT

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                                                    )
 1
                                                    )    (28) CONVERSION – RECHNITZ
 2                                                  )    DEFENDANTS
                                                    )
 3                                                  )    (29) DECLARATORY RELIEF –
                                                    )    RECHNITZ DEFENDANTS
 4
                                                    )
 5                                                  )    DEMAND FOR JURY TRIAL
                                                    )
 6                                                  )    Complaint Filed: November 25, 2019
                                                    )    Cross-Complaint Filed: Dec. 17, 2019
 7                                                  )    Trial Date: None
 8                                                  )
                                                    )
 9                                                  )
                                                    )
10
11
12
            Plaintiff KHALED J. AL-SABAH, an individual, individually and as Trustee of The
13
     Awal Trust, Dated February 23, 2012, and JARRAH KHALED AL-SABAH, an individual
14
     (collectively, “Plaintiffs”) hereby submit this First Amended Complaint and Demand for Jury
15
     Trial Against Defendants VICTORINO NOVAL, an individual, also known as VICTOR JESUS
16
     NOVAL and as VICTOR P. NOVAL and as VICTOR DEAN NOVAL; VICTOR FRANCO
17
     NOVAL, an individual, individually, and as Trustee of the REXFORD TRUST; HUNTER
18
     NOVAL, an individual; SECURED CAPITAL PARTNERS, LLC, a California limited liability
19
     company; SAMIR MAHALLAWY, an individual; LA STARS, LLC, a California limited
20
     liability company; TOWER FINANCIAL, LLC, a Delaware limited liability company;
21
     BEVERLY HILLS REAL ESTATE HOLDINGS LLC, a California limited liability company;
22
     8484 WILSHIRE BLVD, LLC, a California limited liability company; 1141 SUMMIT DRIVE,
23
     LLC, a California limited liability company; MARSH CAPITAL GROUP, INC. an entity of
24
     unknown origin; JADELLE, INC., a California corporation; JADELLE JEWELRY AND
25
     DIAMONDS, LLC, a Delaware limited liability company; LEVIN PRADO aka LEVON
26
     PRADO; an individual; XIOMARA CORTEZ; an individual; and DOES 1-290, inclusive
27
     (collectively, “Defendants”) as follows:
28
                                      FIRST AMENDED COMPLAINT

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 1   permanent injunctions in aid of the receiver, prohibiting the Receivership Defendants, and each
 2   of them, and their agents, officers, employees, representatives, from engaging in, or performing,
 3   directly or indirectly, any or all of the following acts:
 4                           A.       Interfering, hindering or molesting in any way whatsoever the
 5           receiver in the performance of the receiver’s duties and in the performance of any duties
 6           incidental thereto;
 7                           B.       Transferring, directly or indirectly, any interest by sale or
 8           encumbering in any manner any of the Receivership Assets, and all proceeds thereof;
 9                           C.       Transferring, concealing, destroying, defacing, and altering any of
10           the books and records of Receivership Defendants as they may pertain in any manner to
11           the Receivership Assets;
12                           C.       Failing or refusing to immediately turn over to the receiver all of
13           the Receivership Assets, and all moneys, checks, funds or proceeds belonging to or for
14           the benefit of Khaled.
15                                 TWENTY-EIGHTH CAUSE OF ACTION
16     (For Conversion– Plaintiff KHALED J. AL-SABAH an individual, individually and as
17     Trustee of The Awal Trust, Dated February 23, 2012, against Defendants VICTORINO
18      NOVAL, also known as VICTOR JESUS NOVAL and as VICTOR P. NOVAL and as
19         VICTOR DEAN NOVAL, VICTOR FRANCO NOVAL, an individual; JONA S.
20      RECHNITZ, an individual, RACHEL RECHNITZ, an individual, JADELLE, INC., a
21      California corporation; JADELLE JEWELRY AND DIAMONDS, LLC, a Delaware
22       limited liability company; LEVIN PRADO, an individual; XIOMARA CORTEZ, an
23                            individual; and DOES 1 through 280, inclusive)
24           337.    Plaintiffs repeat and reallege each of the preceding paragraphs as though fully set
25   forth herein.
26           338.    Khaled is informed and believes, and thereupon alleges, that on or about January
27   24, 2019, the Jadelle Entities, which are owned by Jona and Rachel, borrowed money from
28
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 1   Franco pursuant to a written agreement. Khaled is informed and believes, and thereupon alleges,
 2   that at all times during this ongoing agreement and transaction, Franco was acting as a straw
 3   person and puppet of his father Victorino. Khaled is informed and believes, and thereupon
 4   alleges, that while Franco’s name is on the agreement with the Jadelle Entities, it was Victorino
 5   who negotiated, bargained, and discussed the terms of the agreement with Jona and Rachel and
 6   remained in contact with Jona and Rachel thereafter.
 7          339.    Khaled is informed and believes, and thereupon alleges, that each and every dollar
 8   that the Jadelle Entities borrowed from Victorino and Franco pursuant to the written agreement
 9   was funded by the above referenced monies belonging to Khaled which have been wrongly and
10   illegally obtained by Victorino, Franco and the other conspiring Defendants.
11          340.    Khaled is further informed and believes that the original principal amount
12   borrowed by the Jadelle Entities was $2,850,000, that the loan was secured by $7,000,000 worth
13   of diamonds delivered to Franco and Victorino, as well as a 2012 Bugatti, and that after a series
14   of transactions, the debt on the loan grew to $5,800,000.
15          341.    Khaled is further informed and believes that Franco and Victorino later credited
16   some of the funds against the principal by liquidating the Bugatti for $400,000, none of which
17   was provided to Khaled.
18          342.    Khaled is further informed and believes that in or about January 2020, Victorino
19   and Franco released the $7,000,000 worth of diamonds to Jonah under the belief that Jonah
20   would satisfy his outstanding debt by securing third-party funding through the diamonds.
21   Khaled is further informed and believes that Jona, Rachel and the Jadelle Entities did not make
22   any payment to Victorino and Franco and did not return the diamonds.
23          343.    The Noval swindlers have now been swindled and are now seeking Court
24   intervention to recover monies which belong to Khaled. Attached hereto as Exhibit “22” is the
25   Civil Complaint filed by Franco against Jona, Rachel, the Jadelle Entities, alleged conspirator
26   Prado and alleged conspirator Cortez (hereinafter “the Rechnitz Defendants”) in Los Angeles
27   Superior Court as case no. 20SMCV00216 on February 10, 2020 (hereinafter, the “Rechnitz
28
                                      FIRST AMENDED COMPLAINT

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 1   Lawsuit.”)
 2            344.   Khaled is informed and believes, and thereon alleges, that at all times when
 3   Franco and Victorino lent the money to the Rechnitz Defendants from approximately January
 4   2019 to March 2020, Franco and Victorino did not have the right nor claim to possess such
 5   money, and therefore the Rechnitz Defendants did not have the legal right to possess such
 6   money.
 7            345.   Khaled is informed and believes, and thereon alleges, that at all times when
 8   Franco and Victorino secured the $7,000,000 worth of diamonds and the 2012 Bugatti from the
 9   Rechnitz Defendants as collateral, Franco and Victorino did not have the right to possess the
10   diamonds or the vehicle, nor the liquidated sum from the sale of the Bugatti. Likewise, the
11   Rechnitz Defendants did not and do not have the right nor claim to possess the diamonds when
12   Franco and Victorino released the diamonds back to the Rechnitz Defendants after December
13   2019, as these diamonds had become the rightful possession of Khaled, who had retained the
14   right and interest in the diamonds once the diamonds were deemed collateral for the lending of
15   Khaled’s money.
16            346.   As stated herein above, Khaled released in excess of $163 million to Victorino,
17   Franco and the other above referenced Defendants based upon the representations of Victorino
18   that such money would be used towards an investment in the TPP property. Instead, Victorino
19   and Franco used $5,800,000 of the $163 million that they fraudulently obtained from Khaled to
20   loan to the Rechnitz Defendants, and later released $7,000,000 in diamonds that they received in
21   collateral for the loan back to the Rechnitz Defendants without receiving anything in return. The
22   Rechnitz Defendants remain in possession of Khaled’s $5,800,000 as well as the $7,000,000 in
23   diamonds which was intended to serve as secured collateral on the loaned money that belonged
24   to Khaled.
25            347.   Khaled disputes Franco’s and Victorino’s claim for damages in the Rechnitz
26   Lawsuit, while any damages Franco and Victorino attempt to recover from the Rechnitz
27   Defendants in the Rechnitiz Lawsuit, by way of settlement or judgment, are the legal possession
28
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 1   of Khaled.
 2          348.     The Rechnitz Defendants refuse to return the money and diamonds and continue
 3   to withhold possession of the money and diamonds from Khaled in violation of Khaled’s right to
 4   immediate and exclusive possession of such money and diamonds, causing ongoing injury and
 5   damages.
 6          349.     Khaled will suffer damages caused by the Rechnitz Defendants’ conversion of
 7   Khaled’s $5,800,000, or alternatively, the $7,000,000 worth of diamonds that the Rechnitz
 8   Defendants did not return to Franco and Victorino as collateral for the $5,800,000.
 9          350.     By reason of the fraudulent and otherwise wrongful manner in which the Rechnitz
10   Defendants, or any of them, obtained their alleged right, claim or interest in and to the
11   $5,800,000 in loan proceeds unlawfully and fraudulently made by Victorino and Franco, or
12   alternatively, $7,000,000 worth of diamonds secured as collateral, the Rechnitz Defendants, and
13   each of them, have no legal or equitable right, claim or interest therein, but, instead, each of them
14   are involuntary trustees holding said property and profits therefrom in constructive trust for
15   Khaled with the duty to convey the same to Khaled forthwith.
16                                  TWENTY-NINTH CAUSE OF ACTION
17   (For Declaratory Relief – Plaintiff KHALED J. AL-SABAH an individual, individually and
18   as Trustee of The Awal Trust, Dated February 23, 2012, against Defendants VICTORINO
19      NOVAL aka VICTOR JESUS NOVAL and as VICTOR P. NOVAL and as VICTOR
20     DEAN NOVAL; VICTOR FRANCO NOVAL, an individual, JONA S. RECHNITZ, an
21         individual, RACHEL RECHNITZ, an individual, JADELLE, INC., a California
22   corporation; JADELLE JEWELRY AND DIAMONDS, LLC, a Delaware limited liability
23   company; LEVIN PRADO, an individual; XIOMARA CORTEZ, an individual; and DOES
24                                        1 through 290, inclusive)
25          351.     Plaintiffs repeat and reallege each of the preceding paragraphs as though fully set
26   forth herein.
27          352.     The Rechnitz Defendants wrongfully possess and refuse to release $5,800,000
28
                                       FIRST AMENDED COMPLAINT

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                                        THE SAMINI FIRM APC
 1
 2
 3   Date: April 5, 2020                By:            /s/ Bobby Samini
                                                Bobby Samini
 4                                              Attorneys for Plaintiffs

 5
     Date: April 5, 2020                LAW OFFICES OF MICHAEL L. TUSKEN
 6
 7
 8                                      By:            /s/ Michael L. Tusken
                                                Michael L. Tusken
 9
                                                Attorneys for Plaintiff
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                               FIRST AMENDED COMPLAINT

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 129$/9,&725,12$.$9,&725-(686129$/$.$9,&725'($1129$/&URVV&RPSODLQDQW

 5,&+$5'6521$/'$WWRUQH\IRU'HIHQGDQW

 5266'$9,'$.$&URVV'HIHQGDQW

 6$0,1,%2%%,($WWRUQH\IRU3ODLQWLII

 6(&85('&$3,7$/3$571(56$&$/,)251,$//&&URVV&RPSODLQDQW

 6(&85('&$3,7$/3$571(56$&$/,)251,$//&'HIHQGDQW

 786.(10,&+$(/&URVV'HIHQGDQW

 786.(10,&+$(//(:,6$WWRUQH\IRU3ODLQWLII

 &OLFNRQDQ\RIWKHEHORZOLQN V WRVHH5HJLVWHURI$FWLRQ,WHPVRQRUEHIRUHWKHGDWHLQGLFDWHG
 723799

 9,&725)5$1&2129$,1',9,'8$//<$1'$675867((2)7+(5(;)25'75867'HIHQGDQW

 &OLFNRQDQ\RIWKHEHORZOLQN V WRVHH5HJLVWHURI$FWLRQ,WHPVRQRUEHIRUHWKHGDWHLQGLFDWHG
 723799




 '2&80(176)Ζ/('
 &DVH,QIRUPDWLRQ_5HJLVWHU2I$FWLRQV_)8785(+($5,1*6_3$57<,1)250$7,21_'RFXPHQWV)LOHG_3URFHHGLQJV
 +HOG

 'RFXPHQWV)LOHG )LOLQJGDWHVOLVWHGLQGHVFHQGLQJRUGHU

KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                 


                                                                                                      EXHIBIT "6", PAGE 73
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                                                             /$6&&DVH$FFHVV

 &OLFNRQDQ\RIWKHEHORZOLQN V WRVHH5HJLVWHURI$FWLRQ,WHPVRQRUEHIRUHWKHGDWHLQGLFDWHG
 

 0RWLRQWR([SXQJH/LV3HQGHQV
 )LOHGE\9LFWRU)UDQFR1RYDLQGLYLGXDOO\DQGDV7UXVWHHRIWKH5H[)RUG7UXVW 'HIHQGDQW

 'HFODUDWLRQ RI(GZDUG6XVROLNLQVXSSRUW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 0HPRUDQGXPRI3RLQWV $XWKRULWLHV
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 0RWLRQIRU6DQFWLRQV
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 &HUWLILFDWHRI0DLOLQJIRU &RXUW2UGHU RI
 )LOHGE\&OHUN

 0LQXWH2UGHU  &RXUW2UGHU
 )LOHGE\&OHUN

 1RWLFHRI5XOLQJ
 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
 +ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW HWDO

 &HUWLILFDWHRI0DLOLQJIRU &RXUW2UGHU RI
 )LOHGE\&OHUN

 0LQXWH2UGHU  &RXUW2UGHU
 )LOHGE\&OHUN

 0LQXWH2UGHU  +HDULQJRQ([3DUWH$SSOLFDWLRQ)25$125'(50$,17$,1,1*67$
 )LOHGE\&OHUN

 2SSRVLWLRQ 723/$,17,))6(;3$57($33/,&$7,21)25$125'(535(6(59,1*67$7864825(
 3/$,17,))6027,21)25/($9(72$0(1'&203/$,17$1'027,21672(;381*(/,63(1'(16
 '(&/$5$7,212)*(2))5(</21*
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//&
  'HIHQGDQW :LOVKLUH%OYGD&DOLIRUQLD//& 'HIHQGDQW

 ([3DUWH$SSOLFDWLRQ 3/$,17,))6"127,&(2)(;3$57($33/,&$7,21$1'(;3$57($33/,&$7,21
 )25$125'(50$,17$,1,1*67$7864825(3/$,17,))6"027,21)25/($9(72$0(1'&203/$,17$1'
 '()(1'$176"027,21672(;381*(/,63(1'(16'(&/$5$7,212)0,&+$(/786.(1
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

 0RWLRQWR([SXQJH/LV3HQGHQV '()(1'$17:,/6+,5(%/9'//&6127,&(2)027,21$1'
 027,2172(;381*(/,63(1'(16$1'5(48(67)25)((6$1'&26760(025$1'802)32,176$1'
 $87+25,7,(6'(&/$5$7,2162)521$/'5,&+$5'6
 )LOHGE\:LOVKLUH%OYGD&DOLIRUQLD//& 'HIHQGDQW

 0RWLRQWR([SXQJH/LV3HQGHQV
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW

 2EMHFWLRQ 2%-(&7,2172'(&/$5$7,212)%2%%<6$0,1,),/('%<3/$,17,))6,168332572)
 5(3/<72'()(1'$176"23326,7,2172027,21)25/($9(72),/(),567$0(1'('&203/$,17
 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
 +ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW HWDO



KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                          


                                                                                                           EXHIBIT "6", PAGE 74
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                                                               /$6&&DVH$FFHVV

 0RWLRQWR([SXQJH/LV3HQGHQV '()(1'$17%(9(5/<+,//65($/(67$7(+2/',1*//&127,&(2)
 027,21$1'027,2172(;381*(/,63(1'(16$1'5(48(67)25)((6$1'&26760(025$1'802)
 32,176$1'$87+25,7,(6'(&/$5$7,2162)521$/'5,&+$5'6*(2))5(</21*
 )LOHGE\%HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW

 'HFODUDWLRQ '(&/$5$7,212)%2%%<6$0,1,,168332572)5(3/<72'()(1'$176"23326,7,21
 723/$,17,))6"027,21)25/($9(72),/(),567$0(1'('&203/$,17
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

 5HSO\ 5(3/<72'()(1'$176"23326,7,21723/$,17,))6"027,21)25/($9(72),/(),567
 $0(1'('&203/$,17
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

 'HFODUDWLRQ 2)(':$5'6862/,.,16833257
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 0HPRUDQGXPRI3RLQWV $XWKRULWLHV
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 0RWLRQIRU6DQFWLRQV
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 &HUWLILFDWHRI0DLOLQJIRU +HDULQJRQ([3DUWH$SSOLFDWLRQ72),/(0(025$1'$2)32,176$ RI
 
 )LOHGE\&OHUN

 0LQXWH2UGHU  +HDULQJRQ([3DUWH$SSOLFDWLRQ72),/(0(025$1'$2)32,176$
 )LOHGE\&OHUN

 2SSRVLWLRQ '()(1'$176"23326,7,21723/$,17,))6"027,21)25/($9(72),/(),567
 $0(1'('&203/$,17'(&/$5$7,212)521$/'5,&+$5'6
 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
 +ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW HWDO

 ([3DUWH$SSOLFDWLRQ '()(1'$176121$33($5$1&((;3$57($33/,&$7,2172),/(0(025$1'$
 2)32,176$1'$87+25,7,(6,1(;&(662)7+($33/,&$%/(3$*(/,0,7,168332572)7+(,5027,21672
 (;381*(/,63(1'(165(48(676)25)((6$1'&2676$1'5(48(676)2581'(57$.,1*6
 '(&/$5$7,21
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//&
  'HIHQGDQW :LOVKLUH%OYGD&DOLIRUQLD//& 'HIHQGDQW HWDO

 'HFODUDWLRQ RI0LFKDHO/7XVNHQLQ6XSSRUWRI0RWLRQIRU/HDYHWR)LOH)LUVW$PHQGHG&RPSODLQW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 0RWLRQIRU/HDYH WR)LOH)LUVW$PHQGHG&RPSODLQW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 1RWLFH RI(UUDWDUH9HULILFDWLRQVQRW$WWDFKHGWR(QGRI([KLELW$RI'HFODUDWLRQRI0LFKDHO/7XVNHQLQ6XSSRUW
 RI0RWLRQIRU/HDYHWR)LOH)LUVW$PHQGHG&RPSODLQW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

 5HTXHVWIRU'LVPLVVDO
 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW



KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                             


                                                                                                           EXHIBIT "6", PAGE 75
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                                                            /$6&&DVH$FFHVV

 1RWLFH 2)&+$1*(2)$''5(66$1'(0$,/2)7+(/$:2)),&(62)0,&+$(//786.(1
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

 $QVZHU
 )LOHGE\6XPPLW'ULYHD&DOLIRUQLD//& 'HIHQGDQW

 $QVZHU
 )LOHGE\+XQWHU1RYDO 'HIHQGDQW

 $QVZHU
 )LOHGE\9LFWRU)UDQFR1RYDLQGLYLGXDOO\DQGDV7UXVWHHRIWKH5H[)RUG7UXVW 'HIHQGDQW

 $QVZHU
 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW

 2UGHU$SSRLQWLQJ&RXUW$SSURYHG5HSRUWHUDV2IILFLDO5HSRUWHU3UR7HPSRUH
 )LOHGE\&OHUN

 0LQXWH2UGHU  +HDULQJRQ0RWLRQWR&RPSHOVODSSGLVFRYHU\DQGDSSHDUDQFHRI
 )LOHGE\&OHUN

 1RWLFHRI5XOLQJ *5$17,1*'()(1'$176&5266&203/$,1$176"027,21)253/$,17,)).+$/('
 -$/6$%$+"6'(326,7,21:,7+$17,6/$33027,213(1',1*
 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 'HFODUDWLRQ RI0LFKDHO/7XVNHQ(VTLQ6XSSRUWRI3ODLQWLII V5HTXHVWIRU$GPRQLWLRQRI'HIHQVH&RXQVHO
 5RQDOG5LFKDUGVDQG*HRIIUH\/RQJ
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 5HTXHVW 3ODLQWLII V5HTXHVWIRU$GPRQLWLRQRI'HIHQVH&RXQVHO5RQDOG5LFKDUGVDQG*HRIIUH\/RQJ
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 2EMHFWLRQ '()(1'$176&5266&203/$,1$176"2%-(&7,21$1'5(48(6772675,.(&5266
 '()(1'$176"6855(3/<,168332572)23326,7,2172&5266&203/$,1$176 027,21)253/$,17,))"6
 '(326,7,21:,7+$17,6/$33027,213(1',1*
 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 5HSO\ 6XU5HSO\LQ6XSSRUWRI2SSRVLWLRQWR&URVV&RPSODLQDQWV0RWLRQ
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 5HSO\ ,168332572)'()(1'$176&5266&203/$,1$176"027,21)253/$,17,)).+$/('-
 $/6$%$+"6'(326,7,21:,7+$17,6/$33027,213(1',1*
 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 5HTXHVWIRU-XGLFLDO1RWLFH
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW

 'HPXUUHUZLWKRXW0RWLRQWR6WULNH
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW

 5HTXHVWIRU-XGLFLDO1RWLFH
 )LOHGE\%HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW

 'HPXUUHUZLWKRXW0RWLRQWR6WULNH
 )LOHGE\%HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW

 2SSRVLWLRQ &5266'()(1'$176 23326,7,2172&5266&203/$,1$176 027,21)253/$,17,))
 .+$/('-$/6$%$+ 6'(326,7,21:,7+$17,6/$33027,213(1',1*

KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                          


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                                                             /$6&&DVH$FFHVV

 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 2SSRVLWLRQ 3OWI V2SSWR'HIW V0RWLRQIRU$O6DEDK V'HSRZLWK$QWL6ODSS0RWLRQSHQGLQJ
 )LOHGE\-DUUDKNKDOHG$O6DEDK 3ODLQWLII

 1RWLFHRI5XOLQJ
 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 1RWLFH $0(1'('127,&(2)'()(1'$176&5266&203/$,1$176"027,21)253/$,17,))
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 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 0LQXWH2UGHU  &DVH0DQDJHPHQW&RQIHUHQFH+HDULQJRQ([3DUWH$SSOLFDWLRQ7
 )LOHGE\&OHUN

 &OLFNRQDQ\RIWKHEHORZOLQN V WRVHH5HJLVWHURI$FWLRQ,WHPVRQRUEHIRUHWKHGDWHLQGLFDWHG
 723

 1RWLFHRI-RLQGHU 1DPH([WHQVLRQ  &5266'()(1'$176 127,&(2)-2,1'(5,13/$,17,))6
 23326,7,2172'()(1'$176 (;3$57($33/,&$7,2172$'9$1&(+($5,1*21027,21)253/$,17,))
 .+$/('-$/6$%$+ 6'(326,7,21:,7+$17,6/$33027,213(1',1*
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 'HFODUDWLRQ RI%REE\6DPLQLLQ6XSSRUWRI3ODLQWLII V2SSRVLWLRQWR'HIHQGDQWV ([3DUWH$SSOLFDWLRQWR$GYDQFH
 +HDULQJRQ0RWLRQIRU3ODLQWLII.KDOHG-$O6DEDK V'HSRVLWLRQZLWK$QWL6/$330RWLRQ3HQGLQJ
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 2SSRVLWLRQ WR'HIHQGDQWV ([3DUWH$SSOLFDWLRQWR$GYDQFH+HDULQJRQ0RWLRQIRU3ODLQWLII.KDOHG-$O6DEDK V
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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 &DVH0DQDJHPHQW6WDWHPHQW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW

 1RWLFHRI3RVWLQJRI-XU\)HHV
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

 &DVH0DQDJHPHQW6WDWHPHQW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

 0RWLRQUH '(326,7,21:,7+$17,6/$33027,213(1',1*
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 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 &DVH0DQDJHPHQW6WDWHPHQW
 )LOHGE\9LFWRU)UDQFR1RYDLQGLYLGXDOO\DQGDV7UXVWHHRIWKH5H[)RUG7UXVW 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD
 &DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW

 6XEVWLWXWLRQRI$WWRUQH\
 )LOHGE\-DUUDKNKDOHG$O6DEDK 3ODLQWLII

 'HFODUDWLRQ 2)'$9,'5266,168332572)&5266'()(1'$176"63(&,$/027,2172675,.(
 &5266&203/$,1$176"),5676(&21'$1'7+,5'&$86(62)$&7,2181'(5&2'(&,9352&6(&7,21
 
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW



KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                          


                                                                                                           EXHIBIT "6", PAGE 77
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                                                            /$6&&DVH$FFHVV

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 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

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 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW

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 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 3URRIRI6HUYLFHE\6XEVWLWXWHG6HUYLFH
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 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW

 1RWLFH RI8QDYDLODELOLW\RI&RXQVHO
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 )LOHGE\:LOVKLUH%OYGD&DOLIRUQLD//& 'HIHQGDQW

 6XPPRQV RQ&RPSODLQW
 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
 +ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW

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 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
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 )LOHGE\&OHUN

 1RWLFHRI&DVH0DQDJHPHQW&RQIHUHQFH
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KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                          


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 $O6DEDK 3ODLQWLII

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 $O6DEDK 3ODLQWLII

 &OLFNRQDQ\RIWKHEHORZOLQN V WRVHH5HJLVWHURI$FWLRQ,WHPVRQRUEHIRUHWKHGDWHLQGLFDWHG
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KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                          


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 $33/,&$%/(3$*(/,0,7,168332572)7+(,5027,21672(;381*(/,63(1'(165(48(676)25)((6
 $1'&2676$1'5(48(676)2581'(57$.,1*6'(&/$5$7,21 +HOG0RWLRQ*UDQWHG

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 +HDULQJRQ0RWLRQIRU/HDYHWR$PHQG &RPSODLQW%\ 3ODLQWLII 1RW+HOG5HVFKHGXOHGE\3DUW\

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 +HDULQJRQ0RWLRQWR&RPSHO VODSSGLVFRYHU\DQGDSSHDUDQFHRI3ODLQWLII%\6HFXUHG&DSLWDO3DUWQHUV 1RW+HOG
 5HVFKHGXOHGE\&RXUW

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 +HDULQJRQ0RWLRQWR&RPSHO'LVFRYHU\ QRW)XUWKHU'LVFRYHU\  %\'HIHQGDQW6HFXUHG&DSLWDO3DUWQHUV

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 +HDULQJRQ0RWLRQWR&RPSHO VODSSGLVFRYHU\DQGDSSHDUDQFHRI3ODLQWLII%\'HIHQGDQW6HFXUHG&DSLWDO3DUWQHUV +HOG

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 &DVH0DQDJHPHQW&RQIHUHQFH1RW+HOG&RQWLQXHG&RXUW V0RWLRQ

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 :,7+$17,6/$33027,213(1',1*'(&/$5$7,212)*(2))5(</21* +HOG


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                                                                                                        EXHIBIT "6", PAGE 80
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 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 &RXUW2UGHU




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 +HOG

 5HJLVWHURI$FWLRQV /LVWHGLQGHVFHQGLQJRUGHU
 &OLFNRQDQ\RIWKHEHORZOLQN V WRVHH5HJLVWHURI$FWLRQ,WHPVRQRUEHIRUHWKHGDWHLQGLFDWHG
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 +HDULQJRQ0RWLRQIRU/HDYHWR$PHQG 0RWLRQIRU/HDYHWR$PHQG&RPSODLQW 1RW+HOG&RQWLQXHG&RXUW V0RWLRQ

 DW30LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 &RXUW2UGHU

 0LQXWH2UGHU  &RXUW2UGHU
 )LOHGE\&OHUN

 0RWLRQWR([SXQJH/LV3HQGHQV
 )LOHGE\9LFWRU)UDQFR1RYDLQGLYLGXDOO\DQGDV7UXVWHHRIWKH5H[)RUG7UXVW 'HIHQGDQW

 'HFODUDWLRQ RI(GZDUG6XVROLNLQVXSSRUW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 0HPRUDQGXPRI3RLQWV $XWKRULWLHV
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
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 0RWLRQIRU6DQFWLRQV
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 &HUWLILFDWHRI0DLOLQJIRU &RXUW2UGHU RI
 )LOHGE\&OHUN

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 )LOHGE\&OHUN

 1RWLFHRI5XOLQJ
 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
 +ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW HWDO

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 )LOHGE\&OHUN




KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                      


                                                                                                          EXHIBIT "6", PAGE 81
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                                                            /$6&&DVH$FFHVV

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  'HIHQGDQW :LOVKLUH%OYGD&DOLIRUQLD//& 'HIHQGDQW

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 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW

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 5(3/<72'()(1'$176"23326,7,2172027,21)25/($9(72),/(),567$0(1'('&203/$,17
 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
 +ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW HWDO

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 )LOHGE\:LOVKLUH%OYGD&DOLIRUQLD//& 'HIHQGDQW

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 723/$,17,))6"027,21)25/($9(72),/(),567$0(1'('&203/$,17
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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
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 +HDULQJRQ([3DUWH$SSOLFDWLRQ 72),/(0(025$1'$2)32,176$1'$87+25,7,(6,1(;&(662)7+(
 $33/,&$%/(3$*(/,0,7,168332572)7+(,5027,21672(;381*(/,63(1'(165(48(676)25)((6
 $1'&2676$1'5(48(676)2581'(57$.,1*6'(&/$5$7,21 +HOG0RWLRQ*UDQWHG

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KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                          


                                                                                                           EXHIBIT "6", PAGE 82
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 2)32,176$1'$87+25,7,(6,1(;&(662)7+($33/,&$%/(3$*(/,0,7,168332572)7+(,5027,21672
 (;381*(/,63(1'(165(48(676)25)((6$1'&2676$1'5(48(676)2581'(57$.,1*6
 '(&/$5$7,21
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//&
  'HIHQGDQW :LOVKLUH%OYGD&DOLIRUQLD//& 'HIHQGDQW HWDO

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 )LOHGE\9LFWRULQR1RYDO 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH
 +ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW HWDO

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
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 0RWLRQIRU/HDYH WR)LOH)LUVW$PHQGHG&RPSODLQW
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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 1RWLFH RI(UUDWDUH9HULILFDWLRQVQRW$WWDFKHGWR(QGRI([KLELW$RI'HFODUDWLRQRI0LFKDHO/7XVNHQLQ6XSSRUW
 RI0RWLRQIRU/HDYHWR)LOH)LUVW$PHQGHG&RPSODLQW
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
 $O6DEDK 3ODLQWLII

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 +HDULQJRQ0RWLRQWR&RPSHO VODSSGLVFRYHU\DQGDSSHDUDQFHRI3ODLQWLII%\6HFXUHG&DSLWDO3DUWQHUV 1RW+HOG
 5HVFKHGXOHGE\&RXUW

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 +HDULQJRQ0RWLRQWR&RPSHO'LVFRYHU\ QRW)XUWKHU'LVFRYHU\  %\'HIHQGDQW6HFXUHG&DSLWDO3DUWQHUV

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 +HDULQJRQ0RWLRQWR&RPSHO'LVFRYHU\ QRW)XUWKHU'LVFRYHU\  %\'HIHQGDQW6HFXUHG&DSLWDO//&

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
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 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
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 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
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 5HTXHVWIRU'LVPLVVDO
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 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
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KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                             


                                                                                                           EXHIBIT "6", PAGE 83
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                                                             /$6&&DVH$FFHVV

 $QVZHU
 )LOHGE\6XPPLW'ULYHD&DOLIRUQLD//& 'HIHQGDQW

 $QVZHU
 )LOHGE\+XQWHU1RYDO 'HIHQGDQW

 $QVZHU
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 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 &DVH0DQDJHPHQW&RQIHUHQFH+HOG

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 +HDULQJRQ0RWLRQWREH5HOLHYHGDV&RXQVHO %\6HFXUHG&DSLWDO3DUWQHUV 1RW+HOG9DFDWHGE\&RXUW

 'HFODUDWLRQ RI0LFKDHO/7XVNHQ(VTLQ6XSSRUWRI3ODLQWLII V5HTXHVWIRU$GPRQLWLRQRI'HIHQVH&RXQVHO
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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 2UGHU$SSRLQWLQJ&RXUW$SSURYHG5HSRUWHUDV2IILFLDO5HSRUWHU3UR7HPSRUH
 )LOHGE\&OHUN

 0LQXWH2UGHU  +HDULQJRQ0RWLRQWR&RPSHOVODSSGLVFRYHU\DQGDSSHDUDQFHRI
 )LOHGE\&OHUN

 1RWLFHRI5XOLQJ *5$17,1*'()(1'$176&5266&203/$,1$176"027,21)253/$,17,)).+$/('
 -$/6$%$+"6'(326,7,21:,7+$17,6/$33027,213(1',1*
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 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 5HTXHVW 3ODLQWLII V5HTXHVWIRU$GPRQLWLRQRI'HIHQVH&RXQVHO5RQDOG5LFKDUGVDQG*HRIIUH\/RQJ
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

 &OLFNRQDQ\RIWKHEHORZOLQN V WRVHH5HJLVWHURI$FWLRQ,WHPVRQRUEHIRUHWKHGDWHLQGLFDWHG
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 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
 +HDULQJRQ0RWLRQIRU6WD\RI3URFHHGLQJV %\'HIHQGDQW9LFWRULQR1RYDO 1RW+HOG9DFDWHGE\&RXUW

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 '()(1'$176"6855(3/<,168332572)23326,7,2172&5266&203/$,1$176 027,21)253/$,17,))"6
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 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 5HSO\ 6XU5HSO\LQ6XSSRUWRI2SSRVLWLRQWR&URVV&RPSODLQDQWV0RWLRQ
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

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 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

 'HPXUUHUZLWKRXW0RWLRQWR6WULNH
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW



KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                       


                                                                                                           EXHIBIT "6", PAGE 84
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                                                            /$6&&DVH$FFHVV

 5HTXHVWIRU-XGLFLDO1RWLFH
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 'HPXUUHUZLWKRXW0RWLRQWR6WULNH
 )LOHGE\%HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW

 5HTXHVWIRU-XGLFLDO1RWLFH
 )LOHGE\6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& 'HIHQGDQW

 2SSRVLWLRQ 3OWI V2SSWR'HIW V0RWLRQIRU$O6DEDK V'HSRZLWK$QWL6ODSS0RWLRQSHQGLQJ
 )LOHGE\-DUUDKNKDOHG$O6DEDK 3ODLQWLII

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 .+$/('-$/6$%$+ 6'(326,7,21:,7+$17,6/$33027,213(1',1*
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 &DVH0DQDJHPHQW&RQIHUHQFH1RW+HOG&RQWLQXHG&RXUW V0RWLRQ

 DW$0LQ'HSDUWPHQW0DXUHHQ'XII\/HZLV3UHVLGLQJ
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 :,7+$17,6/$33027,213(1',1*'(&/$5$7,212)*(2))5(</21* +HOG

 1RWLFHRI5XOLQJ
 )LOHGE\9LFWRULQR1RYDO &URVV&RPSODLQDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& &URVV&RPSODLQDQW 
 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

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 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

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 )LOHGE\&OHUN

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 +HDULQJRQ0RWLRQIRU3ODLQWLII.KDOHG-$O6DEDK V'HSRVLWLRQZLWK$QWL6/$330RWLRQ3HQGLQJ
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII -DUUDKNKDOHG
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 6HFXUHG&DSLWDO3DUWQHUVD&DOLIRUQLD//& &URVV&RPSODLQDQW

KWWSVZZZODFRXUWRUJ&DVH6XPPDU\8,SRSXS&DVH6XPPDU\DVS[                                                                          


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                                                            /$6&&DVH$FFHVV

 &DVH0DQDJHPHQW6WDWHPHQW
 )LOHGE\9LFWRU)UDQFR1RYDLQGLYLGXDOO\DQGDV7UXVWHHRIWKH5H[)RUG7UXVW 'HIHQGDQW 6HFXUHG&DSLWDO3DUWQHUVD
 &DOLIRUQLD//& 'HIHQGDQW %HYHUO\+LOOV5HDO(VWDWH+ROGLQJVD&DOLIRUQLD//& 'HIHQGDQW

 6XEVWLWXWLRQRI$WWRUQH\
 )LOHGE\-DUUDKNKDOHG$O6DEDK 3ODLQWLII

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 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ &URVV'HIHQGDQW 
 0LFKDHO7XVNHQ &URVV'HIHQGDQW 'DYLG5RVV &URVV'HIHQGDQW

 6XEVWLWXWLRQRI$WWRUQH\
 )LOHGE\.KDOHG-$O6DEDKLQGLYLGXDOO\DVD7UXVWHHRI7KH$ZDO7UXVW'DWHG)HEUXDU\ 3ODLQWLII

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               QDPHGHQWLWLHV-DGHOOH,QFDQG-DGHOOH-HZHOU\DQG'LDPRQGV//&KHUHLQ
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               DQG5DFKHO5HFKQLW]DGYHUWLVHSROLWLFDODQGSRZHUIXOFHOHEULW\FRQQHFWLRQVWR
               FUHDWHDIDOVHVHQVHRIFUHGLELOLW\DERXWWKHPVHOYHVDQGWKHLUEXVLQHVVSRVWLQJ
               SKRWRVRQWKHLUVRFLDOPHGLDRI.\OLH-HQQHUDQG.LP.DUGDVKLDQ
             7KHDOOHJHGIUDXGVFRPPLWWHGE\-RQDZHUHFRPPLWWHGZLWK5DFKHO¶V
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                &RQVLJQHG-HZHOU\QRQHRIWKHEHORZUHIHUHQFHGRIIHQVHVFRXOGKDYH
                RFFXUUHG
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                SURFHHGLQJZDVILOHGDJDLQVW-DGHOOH-HZHOU\DQG'LDPRQGV//&D'HODZDUH
                OLPLWHGOLDELOLW\FRPSDQ\-DGHOOH-HZHOU\//&DQG-DGHOOH,QFD&DOLIRUQLD
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               him into bankruptcy´
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               PVWU\LQJWREDQNUXSWKLP DQG³Creditors File Petition to Put Jadelle
               Jewelry in Bankruptcy´
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               86&RGH 0DUFRZLOOEHILOLQJFODLPVDJDLQVWWKH-DGHOOHHQWLWLHV
               GHEWRUVLQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUW
            1RQSDUW\-$'(//(-(:(/5<$1'',$021'6//& ³-DGHOOH//&´
               FROOHFWLYHO\ZLWK-DGHOOH,QFWKH³-DGHOOH(QWLWLHV´  QRZLQDQLQYROXQWDU\
               EDQNUXSWF\ LVD'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\TXDOLILHGWRGREXVLQHVV
               LQ&DOLIRUQLD5DFKHOLVWKHPDQDJLQJPHPEHURI-DGHOOH//&
  
           $WUXHDQGFRUUHFWFRS\RIWKHLQYROXQWDU\FKDSWHUEDQNUXSWF\SURFHHGLQJIn
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     re Jadelle Jewelry and Diamonds, LLC, a Delaware limited liability company, Jadelle
   Jewelry, LLC, and Jadelle Inc., a California corporation86%&EN%5
   LVDWWDFKHGDV([KLELW³´DQGLVLQFRUSRUDWHGKHUHLQE\WKLVUHIHUHQFH

       SP
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             1RQSDUW\-$'(//(-(:(/5<//& ³-DGHOOH//&´FROOHFWLYHO\ZLWK
                -DGHOOH,QFWKH³-DGHOOH(QWLWLHV´  QRZLQDQLQYROXQWDU\EDQNUXSWF\ LVD
                &DOLIRUQLDOLPLWHGOLDELOLW\FRPSDQ\TXDOLILHGWRGREXVLQHVVLQ&DOLIRUQLD
                5DFKHOLVWKHPDQDJLQJPHPEHURI-DGHOOH//&
             1RQSDUW\-$'(//(,1& ³-DGHOOH,QF´  QRZLQDQLQYROXQWDU\
                EDQNUXSWF\ LVD&DOLIRUQLDFRUSRUDWLRQZKRVHSULQFLSOHRIILFHLVLQ%HYHUO\
                +LOOVDQGZKRVH&(2&)2DQG6HFUHWDU\LV5DFKHO
             7KLUG3DUW\'HIHQGDQW/(9,135$'2$.$/(92135$'2 ³3UDGR´ LV
                WKHDJHQWIRUVHUYLFHRISURFHVVFRQWUROOHUDQGFKHFNVLJQHUIRUWKH-DGHOOH
               (QWLWLHV
            7KHDOOHJHGIUDXGVFRPPLWWHGE\-RQDZHUHFRPPLWWHGZLWK5DFKHO¶V
               NQRZOHGJHDQGGLUHFWLRQDORQJZLWKWKHDVVLVWDQFHRI3UDGRPDNLQJWKHP
               SHUVRQDOO\OLDEOH:LWKRXW5DFKHOVHWWLQJXSRQWKHHQWLWLHVWRFRPPLWWKH
               IUDXGV-RQD¶VO\LQJWRVWHDO0DUFR¶V&RQVLJQHG-HZHOU\DQG3UDGRVLJQLQJ
               WKHFKHFNQRQHRIWKHEHORZUHIHUHQFHGRIIHQVHVFRXOGKDYHRFFXUUHG
            8SRQLQIRUPDWLRQDQGEHOLHI7KLUG3DUW\3ODLQWLIIVEHOLHYHWKDWDWDOOWLPHV
               UHOHYDQWKHUHWR7KLUG3DUW\'HIHQGDQWVLQFOXGLQJEXWQRWOLPLWHGWR WKH
               -DGHOOHHQWLWLHV -RQD5DFKHODQG3UDGRIRUPHGDFLYLOFRQVSLUDF\DQG
               HQJDJHGLQDFWVLQRSHUDWLRQDQGIXUWKHUDQFHRIWKDWFRQVSLUDF\
            7KLUG3DUW\3ODLQWLIIVDUHLQIRUPHGDQGEHOLHYHDQGVRDOOHJHWKDWDWDOO
               WLPHVPHQWLRQHGHDFKRIWKH7KLUG3DUW\'HIHQGDQWVZDVWKHDJHQWVHUYDQW
               MRLQWYHQWXUHUFRFRQVSLUDWRUDQGRUHPSOR\HHRIVRPHRUDOORIWKH
               UHPDLQLQJ7KLUG3DUW\'HIHQGDQWVDQGLQGRLQJWKHWKLQJVKHUHLQDIWHU
               DOOHJHGZDVDFWLQJZLWKLQWKHFRXUVHDQGVFRSHRIWKDWUHODWLRQVKLSDQGZLWK
               WKHIXOOSHUPLVVLRQDQGFRQVHQWRIVXFK7KLUG3DUW\'HIHQGDQWV7KLUG3DUW\
               3ODLQWLIIVDUHLQIRUPHGDQGEHOLHYHDQGVRDOOHJHWKDWHDFK7KLUG3DUW\
               'HIHQGDQWUDWLILHGDSSURYHGDQGDGRSWHGDVLWVRZQVRPHRUDOORIWKHDFWVRI
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                HDFKRIWKHRWKHU7KLUG3DUW\'HIHQGDQWV7KLUG3DUW\3ODLQWLIIVDUHLQIRUPHG
                DQGEHOLHYHDQGWKHUHRQDOOHJHWKDWHDFKRIWKH7KLUG3DUW\'HIHQGDQWV
                PDWHULDOO\DLGHGLQVRPHRUDOORIWKHYLRODWLRQVRIWKHRWKHU7KLUG3DUW\
                'HIHQGDQWV
             7KLUG3DUW\3ODLQWLIIVDUHLQIRUPHGDQGEHOLHYHDQGVRDOOHJHWKDWWKH
                7KLUG3DUW\'HIHQGDQWVDUHWKHDOWHUHJRVRIHDFKRWKHUDQGWKHUHH[LVWVDQG
                DWDOOUHOHYDQWWLPHVKHUHLQWKHUHH[LVWHGDXQLW\RILQWHUHVWDQGRZQHUVKLSDQG
                FRQWURODPRQJWKH7KLUG3DUW\'HIHQGDQWVVXFKWKDWDQ\LQGLYLGXDOLW\DQG
                VHSDUDWHQHVVDPRQJWKHPKDVFHDVHGWRH[LVWDQGWKH\DUHDOWHUHJRVRIHDFK
               RWKHUDQGWKXVRQHRUPRUH7KLUG3DUW\'HIHQGDQWV¶EXVLQHVVLVQRWKLQJPRUH
               WKDQDVKHOOLQVWUXPHQWDOLW\RUFRQGXLWWKURXJKZKLFKWKHUHPDLQLQJ
               7KLUG3DUW\'HIHQGDQWVFDUU\RQFHUWDLQRIWKHLUEXVLQHVV
            7KLV&RXUWKDVVXEMHFWPDWWHUMXULVGLFWLRQSXUVXDQWWR86& D
               EHFDXVHWKHDPRXQWLQFRQWURYHUV\H[FHHGVH[FOXVLYHRILQWHUHVWDQG
               FRVWV
            9HQXHLQWKLVGLVWULFWLVDSSURSULDWHSXUVXDQWWR86& E EHFDXVH
               7KLUG3DUW\'HIHQGDQWVUHVLGHLQWKLVGLVWULFWDQGDVXEVWDQWLDOSDUWRIWKH
               HYHQWVJLYLQJULVHWRWKLVDFWLRQRFFXUUHGKHUH
            2Q'DYLG5RYLQVN\,QFILOHGDFRPSODLQWDJDLQVW0DUFR
               &DVHFYIRUQHJOLJHQFHFRQYHUVLRQIUDXGQHJOLJHQW
               PLVUHSUHVHQWDWLRQFLYLOWKHIW &DO3HQDO&RGH DQGDLGLQJDQGDEHWWLQJ
               FRQYHUVLRQDQGFLYLOWKHIWVHHNLQJGDPDJHVRI
            3XUVXDQWWR)5&3 J 7KLUG3DUW\3ODLQWLIIVFURVVFODLPVDJDLQVW
               7KLUG3DUW\'HIHQGDQWVDVWKH\DUHUHVSRQVLEOHIRUWKH5RYLQVN\FODLP
            3XUVXDQWWR)5&37KLUG3DUW\'HIHQGDQWVFRQVWLWXWH³5HTXLUHG3DUW\¶DV
               WKH\DUHVXEMHFWWRVHUYLFHRISURFHVVDQGZKRVHMRLQGHUZLOOQRWGHSULYHWKH
               FRXUWRIVXEMHFWPDWWHUMXULVGLFWLRQPXVWEHMRLQHGDVDSDUW\LI
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                D     $ LQWKDWSHUVRQ VDEVHQFHWKHFRXUWFDQQRWDFFRUGFRPSOHWHUHOLHI
                      DPRQJH[LVWLQJSDUWLHVRU
                E     % WKDWSHUVRQFODLPVDQLQWHUHVWUHODWLQJWRWKHVXEMHFWRIWKHDFWLRQ
                      DQGLVVRVLWXDWHGWKDWGLVSRVLQJRIWKHDFWLRQLQWKHSHUVRQ VDEVHQFH
                      PD\
                      L      L DVDSUDFWLFDOPDWWHULPSDLURULPSHGHWKHSHUVRQ VDELOLW\WR
                             SURWHFWWKHLQWHUHVWRU
                      LL     LL OHDYHDQH[LVWLQJSDUW\VXEMHFWWRDVXEVWDQWLDOULVNRI
                             LQFXUULQJGRXEOHPXOWLSOHRURWKHUZLVHLQFRQVLVWHQWREOLJDWLRQV
                            EHFDXVHRIWKHLQWHUHVW
            3XUVXDQWWR)5&37KLUG3DUW\'HIHQGDQWVPD\EHMRLQHGLQWKLVDFWLRQLQ
               RQHDFWLRQDVGHIHQGDQWVLI
               D     $ DQ\ULJKWWRUHOLHILVDVVHUWHGDJDLQVWWKHPMRLQWO\VHYHUDOO\RULQ
                     WKHDOWHUQDWLYHZLWKUHVSHFWWRRUDULVLQJRXWRIWKHVDPHWUDQVDFWLRQ
                     RFFXUUHQFHRUVHULHVRIWUDQVDFWLRQVRURFFXUUHQFHVDQG
               E     % DQ\TXHVWLRQRIODZRUIDFWFRPPRQWRDOOGHIHQGDQWVZLOODULVHLQ
                     WKHDFWLRQ
                                    *(1(5$/$//(*$7,216
                                         -21$5(&+1,7=
            2QLQIRUPDWLRQDQGEHOLHI-RQDLVLQIDPRXVO\NQRZQIRUKLVLQYROYHPHQW
               ZLWKDIHGHUDOSUREHLQWRFRUUXSWLRQLQWKH1<3'DQGWKHGH%ODVLRPD\RUDO
               FDPSDLJQ+HUHSRUWHGO\IXQQHOHGPRQH\LQWRWKHGH%ODVLRFDPSDLJQ
               DQGEULEHGSROLFHFRPPDQGHUV+HDGPLWWHGWRGLUHFWLQJFDPSDLJQGRQDWLRQV
               WR0D\RUGH%ODVLRLQH[FKDQJHIRUDFFHVVWR&LW\+DOODQGVKRZHULQJ1<3'
               OHDGHUVZLWKSURVWLWXWHVDQGRWKHUEULEHVWRFXOWLYDWHWKHPDVDOOLHV+H
               SOHDGHGJXLOW\WRFKDUJHVRIWRSURYLGLQJILQDQFLDODQGSHUVRQDOEHQHILWVDQG
               SROLWLFDOFRQWULEXWLRQVWRSXEOLFRIILFLDOVLQFOXGLQJODZHQIRUFHPHQWRIILFLDOV
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                LQH[FKDQJHIRURIILFLDODFWLRQLQ0DUFKRI$VNHGDERXW-RQD¶V
                WHVWLPRQ\WKHPD\RUFDOOHG-RQD"a liar and a felon
             2QLQWKHFULPLQDOPDWWHUHQWLWOHGUnited States of America vs.
                Jona RechnitzFU$.+EHIRUHWKH8QLWHG6WDWHV'LVWULFW&RXUW
                6RXWKHUQ'LVWULFWRI1HZ<RUNDVHDOHGLQIRUPDWLRQZDVILOHGDJDLQVW-RQD
                IRUZLUHIUDXGZKRWKHQHQWHUHGDJXLOW\SOHD2QWKHLQIRUPDWLRQ
                DJDLQVW-RQDZDVXQVHDOHGDQG-RQDZDVUHOHDVHGRQERQGSXUVXDQWWRUHOHDVH
                FRQGLWLRQVLPSRVHGE\-XGJH$OYLQ.+HOOHUVWHLQ2Q-RQDZDV
                VHQWHQFHGWRPRQWKVRIFXVWRG\DQGZDVJUDQWHGUHOHDVHSHQGLQJDSSHDO
            ,QWHUHVWLQJO\DPRQJWKH0DQGDWRU\&RQGLWLRQVRI-RQD¶VUHOHDVHZDVWKDWKH
               QRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
            ,QGHHGLQ-RQD¶VOHWWHUWR-XGJH+HOOHUVWHLQVHHNLQJDUHGXFHG
               VHQWHQFH-RQDZURWHWKH&RXUW KHVKDUHGWKLVOHWWHUZLWK0DUFR 
               Dear Judge Hellerstein: I am a felon. I am a criminal. I am the ONLY
                 person to blame for that. I have caused tremendous pain and
               embarrassment to my family, my religion, and to myself. There is no
                 way to undo what's been done. It's permanent, and for that I am truly
               sorry to everyone hurt by my crimes and actions. It eats me alive each
                 and every day. When I wake up, when I go to sleep, it is always on my
               mind for the past 4 years. My actions harmed the people of New York,
                 The people of Correction Officers Benevolent Association, my
               friends, my family and my community. I will forever carry this
                 burden, as I deserve to. I have read of your Honor asking at various
               sentencings, why do good people do bad things? In my case, not
                 assuming I'm a good person, I can answer this question. Arrogance,
               greed, and insecurity. Arrogance. I felt I was above the law. At this
                 young age in my late 20's I was busy accepting honors at dinners and
               board positions at prestigious institutions. It got to my head. Greed. I
                 wanted to gain contacts to grow my business, to make money and
               gain stature in the long run. Insecurity. I wanted to gain popularity
                 by my peers and become a big shot in my community and business
               circles>(PSKDVLVDGGHG@
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  
            $WUXHDQGFRUUHFWFRS\RI-RQD¶VJudgement In a Criminal Case LQ
                 
   United States of America vs. Jona RechnitzFU$.+LVDWWDFKHGKHUHWRDV
   ([KLELW³DQGLVLQFRUSRUDWHGKHUHLQE\WKLVUHIHUHQFH

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                Shame on me. Finally, I couldn't wiggle my way out of this one. It
                 changed my life as I knew it forever. As a supposed religious man, I
                have been a disgrace to my religion. The only way to fix this is to
                 make serving G-d my main focus for the rest of my life. I try to every
                day. I have changed as a person religiously, through prayer, my
                 public and private behavior, and I always stop and think before I'm
                about to do something to see if it is something my parents, my family,
                 and G-d would approve of. >(PSKDVLVDGGHG@
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   
                 Your Honor, there are so many examples that I am omitting as I don't
                want to portray myself as the victim here. I caused a lot of pain and
                 harm to others through my criminal activity and don't want to detract
                from that. JONA RECHNITZ>(PSKDVLVDGGHG@ 
             2QDVUHSRUWHGLQWKH1HZ<RUN7LPHV‘Liar,’ and Star Witness in
               City Graft Cases, Gets 10-Month Sentence´
                   KWWSVZZZQ\WLPHVFRPQ\UHJLRQMRQDUHFKQLW]FRUUXSWLRQVHQ
               WHQFLQJKWPO -RQDZDVVHQWHQFHGWRILYHPRQWKVLQSULVRQDQGILYHPRQWKVRI
               KRXVHDUUHVWIROORZHGE\WKUHH\HDUVRQSDUROHDSRORJL]HGWR-XGJH$OYLQ.
               +HOOHUVWHLQIRUKLVFULPLQDODQGLPPRUDOEHKDYLRUDQGDVNHGWKHMXGJHIRU
               OHQLHQF\
               ³I've been a real fraud to God, a fraud to my wife and family, a fraud
                 as an American, a fraud as a businessman, and a fraud to the people
               of New York, namely, the hard-working COBA members, and I'm truly
                 sorry for that. My actions have hurt many people, and I'm very sorry
               for that. I continue to pay for my mistakes on a daily basis. >(PSKDVLV
                 DGGHG@
  
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  
                 “While living in New York City, I wrongly felt pressure to become a
               bigshot. I was working for one of the largest real restate companies in
                 2007, and it got to my head. I was in my late 20's, and big people in the
               real estate industry were dealing with me. My ego was big, and I so
                 badly wanted to impress these people in order to advance my career
               and profile. This is where things started to spiral out of control. This is
                 where I went so off the rails for a number of years. I assure your
               Honor that these past years and the experience I've gone through has
                 changed me. I will never act that way again.” >(PSKDVLVDGGHG@
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  
            $WUXHDQGFRUUHFWFRS\RI-RQD¶VOHWWHUWR-XGJH+HOOHUVWHLQVHHNLQJ
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   DUHGXFHGVHQWHQFHLVDWWDFKHGKHUHWRDV([KLELW³´DQGLVLQFRUSRUDWHGKHUHLQE\WKLV
   UHIHUHQFH

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      ---
                “I've been a big hypocrite to my religion. I failed to conduct myself
                 properly between myself and my fellow man and between myself and
                my relationship with God. I have strayed. I did all of these horrible
                 things without worrying about God or the consequences that come
                with this sort of behavior. I cannot express to your Honor how
                 ashamed I am for desecrating my religion. I have and will continue to
                repent to God every single day. I have and continued to make
                 amends. Part of my efforts to make right included cooperating as a
                first step. I have a lot more work to do.” >(PSKDVLVDGGHG@
      ---
                “This is one of several jobs that I have in the coming months as I
                 continue to sort out my life in a lawful path. In fact, I will spend the
                rest of my life trying to make amends for my criminal behavior. I will
                 try to make a better name for my family, for my religion, and for
               myself. I am on the path to recovery, your Honor. I am a better family
                 man; I am a better friend; I am a more religious person. I am
               working again to make an honest living.” >(PSKDVLVDGGHG@
               “THE COURT: What is the new business? Jadelle?
               “Jadelle, yes. I really paid a hefty price for cooperating with the
                 government for my crimes. Most recently, the New York Post put up an
               article that was mentioned this morning -- your Honor may not be
                 aware – accusing me of hobnobbing and flirting with the rich and
               famous at a time when I claim I am a pariah to society. In fact, Jadelle
                 Jewelery hosted a jewelery show to promote the brand and new jewelry
               collection. The event was to make sales and increase business. One
                 attendee was a Kim Kardashian, a client of Jadelle.”
  
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  
                 “Within my community, within the media, and through
               self-introspection. In New York City, I am persona non grata. I am to
                 blame. I burnt a lot of bridges and relationships and had to relocate
               to California. I am so truly sorry for my behavior. I am a changed
                 man...”
  
                 “I don't see any way to start over a third time. I'm on my second
               chance...”
     ---
               “THE COURT: ... And yet in the life that's been depicted in this court,
                 he cheapens people. He works on their insecurities and their quest
               for material possessions and just does the opposite. He diminishes
                 people´
  
         $WUXHDQGFRUUHFWFRS\RIWKHUHOHYDQWSRUWLRQVRIWKHWUDQVFULSWRI-RQD¶V
                 


    6HQWHQFLQJ +HDULQJ LV DWWDFKHG KHUHWR DV ([KLELW ³´ DQG LV LQFRUSRUDWHG

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              2QLQIRUPDWLRQDQGEHOLHI-RQDPDGHQXPHURXVIDOVHVWDWHPHQWVWRWKH
                 IHGHUDOVHQWHQFLQJMXGJHEHFDXVHE\-RQD¶VIUDXGV EHORZ ZHUH
                 ZHOOXQGHUZD\2QHRIWKHSULPDU\UHDVRQVIRUGRFXPHQWLQJ-RQD¶VFULPLQDO
                 DFWLYLWLHVZLWKVSHFLILFLW\DQGE\WKHDWWDFKPHQWVWRWKLV&RPSODLQWLVWR
                 SURSHUO\H[SRVHKLVIUDXGDQGWRSUHHPSWWKH³VSLQ´WKDWKHDQGKLVIDPLO\
                 ZLOOLQHYLWDEO\VSLQWRWKHFRPPXQLW\RIKLVLQQRFHQFHDQGWKDWKHLVXQIDLUO\
                 EHLQJSXUVXHG-RQD¶VKRXVHRIIUDXGXOHQWFDUGVQHHGVWREHH[SRVHG³The
                 only thing necessary for the triumph of evil is for good men to do nothing´
                     (GPXQG%XUNHLQDOHWWHUDGGUHVVHGWR7KRPDV0HUFHU $EXVHWKULYHVLQD
                FXOWXUHRIVLOHQFH
                                  0$5&2 5(&+1,7= -$'(//(
             )URPWKHSHULRG0DUFR -RQDHQMR\HGDVXFFHVVIXO
                DQGWUXVWLQJUHODWLRQVKLSZLWKHDFKRWKHUZKHUHE\WKH\HQJDJHGLQ
                DSSUR[LPDWHO\WUDQVDFWLRQVWRWDOLQJDSSUR[LPDWHO\LQYDOXH
                ZKHUHE\WKH\ERXJKWPHUFKDQGLVHIURPHDFKRWKHUDQGRUUHWXUQHG
                PHUFKDQGLVHWRHDFKRWKHU-RQDLQWURGXFHG0DUFRWRIDPRXVFHOHEULWLHV
                LQFOXGLQJ1%$VWDUV6KDTXLOOH6KDT2 1HDO6FRWWLH3LSSHQ6DP&DVVHOO
                ER[LQJFKDPS)OR\G0D\ZHDWKHUSRSVWDUV.LP.DUGLVKLDQ .ULV-HQQHU
                DQGDUWLVW$OHF0RQRSRO\WRQDPHDIHZZKR0DUFRSDUOD\HG-RQD¶V
                LQWURGXFWLRQVLQWRFOLHQWVDQGRUWRDGYDQFHKLVVRFLDOPHGLDSUHVHQFHE\
                EHLQJFRQQHFWHGWRWKHP
             )URPWKHSHULRG QRWZLWKVWDQGLQJKLVWKHQOHJDO
                WURXEOHVLQ1< -RQDDVVXUHG0DUFRWKDWKHZDVEDFNIURP1<UHIRFXVHGRQ
                KLVEXVLQHVVDQGDFTXLUHGRIDGGLWLRQDOMHZHOU\IURP0DUFR
                RQFRQVLJQPHQWIRUWKHSXUSRVHRIUHVHOOLQJWKHPWRKLVFOLHQWV LQFOXGLQJ
                3ODLQWLII¶V5LQJDQG1HFNODFH 
   
      KHUHLQE\WKLVUHIHUHQFH

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              $WWKHWLPH0DUFRKDGQRUHDVRQWREHOLHYHWKDWWKH
                 FRQVLJQPHQWVZLWK5HFKQLW]ZRXOGEHLQMHRSDUG\SULPDULO\EHFDXVHRIKLV
                 VXFFHVVIXODQGWUXVWLQJUHODWLRQVKLSZLWK-RQDWKHSULRUWUDQVDFWLRQVZLWK
                 KLPWRWDOLQJDSSUR[LPDWHO\LQYDOXH$FFRUGLQJO\0DUFR//&
                 FRQVLJQHGWKHIROORZLQJSLHFHVRI&RQVLJQHG-HZHOU\WR5HFKQLW]
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          'DWH             9HQGRU          ,WHP                                &RVW
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                     /XQD            <HOORZ :KLWH&KRNHU                  
                                               1HFNODFH%UDFHOHWFW
                                                VWRQHFW
                                               \HOORZZWFKRNHUEUDFHOHW
                   0DUFR//&       7KUHH%XWWHUIO\5LQJVIRU               
                                                .ULV-HQQHU WKH
                                              .DUGDVKLDQV
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                                5RYLQVN\        'LDPRQGQHFNODFH
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                                                IODZOHVV96VWRQHV
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                                                FOLHQW-XVWLQ%LHEHU
                     'DYLG           5,1*&DUDW)DQF\             
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                               0DUFR//&       7ZR'LDPRQGIDVKLRQULQJV                  
                                              IRU-RQD¶VFOLHQW.LP
                                                .DUGDVKLDQ
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                              6LOYHUPDQ       VWRQHGLDPRQGEUDFHOHW
                                 /D]DU          FDUDWVZKLWHJROG
                    0DUFR//&       :DWFKIRU-RQD¶VIDWKHU                
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                                                                                     
                                                0L[HGJROG GLDPRQG
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                                6LOYHUPDQ     3ODWLQXPNZJFDUDWV
                                              VWRQHVUDGLDQW
    
                                              FWWZEDJXHWWHV
                                              FWWZ
                   1RUPDQ        16($55,1*6                  
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                                             %ULOOLDQW-6O*,$
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                                              -RQD¶VFOLHQW.LP.DUGDVKLDQ
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                                              LQWHUQDOO\IODZOHVVUDGLDQW
                                            GLDPRQGPRXQWHGRQD:*
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                  WKDWKHKDGLQWHUHVWHGEX\HUVIRUWKHSLHFHVRI&RQVLJQHG-HZHOU\DQGWKDW
   
                  FRQVXPPDWLRQRIKLVVDOHVZHUHLPPLQHQW
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                  5RYLQVN\¶V5LQJ 1HFNODFHWR5HFKQLW]EDVHGRQKLVUHSUHVHQWDWLRQVWKDWKH
   
                  KDGEX\HUVIRUWKHP
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         'DWH       9HQGRU                     ,WHP                          &RVW
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                  5HFKQLW]                   'LDPRQGQHFNODFH
                                               )DQF\<HOORZLQWHUQDOO\
                                             IODZOHVV96VWRQHV
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                    5HFKQLW]                    <HOORZGLDPRQG
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              7KHZD\FRQVLJQPHQWVZRUNLVWKDWLI5HFKQLW]¶VVDOHWRKLVFOLHQWVGLGQRWJR
                 WKRXJKWKHQ5HFKQLW]ZRXOGUHWXUQWKHSLHFHVRI&RQVLJQHG-HZHOU\EDFNWR
                 0DUFRZKRZRXOGLQWXUQUHWXUQWKH&RQVLJQHG-HZHOU\EDFNWR0DUFR¶V
                 YHQGRUV
              3ULRUWRDQGWKHUHDIWHU-RQDUHSHDWHGO\LQGLFDWHGWR0DUFRWKDW
                 KHKDGEX\HUVDQGVROGWKHSLHFHVRI&RQVLJQHG-HZHOU\ LQFOXGLQJ
                5RYLQVN\¶V5LQJ 1HFNODFH DQGZDVDZDLWLQJUHFHLSWRISD\PHQWIURPKLV
                FOLHQWV7KHVHUHSUHVHQWDWLRQVE\-RQDWR0DUFRZHUHIDOVHZKHQPDGHDQG
                -RQDNQHZWKHUHSUHVHQWDWLRQVZHUHIDOVHZKHQPDGH-RQDPDGHWKHVH
                UHSUHVHQWDWLRQZLWKWKHLQWHQWLRQRIFDXVLQJ0DUFRWRUHO\RQWKHP0DUFR
                LQGHHGUHOLHGRQ-RQD¶VUHSUHVHQWDWLRQVWR0DUFR¶VGHWULPHQW
             <HWQRVRRQHUWKDQZLWKLQZHHNVRIEHLQJVHQWHQFHGLQWKH6RXWKHUQ'LVWULFW
                RI1HZ<RUN-RQDDFRQYLFWHGIHORQZDVDSSDUHQWO\VR³GLVWUDXJKW´DQG
                UHSHQWDQWDERXWKLVFULPLQDOSDVWWKDWLQVWHDGRIUHVHOOLQJ0DUFR¶&RQVLJQHG
                -HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ 1HFNODFH DQGUHSD\LQJ0DUFR-RQD
                VZLQGOHG0DUFRLQDODUJHVFDOHIUDXGE\DEVFRQGLQJZLWKWKHSLHFHVRI
                &RQVLJQHG-HZHOU\DQGHLWKHUSDZQHGWKHPRIIRUXVHGWKHPDVFROODWHUDOIRU
                ORDQVWRYDULRXVTXHVWLRQDEOHVRXUFHVDQGKDVQRWUHSDLG0DUFRWKH
                ,QUHDOLW\-RQDOLTXLGDWHG0DUFR¶&RQVLJQHG-HZHOU\
                    LQFOXGLQJ5RYLQVN\¶V5LQJ 1HFNODFH 0DUFRVXEVHTXHQWO\GLVFRYHUHG
                IURPFROOHDJXHVWKDW-RQDOLTXLGDWHGDOOSLHFHVRI0DUFR//&¶V&RQVLJQHG
                -HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ 1HFNODFH 
             2QLQIRUPDWLRQDQGEHOLHIDWWKLVVDPHWLPH-RQDGHIUDXGHGRWKHUGLDPRQG
                GHDOHUVDQGLQVXUDQFHFRPSDQLHVLQ6RXWKHUQ&DOLIRUQLDLQFOXGLQJEXWQRW
   

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                 OLPLWHGWR6RWKHE\¶V/HRQ/DQGYHU%HQ$GKRRWDQG<HKXGD*DP]R2YHG
                 $QWHU0RWL.OHLQDQG-XOLXV.OHLQ7KHDPRXQWRIORVVHVWRWKHVHYDULRXV
                 SDUWLHVLVDOOHJHGWREHRYHU
              %XWHYHQDIWHU0DUFRGLVFRYHUHG5HFKQLW]¶VUHFHQWIUDXGVIURPFROOHDJXHVLQ
                 WKHMHZHOU\LQGXVWU\5HFKQLW]FRQWLQXHGWRµSOD\¶0DUFRDQGGHFHLYHKLP
                 ZLWKIXUWKHUIDOVHDQGPLVOHDGLQJVWRULHV
                 2QDW$05HFKQLW]WH[WHG0DUFRRIDµPDMRULVVXH¶D
       µOHJDOVLWXDWLRQ¶DµKXJHFULVLV¶DQGDµGLVDVWHU¶WKDWIRUFHGKLPWRQRWFRQVXPPDWH
       KLVGHDOVZLWK0DUFR
                The stone of Oved’s is coming back tomorrow with all of the other stones.
                  Client isn’t taking anythinf. I have a major issue now they didn’t know about
                my legal situation and freaked out they also want to reverse previous
                  transactions of mine. He can’t be associated with me. A man of his status. I’m
                dealing with a huge crisis now and my Dad is at bank trying to sort out
                  issue for me in regards to all this. I stopped the wire because they may be
                sending the necklace and ring back. I need a few hours to deal with them
                  with my lawyer. This is a disaster. I am trying to fix this but won’t know for
                a few hours. I also have Moty Klein in town at the same time while this is all
                  going on which is extra stress as he can’t hear any of this. Give me a few
                hours please and I hope to have better news>(PSKDVLV$GGHG@
             2QDW$05HFKQLW]WH[WHG0DUFRDYDJXHDGPLVVLRQRI
                JXLOWDQGOLDELOLW\
                I understand if you never want to deal with me again or see my fave ever
                  again I am so sorry>(PSKDVLV$GGHG@
   
               2Q$05HFKQLW]WH[WHG0DUFRWKDWKHLVWU\LQJWRIL[KLV
   
                  µPDMRULVVXH¶DµOHJDOVLWXDWLRQ¶DµKXJHFULVLV¶DQGµGLVDVWHU¶
   
                  You need to let me try and resolve this now>(PSKDVLV$GGHG@
   
               2QDW$05HFKQLW]WH[WHG0DUFRKLVVKDPHDQG
   
                  GHSUHVVLRQWKDWKLVUHFHQWIUDXGVDUHFDXVLQJ0DUFR
   
                  You don’t even need to type back anything to me I’m depressed. Upset. This
                all happened Yesterday evening. I’m dealing with it. Standby>(PSKDVLV
                  $GGHG@
   
               ,QDGGLWLRQDQGWRPDNHPDWWHUVZRUVHRQ-RQDLVVXHG0DUFRD
   
                  ZRUWKOHVVFKHFNWKDWKHKDGQRLQWHQWLRQRIKRQRULQJIRU
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                 SRVWGDWHGWR IRUWKHWZR5RYLQVN\SLHFHVKHKDGRQ
                 FRQVLJQPHQWIURP0DUFR 
    
    
         &KHFN                  'DWH                  7R                    
                                            3HWHU0DUFR                
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    
               (YHQKDG0DUFRWULHGWRGHSRVLW5HFKQLW]¶VSRVWGDWHGFKHFN

    
                  KHFRXOGQRWEHFDXVH5HFKQLW]KDGLQVWUXFWHGKLPWRULSLWXSHDUOLHUEDVHGRQ

    
                  KLVSURPLVHVWR0DUFRWKDWKHZRXOGZLUHWKHIXQGVWR0DUFR

    
               ,QDGGLWLRQDQGDVDQDVLGHRQ-RQDLVVXHGWZRZRUWKOHVVFKHFNV

   
                  WRDQRWKHURQHRIKLVGHIUDXGHGFUHGLWRUV)LUVW,QWHUQDWLRQDOWRWDOLQJ

   
                  WKDWKHKDGQRLQWHQWLRQRIKRQRULQJ  &KHFNIRU

   
                  DQG  &KHFNIRU%RWKFKHFNVZHUH

   
                  16)DWWKHWLPHRIWHQGHULQYLRODWLRQRIWKH&DOLIRUQLD&LYLO&RGH

   
                  DQGWKH&DOLIRUQLD3HQDO&RGHD

   
               ,QDGGLWLRQDQGWRPDNHPDWWHUVZRUVHRQ-RQDLVVXHGDQRWKHU

   
                  GHIUDXVHGFUHGLWRU)UDQFR1RYDODZRUWKOHVVFKHFNWKDWKHKDGQRLQWHQWLRQRI

   
                  KRQRULQJFKHFNIRUDQGWKHQRQFKHFN

   
                  IRUDQGWKHQRQFKHFNIRU

   
                  DOVRLQYLRODWLRQRIWKH&DOLIRUQLD&LYLO&RGHDQGWKH

   
                  &DOLIRUQLD3HQDO&RGHD

   
         &KHFN                  'DWH               7R                   
   
                                         3HWHU0DUFR             
                                      )UDQFR1RYDO            
                                      )UDQFR1RYDO            
                                      )LUVW,QWHUQDWLRQDO     
                                      )LUVW,QWHUQDWLRQDO    
   
                                        )UDQFR1RYDO            
                                        7RWDO16)&KHFNVLVVXHGE\-RQD     
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    
              %DVHGXSRQLQIRUPDWLRQDQGEHOLHI7KLUG3DUW\'HIHQGDQW3UDGRDFWLQJLQ
                 FRQFHUWZLWK-RQDDQGWRIXUWKHUKLVVFKHPHVLJQHG0DUFR¶VSRVWGDWHG
                 FKHFNDQGKDGKLVJLUOIULHQGRUDQRWKHUUHSUHVHQWDWLYHDW:HOOV)DUJR%DQN
                 LVVXHDVWRSSD\PHQWRQWKHFKHFNWKDW0DUFRZDVJRLQJWRGHSRVLW
              'XULQJWKLVHQWLUHWLPH-RQDUHSHDWHGO\OLHGWR0DUFRWKDWWKHGHDOVZLWKKLV
                 FOLHQWVZHUHFRQVXPPDWHG-RQDOXOOHGDQGDWWHPSWHGWRIDEULFDWHRQHH[FXVH
                 DIWHUDQRWKHUWRGHOD\SD\LQJ0DUFRDQGKLGWKHWUXWKIURPWKHPWKURXJK
                 VWRQHZDOOLQJDQGOLHV5HSHDWHGGHPDQGVKDYHEHHQPDGHWR-RQDWRUHWXUQ
                0DUFR¶V&RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ 1HFNODFH 
                ,QVWHDG-RQDWRRNQXPHURXVVWHSVWROXOO0DUFRLQWRDIDOVHVHQVHRIVHFXULW\
                WREX\PRUHWLPHDQGWRNHHSWKLVPDWWHUVHFUHWYLDSKRQHFDOOVDQG
                :KDWV$SSWH[WV
             2QDWRQFH-RQD¶VPRVWUHFHQWIUDXGVLQVWHDOLQJDQG
                OLTXLGDWLQJ0DUFR¶&RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ
                1HFNODFH DQGRIRWKHUYLFWLPVKLWWKHVWUHHWV-RQDWH[WHG0DUFREHJJLQJKLP
                WRVWD\TXLHWDQGQRWUHSRUWKLPOXOOLQJKLPWREX\WLPH
                ³I’m at my cousin lawyer and cousin still getting everything sorted out
                  so no noise and no issue I’ll see you later still´>(PSKDVLVDGGHG@
   
               2QDW-RQDUHSHDWHGKLVUHTXHVWWKDW0DUFRQRWUHSRUWKLP
   
                  IRUKLVIUDXG
   
                  ³Please confirm the following: They will wait until end of day
                tomorrow and keep it quiet. Need to know ASAP´
      DQGWKHQDW
                ³Need to know NOW´
             2QDW-RQDUHSHDWHGKLVUHTXHVWWKDW0DUFRQRWUHSRUWKLP
                IRUKLVIUDXG
   
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                 ³All I can say is I’m handling things and don’t discuss anything with
                  anyone. No updates to people who call you unless it’s oved or lazar´
                 >(PSKDVLVDGGHG@
              2QDWDP-RQDLQWURGXFHG2YHG$QWHURI)LUVW,QWHUQDWLRQDO
                 'LDPRQGVWRDQDWWRUQH\DW:LOOLDPV &RKHQDERXWWKH5HFKQLW]FRXVLQ¶V
                 SURSRVHGEDLORXW
                 “Oved meet Reuven. Reuven oved is a vendor I owe and used his goods
                  for loans. He has been the single biggest force in helping keep people
                 calm. He needs to hear from you in order to continue please. Thank
                  you´>(PSKDVLVDGGHG@
    
               2Q-RQDUHSHDWHGKLVUHTXHVWWKDW0DUFRQRWUHSRUWKLP
    
                  WRQHZVRXWOHWVIRUKLVIUDXG
   
                  ³Pls confirm you didn’t hear back or communicate to the paper´
                >(PSKDVLVDGGHG@
             2QDW-RQDWH[WHG0DUFRRIKLVIHDURIEHLQJUHSRUWHGWRWKH
                DXWKRULWLHVIRUKLVIUDXG
                ³Is david dealing through you because I heard he wants to report me
                  so confirm that he is holding off and you’ll wait to hear from my
                lawyers´
      DQGWKHQDWWH[WHG0DUFR
                ³Make sure you ignore the reporter. Moty is too. She can’t print
                  without a comment´>(PSKDVLVDGGHG@
   
               7KDWQLJKWRQDWSP-RQDIDOVHO\HQOLVWHGDWWRUQH\VWRSUHWHQG
   
                  DEDLORXWZDVFRPLQJIURPIDPLO\PHPEHUVWREX\KLPVHOIPRUHWLPH
   
                  $WWRUQH\VIURP:LOOLDPV &RKHQZURWH0DUFRDERXWWKHSXUSRUWHGEDLORXW
   
                  ³We write with an update on Jona Rechnitz. A family member of Mr.
                Rechnitz has informed our law firm that the family member is
                  seeking to refinance certain real property in order to satisfy Mr.
                Rechnitz's outstanding liabilities. We currently have no visibility into
                  the family member's interest in the property, the value of the property,
                or what, if any equity, the family member has in it. If you are
                  represented by counsel, please let us know and provide your counsel's
                contact information. Our client's desire is to resolve this matter
                  amicably´
   
               0HDQZKLOHRQDVUHSRUWHGLQWKH1<3RVW“Ex-de Blasio crony
   
                  used Kardashian ties for fraud scheme, lawsuit claims´
   

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                     KWWSVQ\SRVWFRPH[GHEODVLRFURQ\XVHGNDUGDVKLDQWLHVIRUI
                 UDXGVFKHPHODZVXLWFODLPV DQGDVUHSRUWHGLQWKHDUWLFOHLQ-&.
                 “The Troubling Case of Jona Rechnitz´
                     KWWSVZZZMFNRQOLQHFRPHGLWRULDODUWLFOHWKHWURXEOLQJFDVHMRQDUHFKQLW]
                     DQGDVUHSRUWHGLQWKH1<'DLO\1HZVDUWLFOH³Corrupt Mayor
                 de Blasio donor Jona Rechnitz faces new FBI probe in L.A.: court papers´
                     KWWSVZZZQ\GDLO\QHZVFRPQHZ\RUNQ\UHFKQLW]ORVDQJHOHVSUREH
                 QU]EEQJDKNF\REOZZTVWRU\KWPO RQHRI-RQD¶VUHFHQWO\
                 GHIUDXGHGYLFWLPVILOHGDODZVXLWHQWLWOHGVictor Franco Norval vs Jona S.
                Rechnitz, Rachel Rechnitz, Jadelle Inc., a California Corporation; Jadelle
                Jewelry and Diamonds, LLC, a Delaware Limited Liability Company; Levin
                Prado Aka Levon Prado, an Xiomara Cortez/$6&60&9IRU
                     )UDXG  &LYLO7KHIW 3HQDO&RGH   %UHDFKRI&RQWUDFW 
                &RQVSLUDF\WR&RPPLW7KHIW)UDXGDQG)UDXGE\&RQFHDOPHQW 
                $SSRLQWPHQWRI5HFHLYHUVHHNLQJGDPDJHVRI
             ,QWHUHVWLQJO\RQ-RQD¶VIDWKHU5REHUW5HFKQLW]UHLWHUDWHGWKH
                SURSRVHGEDLORXWE\-RQD¶VFRXVLQWR0DUFRDQGUHSUHVHQWHGWKDW0DUFR
                ZRXOGEHSDLG³first in line´E\-RQD¶VFRXVLQ
             $QGWKHQRQDVUHSRUWHGLQWKH1<3RVW³De Blasio donor Jona
                Rechnitz accused of $1M scam in California´
                    KWWSVQ\SRVWFRPGHEODVLRGRQRUMRQDUHFKQLW]DFFXVHGRIP
                VFDPLQFDOLIRUQLD DQRWKHURQHRI-RQD¶VGHIUDXGHGYLFWLPVILOHGDODZVXLW
                HQWLWOHGIsrael Sam Gorodistian vs. Jadelle Jewelry and Diamonds, LLC, a
                Delaware Limited Liability Company; Jadelle Inc., a California Corporation;
                Jona Rechnitz, Rachel Rechnitz, Robert Rechnitz/$6&67&9IRU
                &RQYHUVLRQ&LYLO7KHIW 3HQ&RGH )UDXG±)DOVH3URPLVH
                1HJOLJHQW0LVUHSUHVHQWDWLRQ&LYLO&RQVSLUDF\WR'HIUDXG%UHDFKRI
   

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                 2UDO&RQWUDFW &RXQWV %UHDFKRI,PSOLHGLQIDFW&RQWUDFW &RXQWV 
                 0RQH\/HQW$FFRXQW6WDWHGDQG%UHDFKRI:ULWWHQ*XDUDQW\VHHNLQJ
                 GDPDJHVRI
              -RQDLVQRVWUDQJHUWRIUDXG8QEHNQRZQVWWR0DUFRRQ-RQDZDV
                 VXHGLQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUW6RXWKHUQ'LVWULFWRI1HZ<RUN
                     0DQKDWWDQ $GY&DVH1RMOJE\.HQQHWK36LOYHUPDQ(VT
                 WKH&KDSWHU7UXVWHHRIWKH-RLQWO\$GPLQLVWHUHG(VWDWHVRI1DWLRQDO(YHQWV
                 +ROGLQJV//&&KDSWHU&DVH1R -/* RQFRXQWVRI
                 UHFHLYLQJIUDXGXOHQWFRQYH\DQFHVWKURXJKDQHODERUDWH3RQ]LVFKHPH
                SXUVXDQWWR1HZ<RUN'HEWRUDQG&UHGLWRU/DZDQG E SXUVXDQWWR
                86& D DQG86& D  $ DQG E 86&
                 D  % DQG E WRWDOLQJ
                                   -21$$1'52%(575(&+1,7=
             2QLQIRUPDWLRQDQGEHOLHI-RQDSHUVRQDOO\LQJUDWLDWHGKLPVHOIWR0DUFRDV
                DQ2UWKRGR[-HZLVKGLDPRQGGHDOHUOHDGLQJ0DUFRWREHOLHYHWKDW-RQDZDV
                PRUHWUXVWZRUWK\WKDQRWKHUVEHFDXVHRIKLV2UWKRGR[IDLWKDQGEHOLHILQ
                -HZLVKODZ DQGFRPPRQ2UWKRGR[-HZLVKIULHQGVLQDQGRXWRIWKH'LDPRQG
                LQGXVWU\ ZKLFKUHTXLUHVKRQHVW\DQGPD[LPXPLQWHJULW\7KHVHW\SHVRI
                LQWHUQDOFRPPXQLW\UHODWLRQVKLSVVXFKDVWKH2UWKRGR[-HZLVKGLDPRQG
                FRPPXQLW\FUHDWHDYXOQHUDELOLW\IRUDIILQLW\IUDXGWREHSHUSHWXDWHG-RQD
                WDUJHWHG0DUFRH[SORLWLQJKLVVWDQGLQJLQDQGNQRZOHGJHRIWKHFXVWRPVDQG
                SUDFWLFHVRIWKLVFRPPXQLW\WRIXUWKHUKLVIUDXGXOHQWVFKHPH7KLVW\SHRI
                LOOHJDODFWLYLW\LVFRPPRQO\UHIHUUHGWRDV³DIILQLW\IUDXG´DQGUHIHUVWR
                VFDPVWKDWSUH\XSRQPHPEHUVRILGHQWLILDEOHJURXSVVXFKDVUHOLJLRXVRU
                HWKQLFFRPPXQLWLHVWKHHOGHUO\RUSURIHVVLRQDOJURXSV7KHSHUSHWUDWRUVRI
                DIILQLW\IUDXGVFDPVOLNH-RQDIUHTXHQWO\DUHRUSUHWHQGWREHPHPEHUVRI
                WKHJURXSDQGWKH\H[SORLWWKHWUXVWDQGIULHQGVKLSWKDWH[LVWLQJURXSVRI
   

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                 SHRSOHZKRKDYHVRPHWKLQJLQFRPPRQ7KHFRQYHQWLRQDOWKLQNLQJLVWKDWWKH
                 UHOLJLRXVPDQGRLQJEXVLQHVVZLWK\RXLVXQOLNHO\WRUXWKOHVVO\ULS\RXRII
              2QLQIRUPDWLRQDQGEHOLHI-RQDDQGKLVIDWKHU5REHUW5HFKQLW]¶V ³5REHUW´
                 modus operandiLVDVIROORZV5REHUWZRXOGPHHW0DUFRLQ-RQD¶VRIILFHDQG
                 DWKLVRIILFHHQGHDULQJ0DUFRZLWKROGVFKRROFKDUPZDUPWK IULHQGVKLSWR
                 SODFHKLPDWHDVHZKLOH-RQDZRXOGULSKLPRIILQEURDGGD\OLJKWDQGVWHDO
                 IURPKLP7KHQRQFH-RQD¶VIUDXGZDVGLVFRYHUHGE\KLVYLFWLPV LQFOXGLQJ
                 0DUFR 5REHUWZDVWKHUHRIILFLDOO\WU\LQJWRFOHDQXS-RQD¶VPHVVHVIXUWKHU
                 OXOOLQJWKHGHIUDXGHGFUHGLWRUV LQFOXGLQJ0DUFR ZLWKSURPLVHVRIEDLORXWV
                SXWWLQJKLVIULHQGVKLSVZLWK-RQD¶VYLFWLPVRQWKHOLQHVRWRVSHDNLQWKH
                XQVSRNHQXQGHUVWDQGLQJWKDWDQDFWLRQDJDLQVW-RQDZRXOGEHWDQWDPRXQWWR
                DQDFWLRQDJDLQVW5REHUW7KHWZRDFWHGLQWDQGHPOLNHDWDJWHDPWRIXUWKHU
                GHIUDXG0DUFRDQGRWKHUYLFWLPV
             2QWKHRQHKDQGLWLVODXGDEOHIRUDORYLQJSDUHQWWRFRPHWRWKHDLGRIWKHLU
                FKLOGLQGLVWUHVVQRPDWWHUZKDW2QWKHRWKHUKDQGLQWKLVFDVH0DUFR
                EHOLHYHVWKDW5REHUW¶VLQYROYHPHQWZDVWRRLQWHUZRYHQZLWK-RQD¶VFULPLQDO
                DFWLRQVWREHLQQRFHQWRUODXGDEOH)RUH[DPSOHWKURXJKRXWWKHLUUHODWLRQVKLS
                -RQDFRQVWDQWO\EURXJKWKLVIDWKHU5REHUWLQWRWKHFRQYHUVDWLRQVDQG
                WUDQVDFWLRQVSRUWUD\LQJKLPWR0DUFRDVWKHPRUDODXWKRULW\DQGWKHRQH
                RYHUVHHLQJDQGFRDFKLQJ-RQD¶VDIIDLUVZKR¶VSUHVHQFHFRQIHUUHGOHJLWLPDF\
                RQ-RQD¶VZLOGEUDJJLQJDQGWUDQVDFWLRQVZKRDSSHDUHGDWWKHHSLFHQWHU
                ZKHQHYHU-RQD¶VIUDXGVZHUHGLVFRYHUHGE\KLVYLFWLPV LQFOXGLQJ0DUFR 
             2QDW-RQDWH[WHG$QWHUDERXW-RQD¶VIDWKHU5REHUW
                My Dad is a nice guy doesn’t talk when ppl owe him ?? lee. Yossi.
                  But keeps getting mad I talk to you too much>(PSKDVLVDGGHG@
   
               2QDW-RQDWH[WHG0DUFRFLWLQJKLVIDWKHUDVDEDLORXW
   
                  VRXUFHIRUKLP
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                 ³Issue! My account has a charge back from that client! Money was
                  withdrawn from my account not enough funds for your wire this
                 morning Bc sent after cutoff Friday. Will resolve next few hours and
                  get money from my Dad today. Bear with me until later in the day. I’m
                 sorry. Unforseen´>(PSKDVLVDGGHG@
              2QDW-RQDWH[WHG0DUFRVHHNLQJDEDLORXWIRUKLVIDWKHU
                 ³You know me by now if I would ever need anything from a friend YOU
                  this is a level 10. I committed to something by tonight that is not
                 reversible for my Dad and said it is done. Please tell me you got me
                  and let me breathe here. Thx´
    
        DQGDWDW
    
                  ³I am sorry to pressure you and now I’m just letting you know for me
                 this is super urgent And you are the only person I am comfortable to
                  discuss this with. Obviously it goes without saying I will go all the
                way for you and I do not need to even say that here but I feel like
                  saying it to remind you I’m always in your corner either way I hope
                we have good news today because I’m out of options thank you´
                  >(PSKDVLVDGGHG@
   
        DQGDWDWHQGHDUHGKLPVHOIWR0DUFRDVKLVµEURWKHU¶
   
                  ³Brother pls help me here´DQGILQDOO\DWDW³My Dad
                is good with 70´>(PSKDVLVDGGHG@
             2QDWDIWHU-RQD¶VUHFHQWIUDXGVWR0DUFRZDVUHYHDOHG E\
                RWKHUVRXUFHVLQWKHFRPPXQLW\ -RQDFLWHGKLVIDWKHUDVWKHRQHWU\LQJWR
                VROYH-RQD¶VIUDXGV-RQDWH[WHG0DUFR
                ³The stone of Oved’s is coming back tomorrow with all of the other
                  stones. Client isn’t taking anythinf. I have a major issue now they
                didn’t know about my legal situation and freaked out they also want to
                  reverse previous transactions of mine. He can’t be associated with me.
                A man of his status. I’m dealing with a huge crisis now and my Dad is
                  at bank trying to sort out issue for me in regards to all this. I stopped
                the wire because they may be sending the necklace and ring back. I
                  need a few hours to deal with them with my lawyer. This is a disaster. I
                am trying to fix this but won’t know for a few hours. I also have Moty
                  Klein in town at the same time while this is all going on which is extra
                stress as he can’t hear any of this. Give me a few hours please and I
                  hope to have better news´>(PSKDVLVDGGHG@
   
               2QDW30-RQDWH[WHG0DUFRDUHSRUWRIKLVIDWKHU¶V
   
                  DWWHPSWVWRUHFWLI\KLVPRVWUHFHQWIUDXGVWRKLVYHQGRUV
   
                  ³And lazar tried to control things a little too much from my cousins
                money. My Dad very involved joe. Just wait...Promise you´DQGDW
                  DW³ QRZ´>(PSKDVLVDGGHG@
   

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              )RUQRZ5REHUWLVQRWDQDPHGSDUW\EXW0DUFRUHVHUYHVWKHULJKWWRQDPH
                 KLPDVD7KLUG3DUW\GHIHQGDQWRQFHIDFWVEHFRPHNQRZQDVWRWKHIXOOH[WHQW
                 RIKLVLQYROYHPHQWZLWK-RQD¶VPRVWUHFHQWIUDXGV3DUHQWKHWLFDOO\5REHUW
                 ZDVUHFHQWO\SODFHGLQWRDQLQYROXQWDU\EDQNUXSWF\UHFHLYHUVKLSE\KLV
                 FUHGLWRU,7256)//&LQ,VUDHO&DVHIRUGHEWVLQH[FHVV
                 RIVKHNHO GROODUV  ³Receiving order against
                 businessman Robert Rechnitz, who is close to Netanyahu´
                 KWWSZZZFDOFDOLVWFRLODUWLFOHV/KWPO EXWWKH,VUDHOL
                 EDQNUXSWF\GRHVQRWVWD\0DUFR¶VFODLPVDJDLQVWKLPLQWKLVFRXQWU\
             2Q0DUFR¶OLWLJDWLRQFRXQVHO%DUXFK&&RKHQ ³&RKHQ´ H[WHQGHG
                DSURIHVVLRQDOFRXUWHV\WR5REHUWWRLQIRUPKLPWKDW&RKHQKDGEHHQUHWDLQHG
                E\0DUFRWRVXH-RQDLQTXLULQJ DFWXDOO\KRSLQJ WKDW5HFKQLW]¶VFRXVLQ¶V
                EDLORXWZDVLPPLQHQWWRDYRLGWKHOLWLJDWLRQ)XUWKHUDV5REHUWSHUVRQDOO\
                JXDUDQWHHGWKHGHEWVWR2YHG$QWHUDQG)LUVW,QWHUQDWLRQDORIXSWR
                WKDW&RKHQZRXOGUHOXFWDQWO\KDYHWRVXH5REHUWDVZHOO
                &RKHQWROG5REHUWWKDWKHSHUVRQDOO\SUHIHUUHGnot WRKDYHWRVXH5REHUWDV
                ERWKSUD\DWWKHVDPHV\QDJRJXHLQ+DQFRFN3DUNDQGKDYHNQRZQHDFKRWKHU
                IRU\HDUV&RKHQDFNQRZOHGJHGWKDW5REHUWDWWHPSWHGWRKHOS&RKHQLQWKH
                SDVWDQGZDVJUDFLRXVLQ&RKHQ¶VWLPHRIQHHGDV&RKHQZDVWR5REHUW¶V
                &RKHQDFNQRZOHGJHGWKDW-RQDLQWURGXFHG&RKHQWR0DUFR&RKHQPDGHLW
                FOHDUWKDWKHWRRNQRMR\LQSURVHFXWLQJWKHVHFDVHVRQEHKDOIRI0DUFRDQG
                $QWHUDJDLQVW-RQDDQG5REHUWDV&RKHQDJRQL]HGRYHULWIRURYHUDPRQWK
                HYHUVLQFH0DUFRZDVEHLQJSXUVXHGE\5RYLQVN\EHFDXVHRI-RQD¶VDFWLRQV
                %XW&RKHQH[SODLQHGWKDW-RQDSODFHGKLVFOLHQWVLQDWHUULEOHSUHGLFDPHQW
                H[SRVLQJWKHPWRPLOOLRQVRIGROODUVRIGDPDJHVIURP5RYLQVN\DQGRWKHUV
                DQGWKHVFRSHRI-RQD¶VSHUILG\DQGEHWUD\DOZDVVREUHDWKWDNLQJ
                RYHUZKHOPLQJDQGGHYDVWDWLQJWKDW0DUFRDQG$QWHUDEVROXWHO\LQVLVWHGWKDW
   

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                 &RKHQSURWHFWWKHLULQWHUHVWV:KLOH&RKHQGLGQRWH[SHFW5REHUWWREH
                 SOHDVHGZLWKWKLVGHFLVLRQDV0DUFR¶VDWWRUQH\&RKHQRZHG0DUFRD
                 GXW\DQGPXVWUHSUHVHQWKLVFOLHQW¶VLQWHUHVWV
              )XUWKHULQWKHPDWWHURIOved Anter & First International Diamonds
                     ³$QWHU´ YV5HFKQLW]HWDORQ5REHUWSHUVRQDOO\JXDUDQWHHGXSWR
                 RI-RQD¶VGHEWWR$QWHU5REHUW¶V3HUVRQDO
                 *XDUDQW\WR$QWHUVWDWHGWKDW5REHUWVWRRGEHKLQG-RQDDQGDOOKLVGHDOLQJ,W
                 UHDGVDVIROORZV
                 Dear Oved / First International Diamonds Inc., I very much enjoyed
                  speaking to you by phone. Jona has shared some of your conversations
                with me. Thank you for being a confidant for Jona. He mentioned to me
                  about how your Father had a special bond and relationship with you. I
                was also privileged to have a close relationship with my Father, as did
                  Jona. I'm sure you will find much success in your dealings together. I
                completely understand your desire to know that Jona's family is aware
                  of his dealings with you and stands behind him. I am pleased to
                confirm that I stand behind Jona and all his dealing with you. You
                  have indicated that you have extended memos up to the amount of
                $12,000,000.00. If for some reason you need to callback your credit
                  line, all merchandise will be returned to you, and any cash
                deficiencies will be repaid by me. . May your confidence in Jona and
                  your extension of credit be profitable for both of you%2%%<
                5(&+1,7=&&-21$5(&+1,7=>(PSKDVLVDGGHG@
             -RQDSHUVRQDOO\KDQGHG5REHUW¶V3HUVRQDO*XDUDQW\OHWWHUWR$QWHU
                VHYHUDOGD\VDIWHU5REHUWRUDOO\SURPLVHGWRSHUVRQDOO\JXDUDQW\-RQD¶VGHEWV
                WR$QWHUZKLOHDOOWKUHHPHWDW3DW¶V.RVKHU5HVWDXUDQWRQ3LFR%RXOHYDUG
             2QDW-RQD:KDWVDSSWH[WHG2YHGFRQILUPLQJ5REHUW¶V
                3HUVRQDO*XDUDQW\
                “It’s good to know I’m worth 12mm to my Dad not 10mm lol´
                >(PSKDVLVDGGHG@
             2QDW-RQD:KDWVDSSWH[WHG2YHGDJDLQFRQILUPLQJWKH
                8&&)LQDQFLQJ6WDWHPHQWDQGWKH3HUVRQDO*XDUDQWLHVWR$QWHU
                ³OK also I filled out the application so Monday let’s go through it I am
                  away until Monday I will come see you Monday I will take care of that
                and I will get the application filled out with you. No worries. In
                  meantime you have UCC. My Dad guarantee in writing. My
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                 guarantee. My wife. Everything and the legal document that’s owns
                  me. I want you to feel protected and will make it happen´>(PSKDVLV
                 DGGHG@
              2Q&RKHQQRWLILHG5REHUWWKDWKHZRXOGKDYHWRVXH5REHUWRQWKH
                 SHUVRQDOJXDUDQWHHWR$QWHUDVZHOO
              ZDVWKH-HZLVKKROLGD\RI3XULPDQG5REHUWDSSURDFKHG&RKHQLQ
                 V\QDJRJXHWKDWQLJKWDFNQRZOHGJLQJWKHSURIHVVLRQDOFRXUWHV\H[WHQGHGWR
                 KLPDQGDVNHGWRVSHDNWR&RKHQXQGHUWKHJXLVHDQGSUHWH[WRIZDQWLQJWR
                 WDONDERXW³QRWKLQJOHJDOMXVWDVIULHQGV´&RKHQUHLWHUDWHGWKHDERYHDQG
                 5REHUWUHSHDWHGO\GHQLHGSHUVRQDOO\JXDUDQWHHLQJWKHGHEWVWR$QWHU
             5REHUW¶VGHQLDOWKDWKHSHUVRQDOO\JXDUDQWHHLQJWKHGHEWVWR$QWHUZDVLQGHHG
                FXULRXVDV&RKHQKDGDFRS\RI5REHUW¶V3HUVRQDO*XDUDQW\LQKLV
                ILOH6RZKDWZDV&RKHQWRPDNHRI5REHUW¶VGHQLDOV":DVKHLQYROYHGZLWK
                -RQD¶VIUDXGVRUZDVKHQRW"
             ,ILQGHHG5REHUWGLGQRWVLJQWKH3HUVRQDO*XDUDQW\WR$QWHUDVKHLQVLVWHG
                WR&RKHQRUDOO\DQGJLYLQJ5REHUWWKHEHQHILWRIWKHGRXEWWKHQWKDWZRXOG
                PHDQWKDW-RQDIRUJHGKLVRZQIDWKHU¶VQDPHWR5REHUW¶V3HUVRQDO
                *XDUDQW\WR$QWHUDQGVKDPHOHVVO\H[SORLWHG$QWHU¶VWUXVWDQGKLVIDWKHU¶V
                QDPHXVLQJDGRFWRUHGGRFXPHQWWRFRQWLQXHWRFRPPLWFULPHVZKLOHRXWRQ
                EDLO
             2QDWDSSUR[LPDWHO\SPWKDWQLJKW-RQDUHVXPHGDQG
                UHVRUWHGWRKLVFULPLQDOEHKDYLRUDQGFDOOHG0DUFROLYLGWKDW&RKHQLV³JRLQJ
                DIWHUKLVIDPLO\DQGKLVIDWKHU´WKUHDWHQLQJKLPDQG$QWHUWKDWXQOHVVKH
                UHFHLYHVDOHWWHUIURP0DUFRDQG$QWHUWKDWWKH\ZLOOEHILULQJ&RKHQDVWKHLU
                DWWRUQH\WKDW-RQDZLOOHQJDJHLQDQDOORXWZDU³GHVWUR\´³ULSDSDUW´DQG
                ³PHVVDQGIXFN&RKHQJRRG´ZLWKWKH6WDWH%DU FODLPLQJWRKDYHWH[WVWKDW
                &RKHQZDVKLVODZ\HUFUHDWLQJDFRQIOLFWRILQWHUHVW DQGUHSRUW$QWHUWRWKH
                ,56IRUFULPLQDOWD[HYDVLRQ-RQDUHSHDWHGKLVERJXVSOHGJHWKDWKLVFRXVLQLV
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                 VWLOOZRUNLQJRQEDLOLQJKLPRXWWRPDNH0DUFRZKROHZLWKLQRQHZHHNEXW
                 WKDWLWZDVFRQGLWLRQDORQWKHPILULQJ&RKHQ-RQDEUD]HQO\DVVXUHG0DUFR
                 WKDWKLVUROHDVRQHRIWKHVLQJOHPRVWLPSRUWDQWDQGSUROLILFZKLWHFROODU
                 FRRSHUDWLQJZLWQHVVHVLQWKHUHFHQWKLVWRU\RIWKH6RXWKHUQ'LVWULFWRI1HZ
                 <RUNZLWKKLVZRUNLQJFORVHO\ZLWKWKH)%,DVDQLQIRUPDQWDORQJZLWKWKH
                 IDFWWKDWKHRQO\UHFHLYHGPRQWKVFXVWRG\WLPHZLWKPRQWKVKRXVHDUUHVW
                 WKDWVLQFHWKH)%,QHHGVKLPDVDQLQIRUPDQWVREDGO\LQWKH1HZ<RUNFDVH
                 WKDWWKH\ZRXOGQHYHUGRDQ\WKLQJWRKLPQRPDWWHUZKDWKHGLGPDNLQJKLP
                 LPPXQHIURPDQ\IXUWKHUSURVHFXWLRQ PLVWDNHQO\EHOLHYLQJWKDWWKLVSURYLGHV
                KLPVRPHNLQGRILOOFRQFHLYHGLPPXQLW\IURPFRPPLWWLQJFULPLQDODFWVRI
                IUDXGDQGH[WRUWLRQLQ&DOLIRUQLD>LH3HQDO&RGH@ 7UDJLFDOO\-RQD
                OHDUQHGQRWKLQJIURPKLVOLIHRIFULPHDQGUHVRUWHGWRKLVROGWULFNVRI
                H[WRUWLRQDQGEODFNPDLODQGLIDQ\WKLQJKDVEHFRPHHPEROGHQHGE\LW
             ,QVDLGFRQYHUVDWLRQ-RQDLPPHGLDWHO\FRQIHUHQFHGLQKLVIDWKHU5REHUWLQWR
                WKHODWHQLJKWFRQYHUVDWLRQ ZKRZDVFXULRXVO\UHDGLO\DYDLODEOH XQGHUWKH
                JXLVHDQGSUHWH[WRIZDQWLQJWRWDONDERXW³QRWKLQJOHJDOMXVWDVIULHQGV´
             2EYLRXVO\ZKDWHYHUJRRGZLOO&RKHQZDVSUHSDUHGWRH[WHQGWR5REHUW
                GLVLQWHJUDWHGE\-RQD¶VH[WRUWLRQFDOODQG5REHUW¶VFRQYHQLHQWMRLQGHUODWH
                WKDWQLJKW
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              $IWHU-RQDILQLVKHGWKUHDWHQLQJ0DUFR&RKHQDQG$QWHU-RQDWH[WHG0DUFR
                 DWSPDYHLOHGFRQILUPDWLRQRIWKHFRQYHUVDWLRQ
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              $VWR-RQD¶VWKUHDWVWRUHSRUW&RKHQWRWKH6WDWH%DU-RQDPHUHO\LQWURGXFHG
                 &RKHQWR3HWHU0DUFRDQGQRWKLQJPRUH-RQDZDVQHYHU&RKHQ¶VFOLHQWDQG
                 &RKHQZDVQHYHU-RQD¶VODZ\HUDVHYLGHQFHGE\-RQD¶VWH[WVWR&RKHQ
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              2EYLRXVO\E\WKLVODZVXLW&RKHQLVQRWUHVLJQLQJDQGZLOOUHPDLQFRXQVHORI
                 UHFRUGIRUERWKRIKLVFOLHQWVDQGKHDQG0DUFRZLOOQRWEHVFDUHGDZD\RU
                 LQWLPLGDWHGE\-RQD¶VFULPLQDOWKUHDWVRIH[WRUWLRQ
              $VUHSRUWHGLQWKH1<3RVWDUWLFOH³DeBlasio Donor Jona
                 Rechnitz Used Kardashian Ties to Further His Schemes´
                     KWWSWKHMHZLVKYRLFHFRPGHEODVLRGRQRUMRQDUHFKQLW]XVHGNDUGDV
                 KLDQWLHVWRIXUWKHUKLVVFKHPHV -RQD5HFKQLW]¶VGDUNGHDOLQJVLVHHULO\
                 VLPLODURIWKHFKDUDFWHU+RZDUG5DWQHUSOD\HGE\DFWRU$GDP6DQGOHULQWKH
                 ILOP³8QFXW*HPV´RIDFKDULVPDWLFGHEWULGGHQJDPEOLQJDGGLFWD
                ZKHHOLQJGHDOLQJJUHHG\-HZLVKGLDPRQGGHDOHUVFKHPLQJULSSLQJSHRSOH
                RIIVZHDULQJDQGPDNLQJEROGSOD\VWRWU\DQGDGYDQFHKLVRZQOLIHFOHDUO\
                KHDGHGWRZDUGVHOIGHVWUXFWLRQ
                                      ),567&$86(2)$&7,21
                         ,17(17,21$/0,65(35(6(17$7,21 )5$8'
            On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz, Levin
                                                  Prado
             7KLUG3DUW\3ODLQWLIIVKHUHE\LQFRUSRUDWHE\UHIHUHQFHDVWKRXJKIXOO\VHW
                IRUWKLQIXOOKHUHLQDOOSUHFHGLQJ3DUDJUDSKVRIWKLV&RPSODLQW
             7KHIRUHJRLQJUHSUHVHQWDWLRQVPDGHE\-RQDDQGWKH7KLUG3DUW\'HIHQGDQWV
                ZHUHIDOVHZKHQWKH\ZHUHPDGHDQG7KLUG3DUW\'HIHQGDQWVNQHZWKH
                UHSUHVHQWDWLRQVWREHIDOVH-RQDDQGWKH7KLUG3DUW\'HIHQGDQWVGLGQRW
                LQWHQGWRFRPSO\ZLWKWKHSURPLVHVDQGUHSUHVHQWDWLRQVZKHQWKH\ZHUH
                PDGH
             7KHIRUHJRLQJUHSUHVHQWDWLRQVZHUHPDGHE\-RQDDQGWKH7KLUG3DUW\
                'HIHQGDQWVZLWKWKHLQWHQWWRGHFHLYH0DUFRDQGZLWKNQRZOHGJHWKDW0DUFR
                ZRXOGUHO\RQWKHP
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              7KLUG3DUW\3ODLQWLIIVGHWULPHQWDOO\DQGUHDVRQDEO\UHOLHGRQWKHIRUHJRLQJ
                 UHSUHVHQWDWLRQV
              7KLUG3DUW\3ODLQWLIIVKDYHEHHQGDPDJHGE\7KLUG3DUW\'HIHQGDQWV¶IDOVH
                 LQWHQWLRQDODQGIUDXGXOHQWUHSUHVHQWDWLRQVDQGFRQFHDOLQJRIPDWHULDO
                 LQIRUPDWLRQDVDOOHJHGDERYHLQDQDPRXQWWREHSURYHQDWWULDOEXWDWOHDVW
                 ZKLFKUHSUHVHQWVWKHFRQVLJQHGMHZHOU\-RQDOLHGWRVWHDODV
                 ZHOODVWHQGHUHGZRUWKOHVVLQVWUXPHQWVIRU
              7KLUG3DUW\3ODLQWLIIVIXUWKHUUHTXHVWWKHLPSRVLWLRQRIDFRQVWUXFWLYHWUXVW
                 DJDLQVWDOO7KLUG3DUW\'HIHQGDQWVZKRDUHLQSRVVHVVLRQRIWKH&RQVLJQHG
                -HZHOU\VHWIRUWKLQWKH&RQVLJQPHQW0HPRVDQGIRUDQRUGHUDQGMXGJPHQW
                WKDWWKH\KROGWKHFRQVLJQHGMHZHOU\DQGRUDOOSURFHHGVWKHUHIURPDV
                FRQVWUXFWLYHWUXVWHHVIRUWKHEHQHILWRI0DUFR
             ,QGRLQJWKHWKLQJVKHUHLQDOOHJHG-RQDDQGWKH7KLUG3DUW\'HIHQGDQWVDFWHG
                ZLOOIXOO\PDOLFLRXVO\DQGZLWKWKHLQWHQWWRFDXVHLQMXU\DQGKDUPWR0DUFR
                $OO7KLUG3DUW\'HIHQGDQWVDUHWKHUHIRUHJXLOW\RIPDOLFHDQGRUIUDXGLQ
                FRQVFLRXVGLVUHJDUGRI0DUFR¶ULJKWVWKHUHE\ZDUUDQWLQJDQDVVHVVPHQWRI
                SXQLWLYHDQGH[HPSODU\GDPDJHVLQDQDPRXQWDSSURSULDWHWRSXQLVK
                7KLUG3DUW\'HIHQGDQWVDQGHDFKRIWKHPDQGGHWHUWKHPDQGRWKHUVIURP
                HQJDJLQJLQVLPLODUPLVFRQGXFW
                                      6(&21'&$86(2)$&7,21
                                  &,9,/7+()7 &DO3HQDO&RGH
                    On behalf of Third-Party Plaintiff as to Jona Rechnitz, Rachel Rechnitz
             7KLUG3DUW\3ODLQWLIIVKHUHE\LQFRUSRUDWHE\UHIHUHQFHDVWKRXJKIXOO\VHW
                IRUWKLQIXOOKHUHLQDOOSUHFHGLQJ3DUDJUDSKVRIWKLV&RPSODLQW
             $VDUHVXOWRI-RQDDQG7KLUG3DUW\'HIHQGDQWV¶FRQGXFWDVDOOHJHGKHUHLQ
                WKH\KDYHYLRODWHG&DOLIRUQLD3HQDO&RGHWKDWSURYLGHV³>H@YHU\SHUVRQ
                ZKREX\VRUUHFHLYHVDQ\SURSHUW\WKDWKDVEHHQVWROHQRUWKDWKDVEHHQ
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                 REWDLQHGLQDQ\PDQQHUFRQVWLWXWLQJWKHIWRUH[WRUWLRQNQRZLQJWKHSURSHUW\
                 WREHVRVWROHQRUREWDLQHGRUZKRFRQFHDOVVHOOVZLWKKROGVRUDLGVLQ
                 FRQFHDOLQJVHOOLQJRUZLWKKROGLQJDQ\SURSHUW\IURPWKHRZQHUNQRZLQJWKH
                 SURSHUW\WREHVRVWROHQRUREWDLQHGVKDOOEHSXQLVKHGE\LPSULVRQPHQWLQD
                 FRXQW\MDLOIRUQRWPRUHWKDQRQH\HDURULPSULVRQPHQWSXUVXDQWWR
                 VXEGLYLVLRQ K RI6HFWLRQ+RZHYHULIWKHYDOXHRIWKHSURSHUW\GRHV
                 QRWH[FHHGQLQHKXQGUHGILIW\GROODUV  WKHRIIHQVHVKDOOEHD
                 PLVGHPHDQRUSXQLVKDEOHRQO\E\LPSULVRQPHQWLQDFRXQW\MDLOQRW
                 H[FHHGLQJRQH\HDULIVXFKSHUVRQKDVQRSULRUFRQYLFWLRQVIRUDQRIIHQVH
                VSHFLILHGLQFODXVH LY RIVXESDUDJUDSK & RISDUDJUDSK  RIVXEGLYLVLRQ
                    H RI6HFWLRQRUIRUDQRIIHQVHUHTXLULQJUHJLVWUDWLRQSXUVXDQWWR
                VXEGLYLVLRQ F RI6HFWLRQ
             -RQDDQG7KLUG3DUW\'HIHQGDQWVKDYHREWDLQHGDQGUHFHLYHGSURSHUW\IURP
                0DUFRWKHRI&RQVLJQHG-HZHOU\LQDPDQQHUFRQVWLWXWLQJ
                ³WKHIW´DVWKDWWHUPLVGHILQHGLQ&DOLIRUQLD3HQDO&RGH D WKDW
                SURYLGHV³>H@YHU\SHUVRQZKRVKDOOIHORQLRXVO\VWHDOWDNHFDUU\OHDGRU
                GULYHDZD\WKHSHUVRQDOSURSHUW\RIDQRWKHURUZKRVKDOOIUDXGXOHQWO\
                DSSURSULDWHSURSHUW\ZKLFKKDVEHHQHQWUXVWHGWRKLPRUKHURUZKRVKDOO
                NQRZLQJO\DQGGHVLJQHGO\E\DQ\IDOVHRUIUDXGXOHQWUHSUHVHQWDWLRQRU
                SUHWHQVHGHIUDXGDQ\RWKHUSHUVRQRIPRQH\ODERURUUHDORUSHUVRQDO
                SURSHUW\RUZKRFDXVHVRUSURFXUHVRWKHUVWRUHSRUWIDOVHO\RIKLVRUKHU
                ZHDOWKRUPHUFDQWLOHFKDUDFWHUDQGE\WKXVLPSRVLQJXSRQDQ\SHUVRQREWDLQV
                FUHGLWDQGWKHUHE\IUDXGXOHQWO\JHWVRUREWDLQVSRVVHVVLRQRIPRQH\RU
                SURSHUW\RUREWDLQVWKHODERURUVHUYLFHRIDQRWKHULVJXLOW\RIWKHIW´
             7KLUG3DUW\'HIHQGDQWV¶FRQGXFWFRQVWLWXWHVWKHIWDVWKDWWHUPLVGHILQHGLQ
                &DOLIRUQLD3HQDO&RGH D 
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              $VDGLUHFWDQGSUR[LPDWHUHVXOWRI7KLUG3DUW\'HIHQGDQWV¶FLYLOWKHIW0DUFR
                 KDVEHHQGDPDJHGLQDQDPRXQWWREHSURYHQDWWULDOEXWDWOHDVW
                 
              3XUVXDQWWR&DOLIRUQLD3HQDO&RGH F 0DUFRLVDOVRHQWLWOHGWRUHFRYHU
                 WUHEOHGDPDJHVIURP7KLUG3DUW\'HIHQGDQWV
              3XUVXDQWWR&DOLIRUQLD3HQDO&RGH F 0DUFRLVDOVRHQWLWOHGWRUHFRYHU
                 DWWRUQH\V¶IHHVIURP7KLUG3DUW\'HIHQGDQWV
        0DUFRIXUWKHUUHTXHVWVWKHLPSRVLWLRQRIDFRQVWUXFWLYHWUXVWDJDLQVWDOO
                 7KLUG3DUW\'HIHQGDQWVZKRDUHLQSRVVHVVLRQRIWKHFRQVLJQHGMHZHOU\VHW
                IRUWKLQWKH&RQVLJQPHQW0HPRVDQGIRUDQRUGHUDQGMXGJPHQWWKDWWKH\
                KROGWKHFRQVLJQHGMHZHOU\DQGRUDOOSURFHHGVWKHUHIURPDVFRQVWUXFWLYH
                WUXVWHHVIRUWKHEHQHILWRI0DUFR
       ,QGRLQJWKHWKLQJVKHUHLQDOOHJHG7KLUG3DUW\'HIHQGDQWVDFWHGZLOOIXOO\
                PDOLFLRXVO\DQGZLWKWKHLQWHQWWRFDXVHLQMXU\DQGKDUPWR0DUFR
                7KLUG3DUW\'HIHQGDQWVDUHWKHUHIRUHJXLOW\RIPDOLFHDQGRUIUDXGLQ
                FRQVFLRXVGLVUHJDUGRI0DUFR¶VULJKWVWKHUHE\ZDUUDQWLQJDQDVVHVVPHQWRI
                SXQLWLYHDQGH[HPSODU\GDPDJHVLQDQDPRXQWDSSURSULDWHWRSXQLVK
                7KLUG3DUW\'HIHQGDQWVDQGHDFKRIWKHPDQGGHWHUWKHPDQGRWKHUVIURP
                HQJDJLQJLQVLPLODUPLVFRQGXFW
                                    7+,5'&$86(2)$&7,21
                                          (0%(==/(0(17
                        On behalf of Third-Party Plaintiffs as to Jona Rechnitz
       7KLUG3DUW\3ODLQWLIIVKHUHE\LQFRUSRUDWHE\UHIHUHQFHDVWKRXJKIXOO\VHW
                IRUWKLQIXOOKHUHLQDOOSUHFHGLQJ3DUDJUDSKVRIWKLV&RPSODLQW
       %DVHGRQWKHIRUHJRLQJ-RQDZLWKRXW0DUFR¶NQRZOHGJHRUFRQVHQWLQVWHDG
                RIUHVHOOLQJ0DUFR¶V&RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ
                1HFNODFH DQGUHSD\LQJ0DUFR-RQDVZLQGOHG0DUFRLQDODUJHVFDOHIUDXGE\
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                 DEVFRQGLQJZLWK0DUFR¶V&RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ
                 1HFNODFH DQGHLWKHUSDZQHGWKHPRIIRUXVHGWKHPDVFROODWHUDOIRUORDQVWR
                 YDULRXVTXHVWLRQDEOHVRXUFHVDQGKDVQRWUHSDLG0DUFRWKH,Q
                 UHDOLW\-RQDOLTXLGDWHG0DUFR¶&RQVLJQHG-HZHOU\0DUFR¶V&RQVLJQHG
                 -HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ 1HFNODFH DQGUHIXVHGWRWHOO0DUFR
                 KRZKHOLTXLGDWHGWKH&RQVLJQHG-HZHOU\RUKRZKHVSHQWWKHSURFHHGV
                 0DUFRDVNHG-RQDWRGLVFORVHWKHORFDWLRQRIWKH&RQVLJQHG-HZHOU\DQGWR
                 SURYLGHDWUDFLQJDQGDFFRXQWLQJRIWKHSURFHHGVDQG-RQDUHIXVHGWRGRVR
        ,QHQJDJLQJLQWKHFRQGXFWGHVFULEHGDERYH-RQDDFWHGGHVSLFDEO\ZLOOIXOO\
                ZDQWRQO\RSSUHVVLYHO\IUDXGXOHQWO\RULQFRQVFLRXVGLVUHJDUGRI0DUFR¶V
                ULJKWVZLWKLQWKHPHDQLQJRI&LYLO&RGH F VRDVWRHQWLWOH0DUFRWR
                SXQLWLYHGDPDJHVLQDQDPRXQWVXIILFLHQWWRSXQLVKRUPDNHDQH[DPSOHRI
                -RQD
       $VDUHVXOWRI-RQD¶VDFWLRQV0DUFRKDYHEHHQGDPDJHGLQDQDPRXQW
                DFFRUGLQJWRSURRISOXVLQWHUHVWFRVWVDQGDWWRUQH\V IHHVDVSHUPLWWHGE\
                ODZ
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                                           &21&($/0(17
           On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz, Levin
                                                 Prado
       7KLUG3DUW\3ODLQWLIIVKHUHE\LQFRUSRUDWHE\UHIHUHQFHDVWKRXJKIXOO\VHW
                IRUWKLQIXOOKHUHLQDOOSUHFHGLQJ3DUDJUDSKVRIWKLV&RPSODLQW
       -RQD5DFKHODQG3UDGRFRQVSLUHGWRPDNHLOOHJDODJUHHPHQWVWRGHIUDXG
                0DUFRRIWKHFRQVLJQHGMHZHOU\DQGWRFRPPLWFLYLOWKHIW
       -RQDZLWKKLVZLIH5DFKHOKDYHVHWXSFRPSDQLHVWRVROLFLWFRQVLJQHG
                MHZHOU\EDVHGXSRQWKHIDOVHSUHPLVHWKH\KDYHFOLHQWVWRVHOOWKHPWR
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                 0HDQZKLOHWKH\WRRN0DUFR¶V&RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V
                 5LQJ 1HFNODFH VZLQGOHG0DUFRLQDODUJHVFDOHIUDXGE\DEVFRQGLQJZLWK
                 WKHSLHFHVRIMHZHOU\DQGHLWKHUSDZQHGWKHPRIIRUXVHGWKHPDVFROODWHUDO
                 IRUORDQVWRYDULRXVTXHVWLRQDEOHVRXUFHVDQGKDVQRWUHSDLG0DUFRWKH
                 ,QUHDOLW\-RQDOLTXLGDWHG0DUFR¶VFRQVLJQHGMHZHOU\DQG
                 UHIXVHGWRWHOO0DUFRKRZKHOLTXLGDWHGWKHFRQVLJQHGMHZHOU\RUKRZKH
                 VSHQWWKHSURFHHGV0DUFRDVNHG-RQDWRGLVFORVHWKHORFDWLRQRIWKH
                 FRQVLJQHGMHZHOU\DQGWRSURYLGHDWUDFLQJDQGDFFRXQWLQJRIWKHSURFHHGV
                 DQG-RQDUHIXVHGWRGRVR
       -RQDGHFHLYHG0DUFRWRFRQVLJQWKHPWKHLQMHZHOU\ZLWKIDOVH
                SURPLVHVRIFRQVXPPDWHGVDOHVDQGZLWKIDOVHSURPLVHVRIUHSD\PHQW
       7KLUG3DUW\3ODLQWLIIVDUHLQIRUPHGEHOLHYHDQGWKHUHXSRQDOOHJHWKDWDWDOO
                WLPHVUHOHYDQWKHUHWR7KLUG3DUW\'HIHQGDQWVIRUPHGDFLYLOFRQVSLUDF\DQG
                HQJDJHGLQWKHIRUHJRLQJDFWVLQRSHUDWLRQDQGIXUWKHUDQFHRIWKDWFRQVSLUDF\
       7KLUG3DUW\3ODLQWLIIVDUHLQIRUPHGEHOLHYHDQGWKHUHXSRQDOOHJHWKDWDWDOO
                WLPHVUHOHYDQWKHUHWR7KLUG3DUW\'HIHQGDQWVFRPPLWWHGWKHIRUHJRLQJ
                PLVUHSUHVHQWDWLRQVZURQJVWKHIWDQGIUDXGIRUWKHSXUSRVHDQGLQ
                IXUWKHUDQFHRIDIUDXGXOHQWFRQVSLUDF\DQGVFKHPHWRGHIUDXG0DUFRDV
                DOOHJHGKHUHLQ
       $VDUHVXOWRIWKHFLYLOFRQVSLUDF\HDFKDQGHYHU\'HIHQGDQWLVOLDEOHDQG
                UHVSRQVLEOHIRUWKHDFWVRIWKHRWKHU7KLUG3DUW\'HIHQGDQWVLQIXUWKHUDQFHRI
                WKHFRQVSLUDF\DQGDOOGDPDJHVUHVXOWLQJWKHUHIURP
       $VDUHVXOWRIWKHFLYLOFRQVSLUDF\7KLUG3DUW\'HIHQGDQWVDUHMRLQWO\DQG
                VHYHUDOO\OLDEOHIRU
       7KHHJUHJLRXVQDWXUHRIWKH7KLUG3DUW\'HIHQGDQWVFRQVSLUDWRUV¶FROOHFWLYH
                FRQGXFWLVPDOLFLRXVZDQWRQDQGZLOOIXO0DUFRQHHGWREHDZDUGHGSXQLWLYH
                GDPDJHVSOXVDMXGJPHQWRIMRLQWDQGVHYHUDOOLDELOLW\
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                                         ),)7+&$86(2)$&7,21
                                                   &219(56,21
                 On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz
        7KLUG3DUW\3ODLQWLIIVKHUHE\LQFRUSRUDWHE\UHIHUHQFHDVWKRXJKIXOO\VHW
                 IRUWKLQIXOOKHUHLQDOOSUHFHGLQJ3DUDJUDSKVRIWKLV&RPSODLQW
        $WDOOWLPHVUHOHYDQWE\YLUWXHRIWKHLU&RQVLJQPHQW0HPRV0DUFRRZQHG
                 SRVVHVVHGRUKDGDULJKWWRUHFHLYHDQGSRVVHVVWKHLULQ
                &RQVLJQHG-HZHOU\
       7KLUG3DUW\3ODLQWLIIVUHFHQWO\GLVFRYHUHGWKDWWKH7KLUG3DUW\'HIHQGDQWV
                KDYHLQWHQWLRQDOO\DQGVXEVWDQWLDOO\LQWHUIHUHGZLWK0DUFR¶VSURSHUW\E\
                PHDQVRIIDOVHDQGIUDXGXOHQWDFWLYLW\LQFOXGLQJEXWQRWOLPLWHGWR
                PLVDSSURSULDWLQJ0DUFR¶&RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ
                1HFNODFH IRUWKHLURZQSHUVRQDOXVHDQGRWKHUWKHIWDFFRUGLQJWRSURRI7KH
                7KLUG3DUW\'HIHQGDQWVHQJDJHGLQWKLVFRQGXFWZLWKWKHLQWHQWLRQRI
                ZURQJIXOO\EHQHILWWLQJWKHPVHOYHVDWWKHH[SHQVHRI0DUFR
       7KLUG3DUW\'HIHQGDQWVVROGHQFXPEHUHGRURWKHUZLVHWUDQVIHUUHG0DUFR¶V
                &RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ 1HFNODFH WRWKLUGSDUWLHV
                RITXHVWLRQDEOHUHSXWDWLRQVXEMHFWWR0DUFR¶V&RQVLJQPHQW0HPRVZLWKRXW
                WKHNQRZOHGJHRI0DUFR7KHVHWUDQVIHUHHVWRRNSRVVHVVLRQRI0DUFR¶
                &RQVLJQHG-HZHOU\ LQFOXGLQJ5RYLQVN\¶V5LQJ 1HFNODFH 2QFH0DUFR
                GLVFRYHUVWKHLGHQWLWLHVRIWKHVHIUDXGXOHQWWUDQVIHUHHV0DUFRZLOODPHQGWKLV
                &RPSODLQWWRDGGWKHPDV7KLUG3DUW\'HIHQGDQWVWRDFODLPDQGGHOLYHU\
                    UHSOHYLQ FDXVHRIDFWLRQ
       7KLUG3DUW\3ODLQWLIIVGLGQRWFRQVHQWWRVDLGDFWLYLWLHV
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        $VDGLUHFWDQGSUR[LPDWHUHVXOWRIWKHIRUHJRLQJDFWV7KLUG3DUW\'HIHQGDQWV
                 LQWHQGHGWRFDXVHDQGKDYHLQIDFWFDXVHGDFWXDOKDUPWR0DUFRDQGDUH
                 OLDEOHWR0DUFRIRUGDPDJHVLQDQDPRXQWWREHSURYHQDWWULDOEXWQROHVV
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                 ZURQJIXOSRVVHVVLRQDQGGHWHQWLRQRI0DUFR¶V&RQVLJQHG-HZHOU\0DUFRKDV
                 VXIIHUHGWKHORVVRIWKHGHWHULRUDWLRQRIWKHLUSURSHUW\DQGUHVXOWLQJEXVLQHVV
                 ORVVHVLQDQDPRXQWWREHSURYHQDWWULDO
        )XUWKHUPRUH0DUFRLVLQIRUPHGDQGEHOLHYHDQGVRDOOHJHWKDWWKH
                7KLUG3DUW\'HIHQGDQWV¶DIRUHPHQWLRQHGDFWVZHUHWDNHQZLWKPDOLFHIUDXG
                DQGRSSUHVVLRQDQGLQFRQVFLRXVGLVUHJDUGIRU0DUFR¶VULJKWVDQGZHUHGRQH
                ZLOOIXOO\DQGZLWKWKHLQWHQWWRFDXVHLQMXU\WR0DUFR7KH7KLUG3DUW\
                'HIHQGDQWVZHUHDZDUHDWDOOWLPHVWKDW0DUFRZDVRZHGHLWKHUUHWXUQRIWKH
                FRQVLJQHGJRRGVRUUHSD\PHQWRIDQGLQWHQGHGWR
                VXUUHSWLWLRXVO\PLVDSSURSULDWH0DUFR¶VFRQVLJQHGJRRGVDQGIXQGVIRUWKHLU
                RZQSHUVRQDOXVHVHHNLQJRQO\WRLQWHQWLRQDOO\DQGPDOLFLRXVO\GHFHLYH
                0DUFR$FFRUGLQJO\0DUFRLVHQWLWOHGWRDQDZDUGRIH[HPSODU\DQGSXQLWLYH
                GDPDJHVDJDLQVWWKH7KLUG3DUW\'HIHQGDQWV
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                On behalf of Third-Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz
       7KLUG3DUW\3ODLQWLIIVKHUHE\LQFRUSRUDWHE\UHIHUHQFHDVWKRXJKIXOO\VHW
                IRUWKLQIXOOKHUHLQDOOSUHFHGLQJ3DUDJUDSKVRIWKLV&RPSODLQW
       7KLUG3DUW\3ODLQWLIIV WKH-DGHOOH3DUWLHV -RQDDQG5DFKHODUHSDUWLHVWR
                ELQGLQJFRQWUDFWVWKH&RQVLJQPHQW0HPRV
       $WDOOWLPHV0DUFRSHUIRUPHGDOOFRQGLWLRQVFRYHQDQWVDQGSURPLVHV
                UHTXLUHGLQDFFRUGDQFHZLWKWKHWHUPVRIWKH&RQVLJQPHQW0HPRVH[FHSWDV
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                 WKH\KDYHEHHQSUHYHQWHGRUH[FXVHGIURPSHUIRUPLQJE\WKHDFWVDQGRU
                 RPLVVLRQVRI WKH-DGHOOH3DUWLHV -RQD 5DFKHO
        8QGHUWKH&RQVLJQPHQW0HPRWR/XQD WKH-DGHOOH3DUWLHV DQG
                 -RQD 5DFKHOZHUHWRHLWKHUUHWXUQWKH<HOORZ :KLWH&KRNHU1HFNODFH
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                 0XOWLVKDSHVWRQHGLDPRQGEUDFHOHWFDUDWVZKLWHJROGWR
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                NZJVWRQHV5RXQG%ULOOLDQW-6O**,$5RXQG
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                 )DQF\<HOORZLQWHUQDOO\IODZOHVV96VWRQHVWR7KLUG3DUW\
                 3ODLQWLIIVRUSD\WKHP
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                XQSDLGIURP WKH-DGHOOH3DUWLHV DQG-RQD 5DFKHOWR7KLUG3DUW\3ODLQWLIIV
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                KDYHEHHQGDPDJHGLQDQDPRXQWWREHSURYHQDWWULDOWRJHWKHUZLWKLQWHUHVW
                DWWKHPD[LPXPOHJDOUDWHDFFRUGLQJWRSURRI 7KH-DGHOOH3DUWLHV DQG-RQD
                     5DFKHOZRXOGUHFHLYHXQMXVWHQULFKPHQWLIDOORZHGWRUHWDLQWKHEHQHILWVRI
                7KLUG3DUW\3ODLQWLIIV¶SHUIRUPDQFHXQGHUWKH&RQVLJQPHQW0HPRVZLWKRXW
                DELGLQJE\ WKH-DGHOOH3DUWLHV DQG-RQD¶V 5DFKHO¶VRZQUHSD\PHQW
                REOLJDWLRQVXQGHUWKH&RQVLJQPHQW0HPRVDQGRU7KLUG3DUW\3ODLQWLIIV
                GHWULPHQWDOO\UHOLHGRQWKH&RQVLJQPHQW0HPRVDQGZRXOGVXIIHUDQ
                XQFRQVFLRQDEOHLQMXU\LIWKH&RQVLJQPHQW0HPRVZHUHQRWHQIRUFHG
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          On behalf of Third-Party Plaintiffs as to Jona S. Rechnitz., Rachel Rechnitz, Levin
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                  FRYHQDQWRIJRRGIDLWKDQGIDLUGHDOLQJZKLFKZLOOEHSUHVHQWHGWKURXJK
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                       On behalf of Plaintiff as to Jona Rechnitz, Rachel Rechnitz
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                KDYHIDLOHGWRIXOO\UHSD\WKHEDODQFHRI5HSHDWHGGHPDQGV
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            On behalf of Third-Party Plaintiffs as to Jona S. Rechnitz, Rachel Rechnitz, Levin
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        7KLUG3DUW\3ODLQWLIIVKHUHE\LQFRUSRUDWHE\UHIHUHQFHDVWKRXJKIXOO\VHW
                 IRUWKLQIXOOKHUHLQDOOSUHFHGLQJ3DUDJUDSKVRIWKLV&RPSODLQW
        %DVHGRQWKHIRUHJRLQJ7KLUG3DUW\3ODLQWLIIVDUHLQIRUPHGEHOLHYHDQG
                 WKHUHXSRQDOOHJHWKDW7KLUG3DUW\'HIHQGDQWVLQWHQWLRQDOO\FRQVSLUHGZLWK
                 HDFKRWKHUWRUHVWUDLQFRPSHWLWLRQDQGGHSULYH0DUFRRIWKHEHQHILWRIWKHLU
                 FRQWUDFWV
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                                                                ACCO,(ASx),DISCOVERY,MANADR
                   UNITED STATES DISTRICT COURT
     CENTRAL DISTRICT OF CALIFORNIA (Western Division − Los Angeles)
           CIVIL DOCKET FOR CASE #: 2:20−cv−02580−ODW−AS

David Rovinsky LLC v. Peter Marco, LLC et al                 Date Filed: 03/18/2020
Assigned to: Judge Otis D. Wright, II                        Jury Demand: Plaintiff
Referred to: Magistrate Judge Alka Sagar                     Nature of Suit: 370 Other Fraud
Demand: $75,000                                              Jurisdiction: Diversity
Cause: 28:1332 Diversity−Fraud
Plaintiff
David Rovinsky LLC                             represented by Anthony R Bisconti
a Delaware limited liability company                          Bienert Katzman PC
                                                              601 West 5th Street Suite 720
                                                              Los Angeles, CA 90071
                                                              213−528−3400
                                                              Fax: 949−369−3701
                                                              Email: tbisconti@bienertkatzman.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                             Jason A Levine
                                                             Hangley Aronchick Segal Pudlin &
                                                             Schiller
                                                             One Logan Square
                                                             Ste 27th Floor
                                                             Philadelphia, PA 19103
                                                             215−568−6200
                                                             Email: jlevine@hangley.com
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Steven Jay Katzman
                                                             Bienert Katzman PLC
                                                             601 West 5th Street Suite 720
                                                             Los Angeles, CA 90071
                                                             213−528−3400
                                                             Fax: 949−369−3701
                                                             Email: skatzman@bienertkatzman.com
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
Peter Marco, LLC                               represented by Baruch C Cohen
a California limited liability company                        Law Offices of Baruch C Cohen APLC
                                                              4929 Wilshire Boulevard Suite 940
                                                              Los Angeles, CA 90010
                                                              323−937−4501
                                                              Fax: 323−937−4503
                                                              Email: baruchcohen@baruchcohenesq.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Defendant
Peter Voutsas                                  represented by Baruch C Cohen
an individual                                                 (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                                            EXHIBIT "8", PAGE 177
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ThirdParty Plaintiff
Peter Voutsas                                   represented by Baruch C Cohen
an individual                                                  (See above for address)
TERMINATED: 04/17/2020                                         LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

ThirdParty Plaintiff
Peter Marco, LLC                                represented by Baruch C Cohen
a California limited liability company                         (See above for address)
TERMINATED: 04/17/2020                                         LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


V.
ThirdParty Defendant
Jona Rechnitz
TERMINATED: 04/17/2020

ThirdParty Defendant
Levin Prado
TERMINATED: 04/17/2020

ThirdParty Plaintiff
Peter Marco, LLC                                represented by Baruch C Cohen
a California limited liability company                         (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

ThirdParty Plaintiff
Peter Voutsas                                   represented by Baruch C Cohen
an individual                                                  (See above for address)
also known as                                                  LEAD ATTORNEY
Peter Marco                                                    ATTORNEY TO BE NOTICED
also known as
Peter Marco Extraodinary Jewels of
Beverly Hills
doing business as
Peter Marco LLC


V.
ThirdParty Defendant
Rachel Rechnitz

ThirdParty Defendant
Levin Prado
also known as
Levon Prado

ThirdParty Defendant
Jona S Rechnitz


 Date Filed     #      Docket Text
 03/18/2020       1 COMPLAINT Receipt No: ACACDC−25780085 − Fee: $400, filed by Plaintiff David
                    Rovinsky LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C) (Attorney
                    Anthony R Bisconti added to party David Rovinsky LLC(pty:pla))(Bisconti, Anthony)

                                                                             EXHIBIT "8", PAGE 178
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                 (Entered: 03/18/2020)
03/18/2020    2 CIVIL COVER SHEET filed by Plaintiff David Rovinsky LLC. (Bisconti, Anthony)
                (Entered: 03/18/2020)
03/18/2020    3 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1
                filed by Plaintiff David Rovinsky LLC. (Bisconti, Anthony) (Entered: 03/18/2020)
03/18/2020    4 CERTIFICATE of Interested Parties filed by Plaintiff David Rovinsky LLC,
                identifying David Rovinsky LLC; Peter Voutsas; Peter Marco, LLC. (Bisconti,
                Anthony) (Entered: 03/18/2020)
03/18/2020    5 CORPORATE DISCLOSURE STATEMENT filed by Plaintiff David Rovinsky LLC
                identifying David Rovinsky LLC as Corporate Parent. (Bisconti, Anthony) (Entered:
                03/18/2020)
03/20/2020    6 NOTICE OF ASSIGNMENT to District Judge Otis D. Wright, II and Magistrate
                Judge Alka Sagar. (lh) (Entered: 03/20/2020)
03/20/2020    7 NOTICE TO PARTIES OF COURT−DIRECTED ADR PROGRAM filed. (lh)
                (Entered: 03/20/2020)
03/20/2020    8 NOTICE OF DEFICIENCIES in Request to Issue Summons RE: Summons Request 3
                . The following error(s) was found: The caption of the summons must match the
                caption of the complaint verbatim. If the caption is too large to fit in the space
                provided, enter the name of the first party and then write see attached.Next, attach a
                face page of the complaint or a second page addendum to the Summons. The summons
                cannot be issued until this defect has been corrected. Please correct the defect and
                re−file your request. (lh) (Entered: 03/20/2020)
03/20/2020    9 NOTICE OF PRO HAC VICE APPLICATION DUE for Non−Resident Attorney
                Jason A. Levine. A document recently filed in this case lists you as an out−of−state
                attorney of record. However, the Court has not been able to locate any record that you
                are admitted to the Bar of this Court, and you have not filed an application to appear
                Pro Hac Vice in this case. Accordingly, within 5 business days of the date of this
                notice, you must either (1) have your local counsel file an application to appear Pro
                Hac Vice (Form G−64) and pay the applicable fee, or (2) complete the next section of
                this form and return it to the court at cacd_attyadm@cacd.uscourts.gov. You have
                been removed as counsel of record from the docket in this case, and you will not be
                added back to the docket until your Pro Hac Vice status has been resolved. (lh)
                (Entered: 03/20/2020)
03/20/2020   10 NOTICE OF PRO HAC VICE APPLICATION DUE for Non−Resident Attorney
                Andrew E. Erdlen. A document recently filed in this case lists you as an out−of−state
                attorney of record. However, the Court has not been able to locate any record that you
                are admitted to the Bar of this Court, and you have not filed an application to appear
                Pro Hac Vice in this case. Accordingly, within 5 business days of the date of this
                notice, you must either (1) have your local counsel file an application to appear Pro
                Hac Vice (Form G−64) and pay the applicable fee, or (2) complete the next section of
                this form and return it to the court at cacd_attyadm@cacd.uscourts.gov. You have
                been removed as counsel of record from the docket in this case, and you will not be
                added back to the docket until your Pro Hac Vice status has been resolved. (lh)
                (Entered: 03/20/2020)
03/20/2020   11 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1
                filed by Plaintiff David Rovinsky LLC. (Bisconti, Anthony) (Entered: 03/20/2020)
03/20/2020   12 STIPULATION Extending Time to Answer the complaint as to All Defendants, filed
                by Plaintiff David Rovinsky LLC.(Bisconti, Anthony) (Entered: 03/20/2020)
03/23/2020   13 21 DAY Summons Issued re Complaint (Attorney Civil Case Opening), 1 as to
                defendants Peter Marco, LLC, Peter Voutsas. (lc) (Entered: 03/23/2020)
03/23/2020   14 MINUTE ORDER IN CHAMBERS by Judge Otis D Wright, II: This action has been
                assigned to the calendar of Judge Otis D. Wright II. Counsel are STRONGLY
                encouraged to review the Central Districts website for additional information.. The
                parties may consent to proceed before a Magistrate Judge appearing on the voluntary
                consent list. PLEASE refer to Local Rule 79−5 for the submission of CIVIL ONLY
                                                                              EXHIBIT "8", PAGE 179
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                 SEALED DOCUMENTS. CRIMINAL SEALED DOCUMENTS will remain the
                 same. Please refer to the Judges procedures and schedules for detailed instructions for
                 submission of sealed documents. (lc) (Entered: 03/23/2020)
03/27/2020   15 APPLICATION of Non−Resident Attorney Jason A. Levine to Appear Pro Hac Vice
                on behalf of Plaintiff David Rovinsky LLC (Pro Hac Vice Fee − $400 Fee Paid,
                Receipt No. CCACDC−25882802) filed by Plaintiff David Rovinsky LLC. (Bisconti,
                Anthony) (Entered: 03/27/2020)
03/27/2020   16 NOTICE Regarding Response to Notice of Pro Hac Vice Application filed by Plaintiff
                David Rovinsky LLC. (Bisconti, Anthony) (Entered: 03/27/2020)
03/30/2020   17 ORDER GRANTING APPLICATION of Non−Resident Attorney Jason A. Levine to
                Appear Pro Hac Vice on behalf of Plaintiff David Rovinsky LLC and designating
                Anthony R Bisconti as local counsel 15 by Judge Otis D. Wright, II (lc) (Entered:
                03/30/2020)
04/14/2020   18 ANSWER to Complaint (Attorney Civil Case Opening), 1 filed by Defendant Peter
                Marco, LLC, Peter Voutsas.(Attorney Baruch C Cohen added to party Peter Marco,
                LLC(pty:dft), Attorney Baruch C Cohen added to party Peter Voutsas(pty:dft))(Cohen,
                Baruch) (Entered: 04/14/2020)
04/14/2020   19 (STRICKEN PER 4/15/2020 ORDER, DOCKET NO. 24) THIRD PARTY
                COMPLAINT against Third−Party Defendants Jona Rechnitz, Rachel Rechnitz, Levin
                Prado ; Jury Demand, filed by Defendant, Third−Party Plaintiff Peter Voutsas, Peter
                Marco, LLC.(Cohen, Baruch) Modified on 4/15/2020 (lc). (Entered: 04/14/2020)
04/14/2020   20 (STRICKEN PER 4/15/2020 ORDER, DOCKET NO. 24).Request for Clerk to Issue
                Summons on Third Party Complaint 19 filed by Defendant, Third−party plaintiff Peter
                Marco, LLC, Peter Voutsas. (Cohen, Baruch) Modified on 4/15/2020 (lc). (Entered:
                04/14/2020)
04/14/2020   21 CORPORATE DISCLOSURE STATEMENT filed by Third Party Plaintiffs Peter
                Marco, LLC, Peter Voutsas, Defendants Peter Marco, LLC, Peter Voutsas (Cohen,
                Baruch) (Entered: 04/14/2020)
04/15/2020   22 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                Third Party Complaint 19 . The following error(s) was/were found: Case number is
                incorrect or missing. Pdf document is erroneously Entitled as a "CROSS
                COMPLAINT" and NOT a Third Party Complaint Other error(s) with document(s):
                Case number is Incomplete as Missing the assigned Judge and Magistrate's initials:
                Should read as 2:20−cv−02580−ODW−AS. (note was missing on the answer as well.
                In response to this notice, the Court may: (1) order an amended or correct document to
                be filed; (2) order the document stricken; or (3) take other action as the Court deems
                appropriate. You need not take any action in response to this notice unless and until
                the Court directs you to do so. (lc) (Entered: 04/15/2020)
04/15/2020   23 NOTICE OF DEFICIENCIES in Request to Issue Summons RE: Summons Request
                20 . The following error(s) was found: The case number and/or judge(s)initials are
                incorrect. RE Third party complaint summons− No formal Third Party Complaint on
                file. Docket no. 19 is entitled a "CROSS COMPLAINT"; Case number incomplete,
                missing assigned Judge and Magistrate's initials. Should read as
                2:20−cv−02580−ODW−AS. Note a deficiency notice re pdf entitled a "Cross
                Complaint" issued docket no. 22. The summons cannot be issued until this defect has
                been corrected. Please correct the defect and re−file your request. (lc) (Entered:
                04/15/2020)
04/15/2020   24 ORDER by Judge Otis D. Wright, II: the following document(s) be STRICKEN for
                failure to comply with the Local Rules, General Order and/or the Courts Case
                Management Order: Summons Request 20 , Third Party Complaint 19 , for the
                following reasons: REVIEW LOCAL RULES for these documents and read the
                instructions on the discrepancies on doc nos. 22 and 23.; (lc) (Entered: 04/15/2020)
04/15/2020   25 ORDER that the Scheduling Conference is set for 7/27/2020 1:30 PM ; compliance
                with FRCP 16, and 26(f) and filing of joint report; Counsel for plaintiff shall
                immediately serve this Order on all parties, including any new parties to the action by
                Judge Otis D Wright, II (lc) (Entered: 04/15/2020)
                                                                               EXHIBIT "8", PAGE 180
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04/16/2020   26 PROOF OF SERVICE filed by Plaintiff David Rovinsky LLC, re Order,, Set/Reset
                Hearing, 25 served on April 16, 2020. (Bisconti, Anthony) (Entered: 04/16/2020)
04/17/2020   27 THIRD PARTY COMPLAINT against Third−Party Defendants Levin Prado, Jona
                Rechnitz, Rachel Rechnitz, filed by 3rd Party Plaintiff Peter Marco, LLC, Peter
                Voutsas.(Cohen, Baruch) (Entered: 04/17/2020)
04/17/2020   28 Request for Clerk to Issue Summons on Third Party Complaint 27 filed by 3rd Party
                Plaintiff Peter Marco, LLC(a California limited liability company), Peter Voutsas(an
                individual). (Cohen, Baruch) (Entered: 04/17/2020)
04/17/2020   29 WAIVER OF SERVICE Returned Executed filed by 3rd Party Plaintiff Peter Marco,
                LLC(a California limited liability company), Peter Voutsas(an individual). upon Jona
                Rechnitz waiver sent by Plaintiff on 4/15/2020, answer due 6/15/2020. Waiver of
                Service signed by Marc S. Williams. (Cohen, Baruch) (Entered: 04/17/2020)
04/17/2020   30 WAIVER OF SERVICE Returned Executed filed by 3rd Party Plaintiff Peter Marco,
                LLC(a California limited liability company), Peter Voutsas(an individual). upon
                Rachel Rechnitz waiver sent by Plaintiff on 4/15/2020, answer due 6/15/2020. Waiver
                of Service signed by Marc S. Williams. (Cohen, Baruch) (Entered: 04/17/2020)
04/17/2020   31 NOTICE OF DEFICIENCIES in Request to Issue Summons RE: Third Party
                Complaint Summons Request 28 . The following error(s) was found: Summons is not
                directed to the defendant(s). The defendants name must appear in the To:section of the
                summons. CLARIFICATION re third party complaint summons to be issued to
                multiple defendants: 1) Please do NOT abbreviate defendant's name in the "TO:" area
                nor erroneously combine 2 defendants as one, which does not reflect the two separate
                defendants properly. Also "Jona" is incomplete and should to be named exactly as"
                JONA S. RECHNITZ". The summons cannot be issued until this defect has been
                corrected. Please correct the defect and re−file your request. (lc) (Entered: 04/17/2020)
04/17/2020   32 Request for Clerk to Issue Summons on Third Party Complaint 27 filed by Third Party
                Plaintiff Peter Marco, LLC(a California limited liability company), Peter Voutsas(an
                individual). (Attachments: # 1 Summons Request − Rachel Rechnitz, # 2 Summons
                Request − Levin Prado)(Cohen, Baruch) (Entered: 04/17/2020)
04/17/2020   33 21 DAY Summons Issued re Third Party Complaint 27 as to third party defendant Jona
                S Rechnitz. (lc) (Entered: 04/17/2020)
04/17/2020   34 21 DAY Summons Issued re Third Party Complaint 27 as to third party defendant
                Rachel Rechnitz. (lc) (Entered: 04/17/2020)
04/17/2020   35 21 DAY Summons Issued re Third Party Complaint 27 as to third party defendant
                Levin Prado aka Leon Prado. (lc) (Entered: 04/17/2020)
04/20/2020   36 (STRICKEN PER 4/24/2020 ORDER, DOCKET NO. 38).NOTICE OF ERRATA
                filed by Third Party Plaintiffs Peter Marco, LLC, Peter Voutsas. correcting Third Party
                Complaint 27 (Cohen, Baruch) Modified on 4/24/2020 (lc). (Entered: 04/20/2020)
04/21/2020   37 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                Errata 36 re Third Party Complaint. The following error(s) was/were found: Clerk
                unable to determine the sufficiency of submitting corrected pages 26 and 27 re
                overlapping images over text and the submitting of ONLY reformulated copies of
                pages 26 and 27. In response to this notice, the Court may: (1) order an amended or
                correct document to be filed; (2) order the document stricken; or (3) take other action
                as the Court deems appropriate. You need not take any action in response to this notice
                unless and until the Court directs you to do so. (lc) (Entered: 04/21/2020)
04/24/2020   38 ORDER by Judge Otis D. Wright, II: the following document(s) be STRICKEN for
                failure to comply with the Local Rules, General Order and/or the Courts Case
                Management Order: Errata 36 , for the following reasons: Read the instructions on the
                discrepancy on docket no. 37 and the rules to file a 3− amend complaint and resubmit
                correctly. (lc) (Entered: 04/24/2020)
04/24/2020   39 Amendment to the Third−Party Complaint AMENDED THIRD−PARTY
                COMPLAINT against Third−Party Defendants Levin Prado, Jona S Rechnitz, Rachel
                Rechnitz amending Third Party Complaint 27 ; JURY DEMAND, filed by
                Third−Party Plaintiff Peter Marco, LLC(a California limited liability company), Peter

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             Voutsas(an individual)(Cohen, Baruch) (Entered: 04/24/2020)




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                         3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626


A true and correct copy of the foregoing document entitled (specify): Putative Debtor's Request for Judicial Notice in
Support of Motion to Dismiss Involuntary Petition and Request for Attorney's Fees, Costs, and Damages will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
05/01/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    x   Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
    x   Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    x   Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
    x   Neal Salisian ECF@salisianlee.com
    x   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 05/01/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via First Legal:
Hon. Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012
                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 05/01/2020                     Lynnette Garrett                                                /s/ Lynnette Garrett
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
